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             EXHIBIT B 15
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    &21),'(17,$/ -%& (64                           'LVFLSOLQDU\'RFNHW

             5HVSRQGHQW                                 1R'

    $0HPEHURIWKH%DURIWKH'LVWULFWRI                
    &ROXPELD&RXUWRI$SSHDOV

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    FKDUOHV#EXUQKDPJRURNKRYFRP                         Motion for pro hac vice admission in
                                                        progress
    +DUU\:0DF'RXJDOG 
    *HRUJLD%DU1R
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           7KHSXUSRVHRIWKLV5HVSRQVHLVWKUHHIROG  WRLQIRUPWKH&RXUWRIERWKWKHIDFWVDQGODZ

WKDWPDNHVHUYLFHRIWKH6HFRQG6XESRHQDGHIHFWLYH  WRH[SODLQZK\GLVSXWHVRYHUWKH)LUVW

6XESRHQDDUHQRWPRRWHGE\WKH6HFRQG6XESRHQDDQG  WRFRXQWHUVXSSOHPHQWWKHUHFRUGZLWK

DGGLWLRQDOPDWHULDOVEHDULQJRQWKHSURSULHW\RI5HVSRQGHQW¶V)LIWK$PHQGPHQWGHIHQVHLQFOXGLQJ

PRVW VLJQLILFDQWO\ WKH +RXVH -DQXDU\  &RPPLWWHH¶V LQLWLDWLRQ RI FRQVXOWDWLRQV DERXW JUDQWLQJ

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UHDFKHGRXWWRFRXQVHOIRU5HVSRQGHQWDVNLQJLI5HVSRQGHQWZRXOGPDNHKLPVHOIDYDLODEOHDWD

SDUWLFXODU WLPH DQG SODFH IRU VHUYLFH  8QGHUVLJQHG FRXQVHO UHDGLO\ DJUHHG DQG DUUDQJHG ZLWK

5HVSRQGHQWIRUKLPWREHDYDLODEOHDWKRPHRQWKHDIWHUQRRQRI)HEUXDU\IRUWKDWSXUSRVH

5HVSRQGHQWZDVJRRGWRKLVZRUGDQGWRRNGHOLYHU\RIZKDWZDVOHIWZLWKKLP+HGLGQRWDWWHPSW

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           $WWDFKHG LV D WUXH DQG FRUUHFW FRS\ RI WKH VXESRHQD DQG UHODWHG PDWHULDOV 5HVSRQGHQW

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    DWWDFKHG DV ([K  7KH 6HFRQG 6XESRHQD FRQVLVWV RI   WKH FDUG RI WKH 2'& DWWRUQH\ ZKR

SHUVRQDOO\DWWHPSWHGVHUYLFH 0V$]DGHK0DWLQSRXUZKRLWLVLPSRUWDQWWRQRWHLVHPSOR\HGE\

2'&   DFKHFNWRUHLPEXUVHIRUH[SHQVHVLI2'&KDGLQVLVWHGRQDSHUVRQDODSSHDUDQFH  

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'HVSLWHWKHIDFWWKDWWKHER[RQWKH6HFRQG6XESRHQDIRUP ³3URGXFWLRQ             GHOLYHU\RIWKHVH
GRFXPHQWV ZLOO HOLPLQDWH WKH QHHG IRU D SHUVRQDO DSSHDUDQFH´  ZDV FKHFNHG D SKRQH FDOO WR
'LVFLSOLQDU\ &RXQVHO FODULILHG WKDW KH ZDV QRW UHTXLULQJ 5HVSRQGHQW WR SHUVRQDOO\ WUDYHO WR KLV
RIILFHVLQ'&LIGRFXPHQWVZHUHQRWSURGXFHGRQJURXQGVRISULYLOHJH$VDUHVXOW5HVSRQGHQW
KDVGHVWUR\HGWKHFKHFNZLWKRXWFDVKLQJLW*LYHQWKLVGRQRWNQRZZK\2'&FKHFNHGWKDWER[
RQERWKWKH)LUVWDQG6HFRQG6XESRHQDV
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 D  $ LY DQG  DWZRSDJH$WWDFKPHQWWR6XESRHQD

          7KH 6HFRQG 6XESRHQD LV similar to WKH LQLWLDO VXESRHQD ³)LUVW 6XESRHQD´  GDWHG

1RYHPEHU   WKRXJK QRW UHFHLYHG LQ IXOO XQWLO -DQXDU\   DQG RQO\ YLD HPDLO LQ

FKXQNV %XWLWLVQRWLGHQWLFDOWRLW7KHRQHSDJHVXESRHQDLQLWVQDUURZHVWWHUPVDORQJZLWKWKH

5XOHH[FHUSWVDQGWKHWZRSDJH$WWDFKPHQWWR6XESRHQDDUHWKHVDPH%XWWKH)LUVW6XESRHQD

KDG DOVR LQFOXGHG   D WKUHHSDJH FRYHU OHWWHU VLJQHG E\ 0U )R[ WDNLQJ SRVLWLRQV UHOHYDQW WR

2'&¶V 0RWLRQ WR &RPSHO   D VXPPDU\ VKHHW RQ WKH '& %DU¶V 'HSDUWPHQW RI 5HJXODWLRQ

&RXQVHO ZKLFKZHDJUHHFDQEHGLVUHJDUGHGDVKDYLQJQRVXEVWDQWLYHVLJQLILFDQFH   DFRYHU

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'XUELQDQG  WKH6HQDWH-XGLFLDU\&RPPLWWHH0DMRULW\UHSRUWRQZKLFK6HQDWRU'XUELQZDV

EDVLQJ KLV FRPSODLQW WR WKH %DU 7KH )LUVW 6XESRHQD GRHV QRW LQFOXGH 0V 0DWLQSRXU¶V FDUG

    XQVXUSULVLQJDVWKH)LUVW6XESRHQDZDVQRWSHUVRQDOO\GHOLYHUHGWR5HVSRQGHQW RUWKHFKHFNWR

SD\IRUFRQWLQJHQWDWWHQGDQFHIHHV%RWKWKH)LUVW6XESRHQDDQGWKH6HFRQG6XESRHQDDUHEODQN

LQWKHVXESRHQDIRUP¶VUHVSHFWLYHER[HVODEHOHG³6LJQDWXUHDQG7LWOHRI6HUYHU´

          7KHDEVHQFHRIWKH2'&FRYHUOHWWHU'XUELQFRYHUOHWWHU=GHEFRYHUHPDLODQGWKH6HQDWH

-XGLFLDU\ &RPPLWWHH UHSRUW IURP WKH 6HFRQG 6XESRHQD LV WKH ILUVW SRLQW ZH ZDQW WR KLJKOLJKW

7KRVHGRFXPHQWVSURYLGHLPSRUWDQWGHWDLOVEXWWUHVVLQJ5HVSRQGHQW¶VUHTXHVWWKDWWKH&RXUWVKRXOG

GHFOLQH HQIRUFHPHQW RI WKH )LUVW 6XESRHQD RU TXDVK LW 2'& PD\ KDYH MXVW RPLWWHG WKRVH

GRFXPHQWV LQDGYHUWHQWO\ RU SHUKDSV WRUHGXFH FRS\LQJ H[SHQVHV  EXW ZH XQGHUVFRUH WKLV LVVXH

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WKRVHGRFXPHQWVIURPWKH6HFRQG6XESRHQDSURKLELWVWKH&RXUWIURPFRQVLGHULQJ0U)R[¶VFRYHU

OHWWHU6HQDWRU'XUELQ¶VFRYHUOHWWHU0V=GHE¶VFRYHUHPDLOHWF

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VHUYHU,WPXVWEH³>D@Q\SHUVRQZKRLVDWOHDVW\HDUVROGand not a party´0V0DWLQSRXULV

DSDUW\EHFDXVHKHUVXSHULRUWKH'LVFLSOLQDU\&RXQVHOLVWKHPRYLQJSDUW\KHUHDQGDVDMXULGLFDO

HQWLW\ WKH 2IILFH RI WKH 'LVFLSOLQDU\ &RXQVHO FDQ RQO\ DFW WKURXJK LWV HPSOR\HHV VXFK DV 0V

0DWLQSRXU$VDUHVXOWWKH6HFRQG6XESRHQD¶VDWWHPSWHGVHUYLFHLVGHIHFWLYHSee Hobbs v. Ohio

Adult Parole Auth.&DVH1RFY:/  6'2KLR6HSW  ³7KH

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KLPVHOIDQGWKDWIDFWLVFRUURERUDWHGE\KLVSURGXFWLRQRIWKHUHFHLSWVIRUFHUWLILHGPDLO%XW+REEV

LVDSDUW\DQGPD\QRWVHUYHDVXESRHQDKLPVHOI´ :ULJKWDQG0LOOHUH[SODLQWKDW)HGHUDO5XOH

RI &LYLO 3URFHGXUH  E   ODUJHO\ PLUURUHG LQ 6XSHULRU &RXUW 5XOH   LQ LWV SUHVHQW IRUP

UHSUHVHQWVDOLEHUDOL]DWLRQRIWKHUHTXLUHPHQWLQDSULRUYHUVLRQRI5XOHWKDWSURFHVVEHVHUYHG

RQO\E\D860DUVKDORU'HSXW\0DUVKDOSee:ULJKW 0LOOHU$)('35$&               352&&,9

 GHG$SUXSGDWH  ³3ULRUWRWKHDPHQGPHQWVWR5XOHRQO\D8QLWHG6WDWHV

PDUVKDORUWKHPDUVKDO¶VGHSXW\«ZHUHH[SOLFLWO\DXWKRUL]HGE\WKHUXOHWRVHUYHVXESRHQDV´ 


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7KHFRPPHQWWR6XSHULRU&RXUW5XOHSURYLGHVDVIROORZV


        ,GHQWLFDOWRFederal Rule of Civil Procedure 45DVDPHQGHGLQH[FHSWIRU
           UHIHUHQFHVWRPLOHOLPLWVLQWKHIHGHUDOUXOHKDYHEHHQFKDQJHGWRPLOHV
        ZKLFKSUHVHUYHVWKHJHRJUDSKLFSURSRUWLRQDOLW\RULJLQDOO\H[SUHVVHGE\&RQJUHVV
        LQ'&&RGH  WKHRPLVVLRQRIWKHLQDSSOLFDEOHVXEVHFWLRQ D    
        WKHDGGLWLRQRIODQJXDJHLQVXEVHFWLRQ D  $ LLL SURYLGLQJWKDWWKHGHSRVLWLRQ
        SURGXFWLRQRULQVSHFWLRQRIGRFXPHQWVPXVWEHLQWKH'LVWULFWRI&ROXPELDXQOHVV
        RWKHUZLVHDJUHHGRURUGHUHGE\WKHFRXUWDQG  WKHVXEVWLWXWLRQRIVSHFLILFORFDO
        ODQJXDJHIRULQDSSOLFDEOHIHGHUDOODQJXDJHLQVXEVHFWLRQV D  $ L ± LL  D  
          E  DQG F  $ LL 
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        7KLVUXOHSURYLGHVDPHDQVIRULVVXLQJGHSRVLWLRQVXESRHQDVIRUQRQUHVLGHQWVRIWKH
        'LVWULFWRI&ROXPELDLQFDVHVZKLFKTXDOLI\EXWGRHVQRWSUHFOXGHWKHDOWHUQDWLYHV
        RIILOLQJZLWKWKHFRXUWDPRWLRQIRUDSSRLQWPHQWRIDQH[DPLQHUXQGHU5XOH,
        RUUHVRUWLQJGLUHFWO\WRWKHFRXUWVRIDQRWKHUMXULVGLFWLRQXQGHULWVUXOHVDQGVWDWXWHV
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        6XESRHQDVLVVXHGE\DWWRUQH\VXQGHUVXEVHFWLRQ D  PXVWEHVXEVWDQWLDOO\LQWKH
        IRUPDWRI&LYLO$FWLRQ)RUP


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          %XW5XOH E  ZDVQRWOLEHUDOL]HGVRIDUDVWRDOORZanyoneWRVHUYHSURFHVV7KHUHLV

DQH[SOLFLWEDQRQSDUWLHVVHUYLQJSURFHVVDQGLWPXVWEHREVHUYHG7KHIDFWWKDWDODZ\HUZRUNLQJ

IRU0U)R['LVFLSOLQDU\&RXQVHOZKRGHVLJQDWHGKLPVHOIDVWKHPRYLQJSDUW\RQWKH0RWLRQWR

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WR&RPSHOSee Vohra v. City of Placentia1R6$&9'6) 5= :/

     &'&DO-XQH  ³)HGHUDO5XOHRI&LYLO3URFHGXUH E  SURYLGHVLQSDUWWKDWRQO\

D³SHUVRQZKRLVDWOHDVW\HDUVROGand not a partyPD\VHUYHDVXESRHQD´>HPSKDVLVDGGHG

E\WKH0DJLVWUDWH-XGJH@7KHPRYLQJSDUW\YLRODWHGWKLVUXOHE\VHUYLQJWKHVXESRHQDKLPVHOI

The motion [for subpoena enforcement] merits denial for this reason alone.´  HPSKDVLV

DGGHG 

          7KHUH LV \HW DQRWKHU UHDVRQ ZK\ WKLV 0RWLRQ WR &RPSHO PXVW EH GHQLHG WKH 6HFRQG

6XESRHQDIRUPZDVQRWVLJQHGE\0V0DWLQSRXUEXWRQO\EHDUV0U)R[¶VQDPH UHQGHUHGLQD

VLJQDWXUHOLNHIRQW $WWKHWRSRIWKHQH[WSDJHSOHDVHH[DPLQHDSLFWXUHRIWKHUHOHYDQWSDUWRI

([KLELWWRXQGHUVFRUHWKHSRLQW




                                 
 See Disciplinary Counsel’s 0RWLRQ WR (QIRUFH 6XESRHQD Duces Tecum ILOHG )HE   
    HPSKDVLVDGGHG 
,QGHHGWKHUHLVDERG\RISUHFHGHQWUHDGLQJDQGDSSO\LQJWKHWH[WRI5XOH E      WRUHTXLUH
VWULFWFRPSOLDQFHZLWKLWVWHUPVDQGRQWKDWEDVLVUHMHFWLQJVXESRHQDVVHUYHGE\SDUWLHVSee, e.g.,
Haber v. ASN 50th St., LLC)5'Q 6'1<  ³3ODLQWLIILVDGYLVHGWKDWKH
PD\ QRW VHUYH WKH 6HOOHUV 6XESRHQD KLPVHOI´  Smith v. Benson 1R &96U :/
  :'1<0DU  ³3ODLQWLIIFDQQRWDWWHPSWWRVHUYHWKLUGSDUW\VXESRHQDVE\
UHJXODUPDLOEHFDXVHDSDUW\PD\QRWHIIHFWVHUYLFHKLPVHOIXQGHU5XOH´ Gaudin v. Remis
&LY 1R  63./(.  :/   ' +DZ -DQ    UHDVRQLQJ WKDW
EHFDXVHVXESRHQDVFDQEHVHUYHGRQ³DQ\SHUVRQ´WKDWLQFOXGHVQRQSDUWLHVEHFDXVHWKHVHUYHUV
RIVXESRHQDVH[SOLFLWO\PXVW³QRW>EH@DSDUW\´DQGHPSKDVL]LQJWKDW³>W@KHGUDIWHUVFRXOGKDYH
XVHGWKHVDPHODQJXDJH>DVLQ5XOH E  @WROLPLWZKRPD\EHVHUYHGZLWKDVXESRHQDEXWWKH\
FKRVHQRWWRGRVR´ see also United States v. 2121 Celeste Rd., S.W., Albuquerque, N.M.
)5' '10  GHSOR\LQJVDPHUHDVRQLQJDVLQGaudin 
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        7KLV LV \HWDQRWKHU ZD\ LQ ZKLFK WKH 6HFRQG 6XESRHQD LVVHOIHYLGHQWO\ GHIHFWLYHSee

Wyatt v. Anderson1R$&$66:/  :'7H[)HE  ³7KH\

LQGLFDWH:\DWWµVHUYHG¶DFRS\RIWKHVXESRHQDWRWKHSDUWLHVE\SODFLQJWKHFRSLHVµLQWKH86

PDLOER[ORFDWHGRQWKH(DVWKDPXQLWLQ/RYHODG\7H[DV¶«7KHRQO\VLJQDWXUHRQWKHSDJHLV

:\DWW¶V DQG WKH µVHUYHU¶V VLJQDWXUH¶ LV EODQN :\DWW DV D SDUW\ LQ WKH FDVH FDQQRW VHUYH WKH

VXESRHQDV « $V VXFK :\DWW¶V VXESRHQDV DUH IDFLDOO\ GHILFLHQW´   7KLV LV H[DFWO\ WKH VDPH

VLWXDWLRQKHUH7KHRQO\VLJQDWXUHRQWKHSDJHLVWKDWRI0U)R[ZKRLVDSDUW\WRWKLVDFWLRQ

$QGDVWKLVVHFRQGSLFWXUHKLJKOLJKWVLQ\HOORZEHORZWKHVHUYHU¶VVLJQDWXUHisalso blank there




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         $%DUEDUD0F4XDGHUnited States v. Donald Trump: A “Model Prosecution Memo” on

the Conspiracy to Pressure Vice President Pence -867 6(&85,7< )HE    available at

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         % *OHQQ .LUVFKQHU Trump’s Loss in Civil Court Case Provides Roadmap for DOJ to

Follow     in    Criminal     Prosecution     of    Trump    -867,&(    0$77(56     available     at

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 See 0LFKDHO 6 6FKPLGW at al. In Scrutinizing Trump and His Allies, Jan. 6 Panel Adopts
Prosecution Tactics: The House committee investigating the assault on the Capitol and what led
to it is employing techniques more common in criminal cases than in congressional inquiries, 1(:
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6 Attack Plans to Begin a More Public Phase of Its Work in the New Year:$6+3267 'HF

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                                                                    SUBPOENA
                                     BOARD ON PROFESSIONAL RESPONSIBILITY
                                     DISTRICT OF COLUMBIA COURT OF APPEALS
NOTICE: THIS SUBPOENA JS ISSUED IN CONNECTION  A CONFIDENTIAL INVESTIGA TION UNDER
THE RULES PROMULGATED BY THIS COURT GOVERNING THE BAR OF THE Dl STRICT OF COLUMBIA.

BREACH OF THE CONFIDENTIALITY OF THE INVESTIGATION W ILL BE DEEMED AS CONTEMPT OF THIS
COURT OR CROUNDS FOR DISCIPLINE UNDER THE AFOREl\‘ ENTIONED RULES OF THIS COURT.
(Consultation with an attorney does nol constilute such a breach.)


lN THE MATTER OF:

Clark/Discipl inary Counsel                                                                  D1 SCIPLINARY DOCKET NO_                 2021-D193

TO: Jeffrey B. Clark, Esquire , 8850 Western Hemlock Way , Lorton , VA 22079



          YOU ARE HEREBY COMMANDED TO APPEAR at 515 5th Street, N.W. , BuildingA , Room 117 , Washington , D.C. ,

20001 ,                                       _ _, on                                March                2022                        , as a witness in the above
cap ti oncd matte r. You are directed to bring with you                              see attachment to subpoena for description of
documents requested.




and not deparl the above prcmises without leave from the authority before whom you appeared


FAILURE OF ANY PERSON WTTHOUT ADEQUATE EXCUSE TO OBEY THIS SUBPOENA AS SERVED MAY BE
DEEMED CONTEMPT OF THE DISTRICT OF COLUMBIA COURT OF APPEALS RULES GOVERNING THE BAR.

               & delivery ofthesc
                                                                                                                                     02/2812022
                                                                                                   DATE Su
documents will e liminate the need
for a personal appearance.




     you have any questions regarding this s ubpoena , please call 202-638-1501

          Hamilton P. Fox, lI J, Disciplinary Counsel                                                                           (/'. tFo‘· ‘I Cl t
           RETURN ON THIS SUBPOENA IS REQUIRED ON OR BEFORE THIS DATE:

          | ellIohwereby certi@ 1hat 1have personally sefved , or have eXCClued as    ln “ REMARKS ," the above subpoena on the individual at the address


                  Name and Title oflndividual Served                                       Address (Tf different than ShOWD above)


              hereby certify that, after diligent
           named in above subpoena for the reason(s) as shown in “ REMARKS_"

                  Date(s) of Endeavor                                                      Date and Time of Service

           REMARKS                                                                         Signature and Title of Server
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                                                      Super. Ct. Civ. R. 45(c) and (d)
(c) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.
   (1) Avoiding Undue Burden or Expense; Sanctions. A        or attomey responsible for issuing and serving a subpoena must take
 reasonable steps to avoid imposing undue burden or expense on a person        to the subpoena. The court must enforce this duty
and impose an               sanctio n-which may indude lost eamings and reasonable attomey’ s            a party or attomey who fails

   (2) Command to Produce                     or Permit Inspection .
      (A) Appearance Not                   A person commanded to produce documents , electronically stored information , or tangible
things , or to permit the inspection of premises, need not appear in person at the place of production or inspection unless also
commanded to appear for deposition , hearing , or trial.
      (B) Objections. A person commanded to produce documents , electronically stored information , or tangible things or to permit
inspection may serve on the party or attomey designated in the subpoena a written objection to inspecting ,                      testing or sampling
any or all of the materlals or to inspecting the                   to producing electronically stored information in the form or forms requested.
The objection must be served before the eartier of the time specified for                    or 14 days after the subpoena is served. If objection
is made , the following rules apply:
         (i) At any time , on         to the commanded person , the serving party may move the court for an order compelling production
or inspection.
         (ii) These acts may be required            as directed in the order, and the order must protect a person who is neither a party nor a
         officer from significant expense resulting from compliance
   (3) Quashing         Modifying a Subpoena.
      (A) Wh en                 On timely          the        must quash or modify a subpoena tha t:
         (i) fails to allow reasonable time to
         (ii)            a person who is neither a party nor a party’s officer to         more than 25 miles from where that person resides , is
employed , or                         business in person -except that,             to      45(c)(3)(B)(iii) , the person may be commanded to
attend a        by traveling from any such place to the place of
         (iii)            disclosure of privileged or other            matter, if no exception or waiver applies; or
         (iv) subjects a person to undue burden.
         (v) When Permitted. To protect a person subject to or affected by a subpoena , the court may, on motion , quash or
modify the subpoena if it               disclosing a trade secret or other confidential research , development, or commercial
information ‘
         (vi) disclosing an unretained expert’s opinion or information that does not describe specific                      ín dispute and
from the expert's study that was not requested by a party; or
         (vii) a person who is neither a          nor a party’s officer to incur substantial expense to travel more than 25 miles
attend trial.
      (B) Specifying Conditions as an Alternative. In the circumstances descríbed in Rule 45(c)(3)(B), the                  may, instead of
quashing or modifying a subpoena, order                       or production under specified               if the serving party:
         (i) shows a substantial need for the testimony or                that cannot be             met without undue hardship; and
         (ii) ensures that the subpoenaed person will be reasonably
(d) DUTIES IN RESPONDING TO A SUBPOENA.
   (1) Producing Documents          Electronically Stored Information. These                   apply to producing documents or
electronically stored information:
      (A) Documents. A person responding to a subpoena to                   documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to the categories in the demand.
      (B) Form for Producing Eleclronically Stored Information Not Specified. If a subpoena does not specify a form for producing
electronically stored information , the person responding must               it in a form or forms in which it is ordinarily maintained or in a
reasonably usable form or forms.
      (C) Electronically Stored Information Produced in Only One Form. The person responding need not                           the same
electronically stored information in more than one form .
      (D) Inaccessible Electronically Stored Information. The person responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably accessíble because of undue burden or                     On motion to
discovery or for a protective order , the person responding must show that the information is not reasonably accessible because of undue
burden or         If that showing is made , the        may nonetheless order                 from such sources if the requesting party shows
good cause , considering the limitations of         26(b)(2)(C). The court may specify                  for the
   (2) C/aiming Privilege or Proleclion
      (A) Informalion Withheld. A person withholding subpoenaed information under a claim that it is privileged or                    to
protection as trial-preparation materials must:
         (i) expressly make the claim ; and
         (ii)           the nature of the withheld documents , communications , or tangible things in a manner that, without
information itself privileged or protected , will enable the parties to assess the claim.
       (B) Information Produced. If ínformation produced in response to a subpoena is subject to a claim of privilege or of protection as
trial-preparation material , the person making the claim may             any party that receíved the information of the claim and the basis for it.
After being notified , a       must promptly return , sequester, or destroy the specified information and any                It has; must not use or
disclose the information until the claim is            must take reasonable steps to retrieve the information if the party disclosed it before
being notified; and may promptiy present the information under seal to the               for a determination of the claim. The person who
produced the information must preserve the information until the claim is
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                         ATTACHMENT TO SUBPOENA
                                 ClarkID isciplinary Counsel
                             Disciplinary Docket No. 2021-D193
                            Date of Subpoena: February 28, 2022
                            Due date of Subpoena: March 14, 2022

       Produce all documents and records (stored in hard copy or electronically), of which you

were aware before January 4 , 2021 , that contain evidence of irregularities in the 2020 presidential

election and that may have affected the outcome in Georgia or any other state.            The terms

-‘documents" and “ records" should be interpreted broadly to include all recorded materials,

whether written or electronic, including statements or declarations of witnesses. Identify the

source of any document (including contact information     “ r any persons bringing the document to

your attention), how it came to your attention, and the date that it came to your attention. With

respect to any witness statements or declarations , provide contact information sufficient to locate

the witness. Specify what information of election fraud came to your attention following the

announcement of Attorney General Barr on December 1, 2020, that the Department had found no

evidence of fraud on a scale that could have            the results of the presidential election. Err

on the side of disclosure; should you subsequently rely on any document that you have not

produced, your failure to produce it may be construed against you.

       Produce any file or collection of materials or correspondence, written or electronic, relating

to any efforts that you made between the November 3, 2020, presidential election and January 4 ,

2021 , that relate in any way to any efforts you made to persuade officials of the United States

Department of Justice to intervene in the certification by any state,             including Georgia,

of the results of that election. These materials should include any notes that you took or notes of

others that you maintained of meetings or telephone calls relating to this subject. Again , you

should err on the side of inclusion.
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Attachment to Subpoena continues
ClarkJDisciplinary Counsel
Page 2

       Provide the results of any legal research that you conducted, had conducted , or received

before January 4 , 2021 , that relate to the authority of the United States Department of Justice to

intervene in the certification by any state of the results of a presidential election, including the

circumstances under which the Department is authorized to intervene, the quantum of proof

necessary for such an intervention , the officials within the Department whose responsibility it is

to initiate such an intervention , and the form that such intervention should take. This information

should include any research that addresses the responsibility ofthe Assistant Attomey General of

the Civil Division or the Assistant Attorney General of the Environmental and Natural Resources

Division to investigate allegations of election fraud.

       Provide all written policies and guidelines ofthe Department of Justice , ofwhich you were

aware and that were in effect between November 3, 2020, and January 4 , 2021 , relating to the

circumstances in which lawyers at the Department of Justice were permitted to be in direct contact

with officials ofthe White House or the Executive Office ofthe President




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 1   OFFICE OF GENERAL COUNSEL
     U.S. HOUSE OF REPRESENTATIVES
 2
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 3   Washington, D.C. 20515
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 5   New York, New York 10004
 6
     ARNOLD & PORTER
 7   601 Massachusetts Ave, NW
     Washington, D.C. 20001
 8
 9
     Counsel for the Congressional Defendants
10
11                          UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
15

16                 Plaintiff,                   CONGRESSIONAL DEFENDANTS
                                                BRIEF IN OPPOSITION TO
17     vs.                                      PLAINTIFF S PRIVILEGE
                                                ASSERTIONS
18     BENNIE G. THOMPSON, et al.,
19                                              Date:     March 8, 2022
                   Defendants.                  Time:     9:00 a.m.
20                                              Location: Courtroom 9D
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 1                                         INTRODUCTION

 2           The Select Committee is investigating the violent attack on our Capitol on January
 3 6, 2021, and an effort by the former President of the United States to remain in office by
 4 ob        c ing Cong e     co n of the electoral votes. Plaintiff John Eastman purports to
 5 ha e been he fo me P e iden           la   e in connec ion i h that effort. But Plain iff
 6 role was not simply as an advisor; he spoke at the rally on the morning of January 6,
 7 spreading proven falsehoods to the tens of thousands of people attending that rally, and
 8 appears to have a broader role in many of the specific issues the Select Committee is

 9 investigating. The Select Committee requires a detailed understanding of all of
10 Plain iff     ac i i ie in o de o info m Cong e        legi la i e j dgmen and to help ensure
11 that no President can threaten the peaceful transition of power ever again.
12           Plaintiff has already invoked his Fifth Amendment right against self-incrimination
13 in response to 146 separate questions posed by the Select Committee.1 Now he is
14 attempting to conceal a range of relevant documents behind claims of attorney-client

15 privilege and work-product protection. Below, the Select Committee focuses on
16 Plaintiff     (and appa en l Mr. T mp ) claim fo doc men da ed Jan a                   4-7, 2021,
17 and respectfully urges the Court to reject every such claim.
18           First, to the extent attorney-client privilege applies in the context of a
19 Congressional subpoena,2 [a] party asserting [privilege] has the burden of establishing
20 the relationship and the privileged na       e of he comm nica ion. United States v.
21 Ruehle, 583 F.3d 600, 607 (9th Cir. 2009) (internal quotation omitted). Plaintiff here
22 fails to carry his burden of establishing the existence of a legitimate attorney-client
23 relationship with former President Donald Trump during the period at issue. And even if
24 Plaintiff could make such a showing, many of the communications during this period
25 included individuals outside of any attorney-client or confidential relationship         and
26 Plaintiff has not demonstrated the necessary common interest arrangement with these
27
     1
28       Ex. A, Eastman Deposition.
     2
         Infra at 37-39
                                                     1
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 1 third parties to preserve the privilege. And even if Plaintiff could establish an attorney-
 2 client relationship and some broad common interest agreement, Plaintiff chose to

 3 distribute these communications over an unprotected university server even after he was
 4 expressly admonished by the University President and reminded that he was not free to
 5 use University email and computers in support of a political candidate. Finally, Plaintiff
 6 admitted that President Trump authorized him to discuss their communications in public,
 7 apparently in an effort to establish some fo m of defen e fo P e iden T mp            cond c .
 8 Any privilege over these subjects was, therefore, waived.

 9           Second, as to work product, Plaintiff falls far short of meeting his burden to
10 establish that the documents are prepared by party, o a pa           ep e entative, in
11 anticipation of litigation. Even had Plaintiff met that burden, the work product doctrine
12 provides nothing close to absolute protection from disclosure. Courts have already held
13   ha fo me P e iden T mp in e e             in ec ec of ce ain materials ordinarily shielded
14 by executive privilege are outweighed by the Select Committee          in e e    . Trump v.
15 Thompson, No. 21-5254, 2021 U.S. App. LEXIS 36315, at *60 (D.C. Cir. Dec. 9, 2021),
16 stay denied, 142 S. Ct. 680 (2022) (holding that any such privilege was overcome by the
17 Select Commi ee           ni   el compelling need, he i ing P e iden            j dgmen ha
18       elea e a in he co n       be in e e , and he ca ef l comp omi e nego ia ed be een
19 the two branches of government). Here, Mr. T mp            (o Plain iff ) interests in
20 protecting work product are outweighed by he Selec Commi ee              substantial need; the
21 Select Committee cannot, without undue hardship, obtain their substantial equivalent by
22 other means.
23           Third, Plain iff documents should be reviewed in camera by this Court for
24 application of the crime/fraud exception. The Court inquired about that exception, and
25 the Select Committee has seriously considered that issue.3 Although the investigation is
26 continuing and will provide substantial further relevant information, sufficient
27
28   3
         See Scheduling Conference Tr. 6, ECF No. 113.
                                                    2
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 1 information already exists to justify in camera review and likely rejection of those
 2 privileges.

 3        Finally, this Court should deny Plaintiff   effo   o hoeho n in o hi c      en
 4 b iefing on p i ilege i    e a mo ion o econ ide hi Co            prior constitutional
 5 holdings.
 6                             SUMMARY OF BACKGROUND4
 7        Before the 2020 election even took place, President Trump and his supporters
 8 began to lay the groundwork to cast doubt on the results.5 On election night, Mr. Trump

 9 began falsely asserting, without basis, that he had prevailed and called on States to stop
10 counting mail-in and absentee votes.6 In the six weeks that followed, President T mp
11 legal team and his supporters took their allegations to the courts, ultimately litigating and
12 losing more than 60 challenges to the election results in seven States.7 State Bars of both
13
     4
14
     The Select Committee is in the midst of its investigation, but has already developed
   many thousands of pages of evidence. A full recitation of that evidence with attached
15 exhibits would be overwhelmingly lengthy, so the Select Committee here briefly
16 summarizes key points relevant to the documents at issue. The Select Committee stands
   ready to make further submissions on specific relevant topics of interest to the Court
17 (under seal, if appropriate). Order re: Prod. and Priv. Log (Jan. 26, 2022), ECF No. 50, at
18 3. Several other federal courts have already summarized the events of January 6, 2021.
   See, e.g., Trump v. Thompson, No. 21-5254, 2021 U.S. App. LEXIS 36315 (D.C. Cir.
19 Dec. 9, 2021), stay denied, 142 S. Ct. 680 (2022); United States v. Nordean, No. 21-175,
20 (D.D.C.) Mem. Op. (Dec. 28, 2021) (ECF No. 263).
   5
     Kevin Liptak, A L         eT e T          Ha Sa d He W         Acce     e E ec
21 Results or Leave Office if He Loses, CNN (September 24, 2020),
22 https://www.cnn.com/2020/09/24/politics/trump-election-warnings-leaving-
   office/index.html.
23 6 President Trump Remarks on Election Status, C-SPAN (November 4, 2020),
24 https://www.c-span.org/video/?477710-1/president-trump-remarks-election- a          ( Thi
   is a fraud on the American public. This is an embarrassment to our country. We were
25 getting ready to win this elec ion. F ankl , e did in hi elec ion. ).
   7
26 William Cummings, Joey Garrison and Jim Sergent, By the numbers: President Donald
   Trump s failed efforts to overturn the election, USA Today (Jan. 6, 2021),
27 https://www.usatoday.com/in-depth/news/politics/elections/2021/01/06/trumps-failed-
28 efforts-overturn-election-numbers/4130307001/. For relevant examples of decisions

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 1 New York and Washington, D.C. suspended the law license of one of P e iden T mp
 2 lead attorneys, Rudolph Giuliani. In re Rudolph W. Giuliani, 2021 Slip Op. 04086 (N.Y.

 3 1st Dept. June 24, 2021) (e plaining ha Gi liani had comm nica ed demon            abl
 4 false and misleading statements to courts, lawmakers and the public at large in his
 5 capaci     a la   e   and empha i ing ha [ ]he e io ne         of [Gi liani ]
 6 uncontroverted misconduct cannot be ove       a ed ); see also In re Rudolph W. Giuliani,
 7 Order, App. D.C., No. 21-BG-423 (July 7, 2021). Other counsel in litigation challenging
 8 the election have also faced sanctions. See King v. Whitmer, 20-cv-13134, 2021 WL

 9 3771875, at *1 (E.D. Mich. 2021). (sanctioning Lin Wood, Sidney Powell, and seven
10 o he     and e plaining, [i] i one hing o ake on he cha ge of indica ing igh
11 associated with an allegedly fraudulent election. It is another to take on the charge of
12 deceiving a federal court and the American people into believing that rights were
13 infringed, without regard to whether any laws or rights were in fact violated. This is
14    ha happened he e ). On Ma ch 1, 2022, he S a e Ba of Califo nia Chief T ial
15 Counsel announced an investigation into Plaintiff     ac ion   follo ing and in ela ion o
16   he No embe 2020 p e iden ial elec ion. 8
17
18 add e ing P e iden T mp          claim of f a d and i eg la i ie , see, e.g., Donald J.
   Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899, 906 (M.D. Pa. 2020)
19 ( [T]hi Co      ha been p e en ed i h ained legal a g men             i ho me i and
20 speculative accusations, unpled in the operative complaint and unsupported by
   e idence. ); Ward v. Jackson, No. CV-20-0343-AP/EL, 2020 Ariz. LEXIS 313, at *2, 6-
21 7 (Dec. 8, 2020) (plain iff failed o p e en an e idence of mi cond c , illegal o e
22 o ha he Biden Elec o         did no in fac ecei e he highe n mbe of o e fo office,
   let alone establish any degree of fraud or a sufficient error rate that would undermine the
23 ce ain of he elec ion e l ); T              . W . E ec        C         , 506 F. Supp. 3d 620
24 (E.D. Wis. 2020); T          . W . E ec      C        , 983 F.3d 919, 927 (7th Cir. 2020);
   Wood v. Raffensperger, 501 F. Supp. 3d 1310, 1331 (N.D. Ga. 2020); Wood v.
25 Raffensperger, 981 F.3d 1307, 1310 (11th Cir. 2020).
   8
26 State Bar of California, State Bar Announces John Eastman Ethics Investigation (Mar.
   1, 2022), https://www.calbar.ca.gov/About-Us/News/News-Releases/state-bar-
27 announces-john-eastman-ethics-investigation. Disciplinary investigations are launched if
28 a complainan       fficien l allege mi cond c , incl ding a po en ial in e ie of

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                          DEFENDANTS MEMORANDUM OF LAW
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 1         As the courts were overwhelmingly ruling against President Trump claim of
 2 election misconduct, he and his associates began to plan extra-judicial efforts to overturn

 3 the results of the election and prevent the President-elect from assuming office.9 At the
 4 heart of these efforts was an aggressive public misinformation campaign to persuade
 5 millions of Americans that the election had in fact been stolen. The President and his
 6 a ocia e pe i ed in making        olen elec ion claim e en af e he P e iden        o n
 7 appointees at the Department of Justice and the Department of Homeland Security, along
 8 with his own campaign staff, had informed the President that his claims were wrong.

 9         Acco ding o he P e iden      enio campaign ad i o , oon af e he elec ion, a
10 campaign da a e pe      old he P e iden in p e     bl n e m      ha he was going to
11 lose.10 On No embe 12, 2020, he Depa men of Homeland Sec i                C be ec i
12 and Infrastructure Security Agency (CISA) issued a public statement noting      nfo nded
13 claims and oppo     ni ie fo mi info ma ion abo       he elec ion, and affi ming hat
14    [ ]he e i no e idence ha an    o ing     em dele ed o lo     o e , changed o e , o
15    a in an    a comp omi ed. 11 The following month, Attorney General William Barr
16
     complainants, and a review of open-sourced and legal documents. California State Bar,
17 2020 Annual Discipline Report, at C-2 (Apr. 27, 2021),
18 https://www.calbar.ca.gov/Portals/0/documents/reports/2020-Annual-Discipline-
   Report.pdf. While Plaintiff is entitled to a presumption of innocence in that process, the
19 Ba     Chief T ial Co n el ha de e mined ha he p blic anno ncemen a               a an ed
20 fo p o ec ion of he p blic. State Bar of California, State Bar Announces John Eastman
   Ethics Investigation (Mar. 1, 2022), https://www.calbar.ca.gov/About-Us/News/News-
21 Releases/state-bar-announces-john-eastman-ethics-investigation (citing Cal. Bus. And
22 Prof. Code, s. 6086.1(b)(2); State Bar Rule of Procedure 2302(d)(1).)
   9
      P e iden T mp Jan a 30, 2022 p blic a emen ackno ledge ha he a
23 a emp ing o o e        n he elec ion on Jan a 6, 2021. See Statement by Donald J.
24 Trump, 45th President of the United States of America, SAVE AMERICA (Jan. 30, 2022),
   https://www.donaldjtrump.com/news/news-hktthafwz61481.
25 10 Ex. D, Jason Miller Deposition 90-91.
   11
26     CISA, Joint Statement from Elections Infrastructure Government Coordinating
   Council & The Election Infrastructure Sector Coordinating Executive Committees
27 (November 12, 2020), https://www.cisa.gov/news/2020/11/12/joint-statement-elections-
28 infrastructure-government-coordinating-council-elec ion (concl ding ha [ ]he

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 1 stated publicl   ha he U.S. J     ice Depa men ha[d] nco e ed no e idence of
 2 widespread voter fraud that could change the outcome of the 2020 election, a po i ion

 3 he reiterated on December 21 when rejecting calls to appoint a special prosecutor to
 4 investigate election fraud.12 A enio ad i o      o he P e iden   campaign ag eed i h
 5 Ba     anal i and aid ha o he P e iden on m l iple occa ion .13
 6        Evidence obtained by the Select Committee reveals that Acting Attorney General
 7 Jeffrey Rosen and Acting Deputy Attorney General Richard Donoghue discussed
 8 allegations of voter fraud with President Trump on multiple occasions in December of

 9 2020    and informed him, both as to specific allegations and more generally, that the
10 P e iden    claim of ma i e f a d      fficien o overturn the election were not supported
11 by the evidence.14 According to Rosen, at a December 15, 2020 meeting at the White
12 House that included Rosen, Donoghue, Ken Cuccinelli (Department of Homeland
13 Security), Pat Cipollone (White House Counsel), and Mark Meadows (White House
14 Chief of S aff), pa icipan   old he P e iden ha people a e elling o         hing ha a e
15
   November 3rd election was the most sec e in Ame ican hi o , and [ ]he e [ a] no
16
   evidence that any voting system deleted or lost votes, changed votes, or was in any way
17 comp omi ed ).
   12
      Michael Balsamo, Disputing Trump, Barr says no widespread election fraud,
18
   ASSOCIATED PRESS (December 1, 2020); AG Barr says he won't appoint a special
19 counsel to investigate voter fraud, YAHOO NEWS (December 21, 2020). In a new book,
20
   Mr. Barr reportedly blames the President for the events of January 6, stating that Trump
   had lo hi g ip and ha [ ]he ab d leng h o hich [ he P e iden ] ook hi                  olen
21 elec ion claim led o he io ing on Capi ol Hill. Sadie Gurman, Ex-Attorney General
22
   William Barr Urges GOP to Move On From Trump, WALL. ST. J. (Feb. 27, 2022),
   https://www.wsj.com/articles/ex-attorney-general-william-barr-urges-gop-to-move-on-
23 from-trump-11645959600.
24 14Ex. D, Miller Tr. 118-19.
   13


      See Interview of Jeffrey Rosen (Aug. 7, 2021), United States Senate Committee on the
25 Judiciary, at 30, https://www.judiciary.senate.gov/rosen-transcript-final; see also Ex. B,
26 Donoghue Tr. 59 62 (discussing specific allegations that Donoghue and Rosen
   discredited to the President, including a 68% error rate in Michigan; a truck driver who
27 had allegedly driven ballots from New York to Pennsylvania; suitcases of fraudulent
28 ballots allegedly counted in Georgia; and the repeated scanning of ballots, among many
   others).
                                                6
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 1 no       igh . 15 According to Donoghue, he personally informed the President on a
 2 Decembe 27, 2020 phone call in e            clea e m      ha he Department of Justice had
 3 done do en of in e iga ion , h nd ed of in e ie             , had looked a Geo gia,
 4 Penn       l ania, Michigan, Ne ada and concl ded ha         he majo allega ion a e no
 5        ppo ed b   he e idence de eloped. 16
 6           The President nevertheless continued to insist falsely through January that he had
 7        on he elec ion in a land lide. And de pi e being epea edl      old ha hi allega ion of
 8 campaign fraud were false, the President continued to feature those same false allegations

 9 in ads seen by millions of Americans.17 (The Select Committee will address these issues
10 in detail in hearings later this year.)
11
12           As the President and his associates propagated dangerous misinformation to the
13 public, Plaintiff was a leader in a related effort to persuade state officials to alter their
14 election results based on these same fraudulent claims.

15           President Trump, Plaintiff, and several other associates of the President reached
16 out directly to state officials to communicate unsubstantiated allegations of election fraud
17
18   15
       Interview of Jeffrey Rosen (Aug. 7, 2021), United States Senate Committee on the
19 Judiciary, at 30, https://www.judiciary.senate.gov/rosen-transcript-final.
   16
20
       Id. at 59-60; see also id. at 61-62 ( eflec ing Donogh e no e of a phone call, hich
      a e, Told [ he P e iden ] fla o ha m ch of he info ma ion he ge ing i fal e
21 and/or just not supported by the evidence. We look[ed] at the allegations but they don
22
   pan o . ). See also Interview of Richard Donoghue (Aug. 6, 2021), United States
   Senate Committee on the Judiciary, at 59, 156, https://www.judiciary.senate.gov/richard-
23 donoghue-transcript.
   17
24     See Alex Wayne, Mario Parker, and Mark Niquette, Trump Campaign to Run Ads
   Promoting Effort to Overturn Election, Bloomberg (Dec. 11, 2020),
25 https://www.bloomberg.com/news/articles/2020-12-11/trump-campaign-to-run-ads-
26 promoting-effort-to-overturn-election; Donald J. Trump, The evidence is overwhelming
   FRAUD!, FACEBOOK,
27 https://www.facebook.com/DonaldTrump/videos/1803802073100806/; Donald J. Trump,
28 Stop the Steal, FACEBOOK,
   https://www.facebook.com/officialteamtrump/videos/711114792881749/.
                                                   7
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 1 and request that state legislatures disregard popular election results.18 On January 2,
 2 2021, the President and Plaintiff convened a video conference with hundreds of state

 3 legislators from swing states won by candidate Biden.19 The Trump team reportedly
 4 urged the legislators to dece if     the election results in their States.20 According to
 5 Michigan State Senator Ed McBroom, this call focused (without any valid legal or factual
 6 basis) on the purported power of state legislators to reject the rulings of federal and state
 7 courts and overturn already certified election results.21 That same day, President Trump
 8 spoke with Georgia Secretary of State Brad Raffensperger, pressing false and

 9 unsubstantiated claims of election fraud, and ultimately asking Raffensperge      o find
10 11,780 o e     fo Trump in the State.22
11        President Trump also took steps that would have corrupted the Department of
12 Justice; he offered the role of Acting Attorney General to another Justice Department
13
     18
      The Select Committee has interviewed a number of state officials, and their accounts
14
   are consistent with the press reports cited in the paragraph that accompanies this footnote.
15 Plaintiff has claimed privilege over several communications with state legislators
   referring to potential legislative action. See, e.g., 024762 ( Comm i h agen of po en ial
16
   clien e a i ical epo in an icipa ion of legi la i e ac ion o li iga ion. ); 024778
17 ( Comm with co-co n el e po ible legi la i e ac ion in ppo of pending li iga ion ).
   19
      M. Leahy, President Trump Joins Call Urging State Legislators to Review Evidence
18
   a dC       de Dece            U a         E ec     Re     , BREITBART (Jan. 3, 2021),
19 https://www.breitbart.com/politics/2021/01/03/president-trump-joins-call-urging-state-
20
   legislators-to-review-evidence-and-consider-decertifying-unlawful-election-results/; see
   also J. Alemany, Ahead of Jan. 6, Willard Hotel in Downtown DC was a Trump Team
21 C       a d Ce e         E       T De T             e P e de c , WASHINGTON POST (Oct.
22
   23, 2021), https://www.washingtonpost.com/investigations/willard-trump-eastman-
   giuliani-bannon/2021/10/23/c45bd2d4-3281-11ec-9241-aad8e48f01ff_story.html.
23 20 J. Alemany, Ahead of Jan. 6, Willard Hotel in Downtown DC was a Trump Team
24 C       a d Ce e         E       T De T             e P e de c , WASHINGTON POST (Oct.
   23, 2021), https://www.washingtonpost.com/investigations/willard-trump-eastman-
25 giuliani-bannon/2021/10/23/c45bd2d4-3281-11ec-9241-aad8e48f01ff_story.html.
   21
26 22 Id.
      A. Gardner, He e       e       a c      a da d          e ca be ee T         a d
27 Raffensperger, Washington Post (Jan. 5, 2021),
28 https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-
   vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html.
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 1 political appointee, Jeffrey Clark, knowing that Mr. Clark was pressing to issue official
 2 letters to multiple state legislatures falsely alerting them that the election may have been

 3 stolen and urging them to reconsider certified election results.23 The Depa men           enio
 4 leadership and P e iden T mp        Whi e Ho e Co n el threatened to resign if President
 5 Trump ele a ed Cla k and fi ed ho e       ho e e e i ing Cla k        e e    .24
 6          M . T mp      eam al o mo n ed an effo     o ob ain fal e elec ion ce ifica e
 7 purporting to demonstrate that the electors of seven States were committed to President
 8 Trump rather than President Biden. (The Select Committee has deposed several signers

 9 of these false certificates, and plans to interview others.) Michigan Republican Co-Chair,
10 Meshawn Maddock publicly stated, for example, ha          he fo gh o ea he elec o
11 beca     e he T mp campaign a ked          o do ha . 25 The certificates included false
12 statements that they were official.26
13          When the Electoral College met on December 14, 2020, and confirmed the
14 certified results of the election, the results of the election should have been final. But

15 Plaintiff advised President Trump to press an unconstitutional plan to disregard those
16
17
18
      23
19    See Ex. B, Donoghue Tr. 77-81, 123-24 (discussing the proposed letter to states and
   Oval Office meeting).
20 24
      Ex. C, Rosen Tr. at 105-106, 118; Ex. B, Donoghue Tr. 125-27.
   25
21    MAGA confession: Trump lawyer admits fraudulent electors plot, MSNBC (Jan. 21,
22
   2022), https://www.msnbc.com/the-beat-with-ari/watch/maga-confession-trump-lawyer-
   admits-fraudulent-electors-plot-131436613579.
23 26 Five of the seven certificates submitted to federal officials on behalf of Trump-Pence
24 electors in the States falsely claimed o be he d l elec ed and ualified Electors for
   President and Vice President of the United States of America from the State of [Arizona,
25 Geo gia, Michigan, Ne ada, Wi con in]. Ex. E, NARA Unofficial Certificates. The
26 certificate submitted on behalf of the Trump-Pence electors in two other States included
   language indica ing ha he nde igned elec o migh la e be de e mined [ o be]
27 (Penn l ania) o ma          l ima el [be] ecogni ed a (Ne Me ico) he d l elec ed
28 and qualified electors. Ex. E, NARA production 37941, 37944, 37945, 37946, 37947,
   38948, 37949.
                                                  9
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 1 results on January 6.27 The text of the Twelfth Amendment to the Constitution clearly
 2 de c ibe Cong e       s obligation to count ce ified elec o al o e : The P e iden of he
 3 Senate shall, in the presence of the Senate and House of Representatives, open all the
 4 certificates and the votes shall then be counted; the person having the greatest Number of
 5 votes for President, shall be he P e iden .    U.S. Const., amend. XII. Nothing in the
 6 Constitution permits Congress or the presiding officer (the President of the Senate,
 7 Michael R. Pence) to refuse to count certified electoral votes in this context, yet that is
 8 p eci el      ha Plain iff    gge ed. Plain iff p opo al a he         bjec of hea ed
 9 discussions in the White House in the days before January 6, including with the Vice
10 P e iden      legal co n el and o he     ho old Plain iff ha    ha he a p opo ing a
11 illegal.28
12          This did not deter either Plaintiff or President Trump. Describing his own
13 proposals in a now-public memorandum, Plaintiff characterized his proposed options as
14     BOLD, Ce ainl , b        nece a    beca e hi Elec ion a S olen b a          a egic
15 Democ a plan o          ema icall flo    e i ing elec ion la   fo pa i an ad an age,
16 ad i ing ha       e e no longe pla ing b Q een b          R le . 29
17
18
19
      27
20
      See Ex. F, Jacob Tr. 89-96. Plain iff p opo al , in he fo m of o memo anda, a e
   now in the public domain. See READ T           a e       e         -step plan for Pence
21 to overturn the election, CNN (September 21, 2021),
22
   https://www.cnn.com/2021/09/21/politics/read-eastman-memo/index.html and Jan. 3
   Memo on Jan. 6 Scenario, CNN,
23 http://cdn.cnn.com/cnn/2021/images/09/21/privileged.and.confidential.--
24 .jan.3.memo.on.jan.6.scenario.pdf (provided by Plaintiff to CNN per CNN reporting, see
   Tweet by @jeremyherb, Sept. 21, 2021 at 5:46PM,
25 https://twitter.com/jeremyherb/status/1440432387263922185).
   28
26 29 See, e.g., Ex. F, Jacob Tr. 105-11, 127-28.
      Id. The Ma e of Q een be              le a e a code of fai pla p esumed to apply in
27 an figh and e e de eloped o eg la e bo ing ma che . Marquis of Queensberry
28 Rules, Merriam-Webster, https://www.merriam-
   webster.com/dictionary/Marquis%20of%20Queensberry%20rules.
                                                 10
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 1          Following this advice from Plaintiff advice that Plaintiff admitted no member of
 2 the Supreme Court would accept30       President Trump repeatedly attempted to instruct,
 3 direct, or pressure the Vice President, in his capacity as President as of the Senate, to
 4 refuse to count the votes from six States. For example, on January 4, 2021, President
 5 Trump and Plaintiff met with Vice President Pence and his staff. In that meeting,
 6 according to one participant, Plaintiff tried to persuade the Vice President to take action
 7 on the electors.31 Again the next day, Plaintiff tried to persuade the Vice President and
 8 his staff that the Vice President should reject certain electors.32

 9          The p e    e con in ed on Jan a    6. A 1:00 a.m., P e iden T mp         ee ed, If
10 Vice President @Mike_Pence comes through for us, we will win the Presidency . . . Mike
11 can send it back! 33 A 8:17 a.m., he P e iden         ee ed, S a e    an o co ec hei
12 votes . . . All Mike Pence has to do is send them back to the States, AND WE WIN. Do
13 it Mike, hi i a ime fo e       eme co age! 34 Shortly after this tweet, President Trump
14 placed a phone call to Vice President Pence.35 He later connected with the Vice

15 President by phone around 11:20 a.m.36 General Keith Kellogg and others were with
16 President Trump during that call, and General Kellogg described the pressure that Trump
17 put on Pence:
18
19
      30
20
      Ex. F, Jacob Tr. 109-11, 117 ( [Plaintiff] had acknowledged that he would lose 9-0 at
    he S p eme Co . ).
   31
21    Ex. F at 82, 95.
   32
22 33
      Id. at 92.
      T i e , @ ealdonald mp Donald J. T mp Jan. 6, 2021 1:00:50 AM EST,
23 https://web.archive.org/web/20210106060056/https://twitter.com/realdonaldtrump/status/
24 1346698217304584192.
   34
      T i e , @ ealdonald mp Donald J. T mp Jan. 6, 2021 8:17:22 AM EST,
25 https://web.archive.org/web/20210106131747/https://twitter.com/realdonaldtrump/status/
26 1346808075626426371.
   35
      Ex. I, Short Tr. 12.
27 36 Ex. H, Private Schedule, P-R000285 (hand i en no e on P e iden p i a e
28 schedule indicate call with VPOTUS at 11:20 AM)]; see also Ex. I, Short Tr. at 16; Ex.
   F, Jacob Tr. 168.
                                                  11
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 1          Q: I al o been epo ed ha he P e iden aid o he Vice P e iden ha
             ome hing o he effec of, Yo don ha e he co age o make a ha d
 2          deci ion. And ma be no ho e e ac o d , b ome hing like ha . Do
 3          you remember anything like that?
            A: Words and I don emembe e ac l ei he , b       ome hing like ha ,
 4           eah. Like o e no o gh eno gh o make he call. 37

 5
            In his speech to the crowd and television crews that came to the capital on January
 6
      6, President Trump explicitly identified the advice given by Plaintiff Eastman when
 7
      imploring Vice President Pence:
 8

 9
            John [Eastman] is one of the most brilliant lawyers in the country and he
10          looked at this, and he said what an absolute disgrace that this could be
11
            happening to our Constitution, and he looked at Mike Pence, and I hope Mike
            is going to do the right thing. I hope so. I hope so because if Mike Pence
12          does the righ hing, e in he elec ion. . . . And Mike Pence, I hope o e
13          going to stand up for the good of our Constitution and for the good of our
            co n . And if o e no , I m going o be e di appoin ed in o .38
14

15          Vice President Pence had repeatedly made clear that he would not unilaterally
16 reject electors or return them to the states.39 Nevertheless, just before President Trump
17 spoke, Plaintiff falsely alleged widespread manipulation and fraud with voting machines,
18 purportedly altering the election outcome, and then delivered this message to the crowd:
19          And all we are demanding of Vice President Pence is this afternoon at 1:00
            he let the legislators of the state look into this so we get to the bottom of it,
20
            and the American people know whether we have control of the direction of
21          our government, or not. We no longer live in a self-governing republic if we
22
            can ge he an e o hi             e ion. Thi i bigge han P e iden T mp. I
            is a very essence of our republican form of government, and it has to be done.
23
24
25
      37
26    Ex. G, Kellogg Tr. 87, 90-92.
      38
      Donald J. Trump Speech on January 6, 2021. The speech transcript can be found at
27 https://wehco.media.clients.ellingtoncms.com/news/documents/2021/01/13/Trump_Jan._
28 6_speech.pdf.
   39
      See, e.g., Ex. I, Short Tr. 26-27.
                                                   12
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 1          And anybody that is not willing to stand up to do it, does not deserve to be in
            the office. It is that simple.40
 2
            Shortly thereafter with the assault on the United States Capitol already
 3
      underway T mp          ee ed a 2:24 p.m., Mike Pence didn ha e he co age o do ha
 4
      should have been done to protect our Country and our Constitution, giving States a
 5
      chance to certify a corrected set of facts, not the fraudulent or inaccurate ones which they
 6
      were asked to previously certify. USA demands the truth! 41 The evidence obtained by
 7
      the Select Committee indicates that President Trump was aware that the violent crowd
 8
      had breached security and was assaulting the Capitol when Mr. Trump tweeted.42 The
 9
      evidence will show that rioters reacted to this tweet, resulting in further violence at the
10
      Capitol.43 Indeed, rioters at the Capitol were shouting for the Vice President to be
11
12
13
14
      40
15
      John Eastman at January 6 Rally, C-SPAN, https://www.c-
   span.org/video/?c4953961/user-clip-john-eastman-january-6-rally.
16 Rudy Giuliani likewise described this plan in his January 6, 2021 rally speech. See Rudy
17 Gi liani Speech, Ma ch fo T mp, (Jan. 6, 2021) ( [Vice P e iden Pence] can decide on
   the validity of these crooked ballots, or he can send it back to the legislators, give them
18
   five to 10 days o finall fini h he o k. ), h p ://         . e .com/blog/ an c ip / d -
19 giuliani-speech-transcript-at-trumps-washington-d-c-rally-wants-trial-by-combat.
   41
20
      T ee b @ ealDonaldT mp Donald J. T mp Jan. 6, 2021 2:24:22PM ET,
   https://web.archive.org/web/20210106192450/https://twitter.com/realdonaldtrump/status/
21 1346900434540240897.
   42
22 43
      See, e.g., Ex. J, Williamson Tr. 60-65.
      See United States of America v. Derrick Evans, https://www.justice.gov/usao-
23 dc/pressrelease/file/1351946/do nload ( The e making an anno ncemen igh no
24 a ing if Pence be a ed         o be e ge o mind igh beca e e e o ming ha
   b ilding. ); United States of America v. Marhsall Neefe and Charles Bradford Smith,
25 https://www.justice.gov/usaodc/case-multi-defendan /file/1432686/do nload ( Then e
26 heard the news on [P]ence . . . And los i . . . So e o med. ); United States of America
   v. Joshua Matthew Black, https://www.justice.gov/opa/page/file/1354806/download
27 ( Once e fo nd Pence         ned on and ha he had stolen the election, like officially,
28 the crowd went crazy. I mean, it became a mob. We c o ed he ga e. ).

                                                    13
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 1 hanged.44 A min e af e P e iden T mp                 ee , Plain iff en an email o Vice
 2 P e iden Pence       la     e stating: The iege i beca e YOU and o              bo    did no do
 3 what was necessary to allow this to be aired in a public way so the American people can
 4     ee fo hem el e        ha happened. 45
 5          Later that evening, Plaintiff made a final plea to the Vice Presiden    la    e: I
 6 implore you to consider one more relatively minor violation [of the Electoral Count Act]
 7 and adjourn for 10 days to allow the legislatures to finish their investigations, as well as
 8 to allow a full forensic audit of the massive amount of illegal activity that has occurred

 9 here. 46 Plaintiff knew what he was proposing would violate the law, but he nonetheless
10 urged the Vice President to take those actions.
11          The Vice P e iden ejec ed Plain iff pleas that he violate the law, and has since
12 indica ed ha      ha he P e iden and Plain iff e e in i ing he do a          Un-Ame ican. 47
13 Former Fourth Circuit Judge Michael Luttig           for whom Plaintiff had previously worked
14 as a law clerk     described Plaintiff      ie of he Vice P e iden     a ho i    as inco ec
15 a e e         n. 48 Evidence obtained by the Select Committee to date indicates that
16 P e iden T mp         Whi e Ho e Co n el conf on ed Plaintiff before the rally, and
17 rejected Plaintiff    ad ice o M . T mp. And Plain iff admi ed ha no a single Justice
18 of the Supreme Court would agree with his view that the Vice President could refuse to
19 count certain electoral votes.49
20
      44
21    A. Parker, How the rioters who stormed the Capitol came dangerously close to Pence,
22
   Washington Post (Jan. 15, 2021), https://www.washingtonpost.com/politics/pence-
   rioters-capitol-attack/2021/01/15/ab62e434-567c-11eb-a08b-f1381ef3d207_story.html.
23 45 Ex. L (005379, Email from John Eastman (via his Chapman University email account)
24 to Gregory Jacob on January 6, 2021, 12:25 p.m. MST).
   46
      Exs. L, M (005479, Email from John Eastman (via his Chapman University email
25 account) to Gregory Jacob on January 6, 2021, 9:44 p.m. MST).
   47
26    See Pence slams Trump for 'un-American' bid to overturn vote, BBC News (Feb. 4,
   2022), https://www.bbc.com/news/av/world-us-canada-60268412.
27 48 Tweets by @judgeluttig, Sept. 21, 2021 at 11:50 PM,
28 https://twitter.com/judgeluttig/status/1440523766920933389.
   49
      Ex. F, Jacob Tr. 117.
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 1            As documents now available to the Select Committee demonstrate, Plaintiff used
 2 his Chapman University email account to email Greg Jacob, Counsel to the Vice

 3 President, on January 5 and 6 urging the Vice President to take illegal action and refuse
 4 to count electoral votes.50
 5                                           *    *    *
 6            The Selec Commi ee in e iga ion i con in ing o ga he e idence on the
 7 planning for the violent assault, communications between those who participated, and
 8 communications by the Trump team from the Willard war room and elsewhere. Various

 9 individuals planned for violence that day, including with the placement of pipe bombs,
10 the accumulation of weaponry for potential use on January 6 across the river in Virginia,
11 and the use of tactical gear and other weaponry.51 Evidence also indicates that the violent
12 rioters who attacked police, breached the Capitol, and obstructed and impeded the
13 elec o al o e       e e p o oked b P e iden T mp f a d len campaign o pe          ade he
14 American people that the election was in fact stolen.52 Indeed, he P e iden      he o ic
15
16
      50
           Exs. L, M [Chapman005235, Chapman005236, Chapman005479].
17    51
      See Grand Jury Indictment, United States v. Crowl et al., No. 21-cr-28-APM (Jan 12,
18 2022), available at: https://www.justice.gov/opa/press-release/file/1462476/download
   ( Rhode and ce ain egional leade of he Oa h Keepe began ec i ing o he o
19 travel to Washington, D.C., to participate in operations aimed at stopping the transfer of
20 presidential power. They coordinated travel across the country to enter Washington,
   D.C., equipped themselves with a variety of weapons, donned combat and tactical gear,
21 and e e p epa ed o an e Rhode            call o ake p a m a Rhode di ec ion. Some
22 also amassed firearms on the outskirts of Washington, D.C., distributed them among
    quick reaction force ( QRF ) teams, and planned to use the firearms in support of their
23 plo o op he la f l an fe of p e iden ial po e . ).
   52
24    See United States v. Chrestman, No. 1:21-mj-00218 (DDC),
   https://www.justice.gov/usao-dc/defendants/chrestman-william; K. Polantz, , Sobbing
25 Capitol rioter described his assault of police Officer Michael Fanone: 'My God. What
26 did I just do?', CNN (December 1, 2021) (rioter charged with assaulting Metropolitan
   Police Depa men Office Michael Fanone on Jan a 6 i h an elec o hock eapon
27 old in e iga o : T mp called . T mp called               o D.C. . . . If he he commande
28 in chief and he leade of o co n , and he s calling for help I thought he was calling

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 1 persuaded thousands of Americans to travel to Washington for January 6, some of whom
 2 marched on the Capitol, breached security, and took other illegal actions. The Select

 3 Commi ee         hea ing    ill add e   ho e i    e in de ail.
 4          Ultimately, President Trump issued a video and a tweet urging the rioters to leave
 5    he Capi ol,    e ing [ ]e lo e o , o          e e    pecial. Yo   e een ha happen ,
 6 you see the way others are treated that are so bad and so evil. I know how you feel. 53 At
 7 6:00 p.m., the President tweeted: These are the things and events that happen when a
 8 sacred landslide election victory is so unceremoniously & viciously stripped away from

 9 great patriots who have been badly & unfairly treated for so long. Go home with love &
10 in peace. Remember this day forever! 54
11          The January 6 attack resulted in multiple deaths, physical harm to more than 140
12 law enforcement officers, and trauma among government employees, press, and
13
   fo help ); United States v. Grayson, No. 1:21-mj-00163 (DDC),
14
   https://www.justice.gov/opa/page/file/1360506/download; United States v. Cua, No. 21-
15 CR-107 (DDC), https://www.justice.gov/usao-dc/case-multi-
   defendant/file/1365571/download; Sergeant Aquilino Gonell Testimony, House Select
16
   Committee to Investigate the January 6th Attack on the United States Capitol, The Law
17 Enforcement Experience on January 6th (July 27, 2021) (Capitol Police Sergeant
   Aquilino Gonell testifying that during hand-to-hand comba i h io e all of hem, all
18
   of hem, e e elling        T mp en . ). A n mbe of defendan in pending c iminal
19 ca e ha e iden ified P e iden T mp allega ion abo              he olen elec ion a a
20
   motivation for their activities at the Capitol; several also specifically cite President
   T mp         ee a king ha ppo e come o Wa hing on, D.C. on Jan a 6. See, e.g.,
21 United States v. Sandlin, https://ww .j ice.go /opa/page/file/1362396/do nload: ( I m
22
   going to be there to show support for our president and to do my part to stop the steal and
     and behind T mp hen he decide o c o he bicon. ); United States v. Neefe et al.,
23 https://www.justice.gov/usao-dc/case-multi-defendan /file/1432686/do nload ( T mp i
24 li e all calling people o DC in a ho of fo ce. Mili ia         ill be he e and if he e
   eno gh people he ma f cking o m he b ilding and ake o he a h igh he e. ).
25 53 President Trump Video Statement on Capitol Protesters, C-Span (Jan. 6, 2021),
26 https://www.c-span.org/video/?507774-1/president-trump-claims-election-stolen-tells-
   protesters-leave-capitol.
27 54 T ee b @ ealDonaldT mp Donald J. T mp Jan. 6, 2021 6:01:04 PM ET,
28 https://web.archive.org/web/20210106230114/https://twitter.com/realdonaldtrump/status/
   1346954970910707712
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 1 Members of Congress. See H. Res. 503, Preamble. Law enforcement eventually cleared
 2 the rioters, and the electoral count successfully resumed at 8:06 p.m. in the Senate after a

 3 nearly six-hour delay.
 4                                  PROCEDURAL HISTORY
 5
 6          In furtherance of its duty to investigate the facts, circumstances, and causes of the
 7 attack on January 6, the Select Committee has issued subpoenas to various government
 8 agencies, private companies, and numerous individuals, including Plaintiff and his

 9 former employer, Chapman University. In a cover letter accompanying the subpoena at
10 issue here, Chai man Thomp on e plained ha he Selec Commi ee had c edible
11 e idence      ha Plaintiff knew about, and ma ha e pa icipa ed in, a empts to encourage
12 the Vice President of the United States to reject the electors from several states or, at the
13 very least, to delay the electoral college results to give states more time to submit
14 different sla e of elec o .     No . 8, 2021 Selec Commi ee Cover Letter to Eastman at
15 1.55 Chairman Thompson noted ha Plain iff           oe      o memo anda offe ing e e al
16 scenarios for the Vice President to potentially change the outcome of the 2020
17 P e iden ial elec ion.    Id. Chairman Thompson also explained that Plaintiff had
18     pa icipa ed in a b iefing fo nea l 300 a e legi la o f om e e al a e ega ding
19 p po ed elec ion f a d,        e ified o Geo gia a e ena o         ega ding alleged o e
20 fraud and reportedly shared a paper that argued that the state legislature could reject

21 elec ion e     l and di ec l appoin elec o ,        a    a he Willa d Ho el     a oom        ih
22 Steve Bannon and others on the days leading up to January 6 where the focus was on
23 delaying or blocking the certification of the election, and on Jan a       6, spoke at the
24     all a he Whi e Ho e Ellip e. Id. at 2.
25          After Plaintiff refused to produce any documents responsive to a subpoena issued
26 to him directly (which is not before this Court), and invoked the Fifth Amendment
27
28    55
            Available at https://perma.cc/ZV8J-P2QS.

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 1 privilege against forced self-incrimination repeatedly during his deposition, the Select
 2 Committee issued a separate subpoena to Chapman for certain documents in its

 3 po e ion a        ib able o D . John Ea man, ha a e ela ed in an way to the 2020
 4 elec ion o    he Jan a    6, 2021 Join Se ion of Cong e . Compl. Ex. B at 4, ECF No.
 5 1-2. That subpoena requested documents from November 3, 2020 to January 20, 2021.
 6 Id. The deadline to produce the subpoenaed documents was January 21, 2022. Id. at 3.
 7          The da befo e he     bpoena deadline, Plaintiff initiated this action and sought to
 8 enjoin Chapman from producing responsive records. In his application for emergency

 9 injunctive relief, Plaintiff made broad assertions of attorney-client privilege without
10 identifying individual communications to which these privileges applied. This Court
11 granted Plaintiff     e e fo a four-day ex parte temporary restraining order until the
12 parties appeared for a January 24 hearing o di c       Plain iff   e e fo a empo a
13 restraining order. See Civil Minutes, Jan. 20, 2022, ECF No. 12.
14          At the January 24 hearing, the parties agreed that Plaintiff would expeditiously
15 produce a privilege log with particularized assertions of privilege. The Court denied
16 Plaintiff    application to maintain the temporary restraining order, rejected his First
17 Amendment, Fourth Amendment, and Congressional authority claims, and ordered
18 Plaintiff to produce all non-privileged, responsive documents to the Select Committee on
19 a rolling basis. The Court also denied Plaintiff    blanket attorney-client privilege and
20 attorney work product protection claims with the proviso that Plaintiff retained the right

21 to raise these claims as to specific documents during production. See Order, Jan. 25,
22 2020, ECF No. 43.
23          Although Plaintiff produced the requested logs, those logs failed to provide
24 sufficient information to allow the Select Committee to assess the privilege assertions
25 validity. After several efforts to secure adequate information from Plaintiff,
26 Congressional Defendants asked this Court to establish a briefing schedule to address
27 Plaintiff    o    anding p i ilege a e ion and he in fficienc of he info ma ion
28 provided on his daily logs. See Notice, Feb. 11, 2022, ECF No. 101. This Court granted

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 1 that e     e a o he p i ilege a e ion on Plain iff Jan a            4-7 document logs and set
 2 a hearing to address these issues. See Civil Minutes, Feb. 14, 2022, ECF No. 104. At

 3 Cong e ional Defendan          request, the Court also ordered Plaintiff to produce evidence
 4 of all attorney-client and agent relationships asserted in the privilege log, incl ding
 5     evidence documenting any attorney-client relationships that existed with his clients.
 6 Id. The Co         o de did no add e      mo ions for reconsideration.
 7                                   STANDARD OF REVIEW
 8           As with all evidentiary privileges, the burden of proving that the attorney-client
 9 privilege applies rests not with the party contesting the privilege, but with the party
10 asserting it.    Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 25 (9th Cir.
11 1981) (citations omitted); United States v. Richey, 632 F.3d 559, 566 (9th Cir. 2011).
12 The same is true of the work product doctrine. United States v. City of Torrance, 163
13 F.R.D. 590, 593 (C.D. Cal. 1995); Cameron v. City of El Segundo, No. 20-CV-04689,
14 2021 WL 3466324, at *12 (C.D. Cal. Apr. 30, 2021).          Evidentiary privileges in
15 litigation like ho e a i       e he e are not favored. Herbert v. Lando, 441 U.S. 153,
16 175 (1979).
17     [A] party asserting the attorney-client privilege has the burden of establishing the
18 relationship and the privileged na      e of he comm nica ion. United States v. Ruehle,
19 583 F.3d 600, 607 (9th Cir. 2009) (internal quotation omitted).       Beca e i impede f ll
20 and free discovery of the truth, the attorney-clien p i ilege i      ic l con      ed. United
21 States v. Martin, 278 F.3d 988, 999 (9th Cir. 2002), a a e ded           de a       e      (Mar.
22 13, 2002) (internal quotation omitted).
23                                          ARGUMENT
24           [T]he po e of in i        with process to enforce it    is an essential and
25 appropriate auxiliary to the legislative function.    McGrain v. Daugherty, 273 U.S. 135,
26 174 (1927). Inherent in this investigative authority, Congress can compel production of
27 documents and testimony through legislative subpoenas. It should now be beyond
28 dispute that the Select Committee is operating properly with an appropriate legislative

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 1 purpose. Order, Dkt. No. 43 at 10 (holding that         he i    e      o nding he 2020 elec ion
 2 and he Jan a          6 h a ack   a e clea l      bjec on hich legi la ion co ld be had );
 3 see also Thompson, No. 21-5254, 2021 U.S. App. LEXIS 36315, at *6 (describing
 4     Cong e       ni el      i al interest in studying the January 6th attack on itself to
 5 formulate remedial legislation and to safeguard its constitutional and legislative
 6 operations).
 7 I.       Plaintiff Has Not Met His Burden to Establish Application of the Common
 8          Law Attorney-Client Privilege

 9          A.     Plaintiff Has Neither Met His Burden to Establish the Attorney-Client
                   Relationship Nor Has He Sufficiently Established the Privileged Nature
10                 of the Communications
11
            Plaintiff claims ha [ ]he attorney-client relationship between Dr. Eastman and
12
      President Trump should be beyond dispute, B . a 11, and declares that he filed briefs on
13
      behalf of the Trump campaign in state litigation in December 2020. Pl. E . 1, Eastman
14
      Decl. ¶ 20. But Plaintiff does not even attempt in his declaration to claim attorney-client
15
      privilege over the relevant matters and the relevant time at issue here.
16
            Over the past months, the Congressional Defendants repeatedly asked Plaintiff to
17
      disclose the engagement letters that show the identity of his client and the period of the
18
      representation. Ex. 1, Email Exchange Between Douglas Letter and Charles Burnham.
19
      Appended to his declaration, Plaintiff finally revealed what he purports is an engagement
20
      letter. Tha le e iden ifie he clien a       Donald J. T mp fo P e iden , Inc. E . A o
21
      Ex. 1 at 1. But despite a clearly delineated signature page with lines for the client and
22
      attorney to sign    that letter is unsigned. Ex. A to Ex. 1 at 4. See In re W/B Assocs., 307
23
      B.R. 476, 483 (Bankr. W.D. Pa. 2004), aff d sub nom. Est. Partners, Ltd. v. Leckey, No.
24
      04CV1404, 2005 WL 4659380 (W.D. Pa. Aug. 31, 2005), aff d sub nom. In re W/B
25
      Assocs., 196 F. App x 105 (3d Cir. 2006) ( An unsigned agreement, in and of itself,
26
      raises material questions as to its validity and applicability. ); Solis v. Taco Maker, Inc.,
27
      No. 1:09-CV-3293, 2013 WL 4541912, at *5 (N.D. Ga. Aug. 27, 2013) (unsigned
28

                                                    20
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 1 engagement letter insufficient to establish attorney client relationship).56 And Plaintiff
 2 provided no declaration from his client regarding the scope of his representation.

 3            The lack of signatures is critical because the letter itself states that it becomes
 4 ope a i e [ ]pon he p ope           igna   e b all pa ie he e o. E . A o E . 1 a 1. B            he
 5 terms of the letter, therefore, the absence of signatures suggests the letter was not
 6 operative. Plaintiff       decla a ion, mo eo e , does not authenticate this unsigned letter,
 7 nor does Plaintiff include the cover email by which the engagement letter was
 8         an mi ed. E . 1, Ea man Decl. ¶ 23.57 Although Plaintiff had the burden to
 9 establish the elements of the privilege in his opening brief, this unsigned and
10 unauthenticated engagement letter is insufficient to establish an attorney-client
11 relationship during the period at issue (January 4 through 7) as to either President Trump
12 the individual or P e iden T mp            campaign. Any belated effort to cure this defect in
13 his reply by appending a signed engagement letter or the cover email to the letter should
14 not be permitted. See U.S. ex rel. Giles v. Sardie, 191 F. Supp. 2d 1117, 1127 (C.D. Cal.

15 2000) ( I i imp ope fo a mo ing pa               o in od ce ne fac o diffe en legal
16 arguments in the reply brief than those presen ed in he mo ing pape . ).
17            Nor can Plaintiff meet his burden by noting his involvement prior to the election in
18 a so-called Election Integrity Working Group. Ex. 1, Eastman Decl. ¶ 25. No
19 documentation accompanies this assertion, which in any event provides no indication that
20
      56
      Plaintiff emphasizes his appearances in a number of cases, but simply naming these
21 cases does not meet Plaintiff     b den o ho ha he di p ed communications related
22 to any of those cases. One of the cases had already concluded before the time at issue
   here, see State of Texas v. Commonwealth of Pennsylvania, et al., No. 22O155 (motion
23 for leave to file a bill of complaint denied on December 11, 2020), and nowhere do
24 Plaintiff p i ilege log iden if comm nica ion linked o ei he of he o he ca e .
      57
25     Plaintiff had the burden to establish the elements of the privilege in his opening brief.
   Any belated effort to cure this defect in his reply by appending a signed engagement
26 letter or the cover email to the letter should not be permitted. See U.S. ex rel. Giles v.
27 Sardie, 191 F. S pp. 2d 1117, 1127 (C.D. Cal. 2000) ( I i imp ope fo a mo ing pa
   to introduce new facts or different legal arguments in the reply brief than those presented
28 in he mo ing pape . ).

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 1 Plaintiff had a relevant attorney-client relationship during January 4 through January 7.
 2     [T]he b den of e abli hing he e i ence of he ela ion hip e         on the claimant of the
 3 privilege against disclosure. That burden is not, of course, discharged by mere conclusory
 4 or ipse dixit assertions, for any such rule would foreclose meaningful inquiry into the
 5 existence of the relationship, and any spurious claims co ld ne e be e po ed.         In re
 6 Bonanno, 344 F.2d 830, 833 (2d Cir. 1965). Nor does Plaintiff provide any basis to
 7 concl de ha he Wo king G o p            a p o iding legal ad ice a he clien       e e .
 8          Furthermore, 004722, 004723, 004744, 004745, 004766, 004767, and 004788
 9 were received by various third parties, and Plaintiff fails to meet his burden to show that
10 such di clo     e did no de o     he p i ilege. [V]oluntarily disclosing privileged
11 documents to third parties will generally destroy the privilege.   In re Pac. Pictures
12 Corp., 679 F.3d 1121, 1126 27 (9th Cir. 2012); see also Reiserer v. United States, 479
13 F.3d 1160, 1165 (9th Cir. 2007) ( there is no confidentiality where a third party . . . either
14 receives or generates the documents ).     Because the attorney-client privilege applies
15 only where the communication between attorney and client is confidential, there is no
16 privilege protecting the documents the [Select Committee] seeks in the present action.
17 Reiserer, 479 F.3d at 1165.
18           The mere presence of a third party at an attorney-client meeting does not
19 necessarily destroy the privilege, United States v. Landof, 591 F.2d 36, 39 (9th Cir.
20 1978) beca     e [ ]he attorney-client privilege may extend to communications with third
21 parties who have been engaged to assist the attorney in providing legal advice, Richey,
22 632 F.3d at 566. B       a shared desire to see the same outcome in a legal matter is
23 insufficient to bring a communication between two parties within this [common interest]
24 exception.     In re Pac. Pictures Corp., 679 F.3d at 1129. To invoke the common interest
25 e cep ion, the parties must make the communication in pursuit of a joint strategy in
26 accordance with some form of agreement        whether written or unwritten. Id.
27 Mo eo e , [a] person who is not represented by a lawyer and who is not himself or
28 herself a lawyer cannot participate in a common-interest arrangement.      Restatement

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 1 (Third) of the Law Governing Lawyers § 76 (2000); I         e Te e    be C      c    C       .,
 2 493 F.3d 345, 365 (3d Cir. 2007), as amended (Oct. 12, 2007) (common interest privilege

 3     only applies when clients are represented by separate counsel ).58
 4          Plaintiff makes no effort to meet his burden of establishing that the third-party
 5 recipients of his emails were retained to assist Plaintiff in providing legal advice, nor
 6 does he even try to e abli h ha Plain iff and he e pa ie had          ome fo m of
 7 ag eemen       op      e a join legal   a eg . In re Pac. Pictures Corp., 679 F.3d at 1129.
 8 This Court in       c ed Plain iff o file with the Court and the Select Committee evidence
 9 of all attorney-client and agent relationships asserted in the privilege log.   O de , ECF
10 No. 104. ¶ 2. Plaintiff did not identify a single common interest agreement. Plaintiff
11 self-serving a e ion of a common in e e         on info ma ion and belief and concl o
12 claims about a general common interest        as opposed to an actual agreement     do not
13 satisfy his burden to show that these third parties were brought within the ambit of the
14 privilege such that inclusion of these third parties did not destroy any privilege. Br. 17-

15 21; see also, e.g., Sony Computer Ent. Am., Inc. v. Great Am. Ins. Co., 229 F.R.D. 632,
16 634 (N.D. Cal. 2005) ( Where a third party is present, no presumption of confidentiality
17 obtains, and the usual allocation of burden of proof, resting with the proponent of the
18
      58
19    See also Sec. & E c . C          . Ae    a M ., LLC, No. 16-CV-438, 2017 WL
   6329716, at *3 (D. Or. July 7, 2017), objections overruled, 2017 WL 6328150 (D. Or.
20 Dec. 11, 2017) (common in e e p i ilege onl applie         hen clien a e ep e en ed b
21 epa a e co n el ); Swortwood v. Tenedora de Empresas, S.A. de C.V., No. 13CV362,
   2014 WL 895456, at *4 (S.D. Cal. Mar. 6, 2014), clarified on denial of reconsideration
22 sub nom. Swortwood v. Empresas, No. 13CV362, 2014 WL 12026069 (S.D. Cal. Apr.
23 18, 2014) ( Since M . Die Ba o o a no indi id all ep e en ed by counsel,
   Defendan can no e abli h he applicabili of he common in e e doc ine. ); Finisar
24 C    . . U.S. Ba T . Na . A      , No. C 07-04052, 2008 WL 2622864, at *4 (N.D. Cal.
25 J ne 30, 2008) ( Unde he ic confine of he common in e e doctrine, the lack of
    ep e en a ion fo he emaining pa ie i ia e an claim o a p i ilege. ) ( o ing
26 Cavallaro v. United States, 153 F. Supp. 2d 52, 61 (D. Mass. 2001), aff d, 284 F.3d 236
27 (1st Cir. 2002)); OTR W ee E       , I c. . W. W d de Se ., Inc., No. CV-14-085,
   2015 WL 11117150, at *2 (E.D. Wash. June 1, 2015) (for common interest to apply,
28 [ ]he comm nica ion , ho e e , m         be ha ed b a o ne fo he epa a e pa ie ).

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 1 privilege, applies in determining whether confidentiality was preserved under [the
 2 relevant privilege statute]. ); Westinghouse Elec. Corp. v. Republic of Philippines, 951

 3 F.2d 1414, 1427 (3d Cir. 1991) (voluntary disclosure to third party waives attorney-client
 4 privilege even if third party agrees not to further disclose communication).59
 5          Ninth Circuit precedent is clear: A party claiming the privilege must identify
 6 specific communications and the grounds supporting the privilege as to each piece of
 7 e idence o e        hich p i ilege i a e ed. Martin, 278 F.3d at 1000. Plaintiff
 8 privilege log and brief instead summarily label a multitude of documents as privileged

 9 without properly identifying a client, establishing the advice as legal (as opposed to
10 political or strategic), or showing that the third parties included on the communication
11 were agents of the client. S ch [b]lanket assertions [of privilege] are extremely
12 disfavored.       Id. (quoting Clarke v. Am. Com. Na      Ba , 974 F.2d 127, 129 (9th
13 Cir.1992)). Accordingly, Plain iff       a o ne -client claims must be rejected.
14
            In addition, to the extent that the Court finds that Plaintiff was providing advice on
15
      political or campaign strategy rather than law, the communications are not privileged,
16
      beca e ad ice on poli ical,      a egic, o polic i     e . . . would not be shielded from
17
      disclosure by the attorney-clien p i ilege. In re Lindsey, 148 F.3d 1100, 1106 (D.C.
18
      Cir. 1998); Md. Restorative Just. Initiative v. Hogan, No. 16-01021, 2017 WL 4280779,
19
      a *3 (D. Md. Sep . 27, 2017) ( A claim of a o ne -client privilege is only legitimate
20
      where the client has sought the giving of legal, not political, ad ice. ).
21
22
23
24
      59
25      I i app op ia e ha he p oponen of he p i ilege ha the burden of proving that a
   third party was present to further the interest of the proponent because, in this situation,
26 where the privilege turns on the nature of the relationship and content of communications
27 with the third party in question, the proponent is in the better posture to come forward
     i h pecific e idence e plaining h confiden iali          a no b oken. Sony Computer
28 Ent. Am., Inc., 229 F.R.D. at 634 n.1.

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 1            B.       Plaintiff Cannot Invoke Attorney-Client Privilege Over Documents on
                       Chapman Server60
 2
                Confidentiality is an aspect of a communication that must be shown to exist to
 3
      bring the communication within the attorney-client communication privilege. When the
 4
      confidentiality element is not shown to exist, the assertion of the attorney-client privilege
 5
      o afeg a d a comm nica ion f om di clo          e, i imp ope . Long v. Marubeni Am.
 6
      Corp., No. 05CIV.639, 2006 WL 2998671, at *3 (S.D.N.Y. Oct. 19, 2006) (use of
 7
      employer email or internet not privileged when policy disclaimed any right to personal
 8
      privacy and company retained right to monitor data flowing through its systems).
 9
              As the Supreme Court explained, an emplo ee e pec a ion of p i ac         may be
10
      reduced by virtue of actual office practices and procedures, or by legitimate regulation.
11
      OC               . O e a, 480 U.S. 709, 717 (1987). In the context of email communication
12
      over an employe         email     em, the question of privilege comes down to whether the
13
      intent to communicate in confidence was objectively reasonable. Doe 1 v. George
14
      Washington Univ., 480 F. Supp. 3d 224, 226 (D.D.C. 2020), reconsideration denied,
15
           F. Supp. 3d      , 2021 WL 5416631 (D.D.C. Nov. 19, 2021) (quoting Convertino v.
16
      U.S. Dep t of Just., 674 F. Supp. 2d 97, 110 (D.D.C. 2009)); see also In re Asia Glob.
17
      Crossing, Ltd., 322 B.R. 247, 258 (Bankr. S.D.N.Y. 2005).
18
              Courts confronting the issue have applied four factors: (1) does the corporation
19
      maintain a policy banning personal or other objectionable use, (2) does the company
20
      moni o he          e of he emplo ee comp e o e-mail, (3) do third parties have a right of
21
      access to the computer or e-mails, and (4) did the corporation notify the employee, or
22
      was the employee aware, of the use and monitoring policies? George Washington
23
      Univ., 480 F. Supp. 3d at 226 (quoting In re Asia Glob. Crossing, Ltd., 322 B.R. at 257).
24
      These factors point to the conclusion that any intent Plaintiff may have had to
25
      communicate confidentially over the Chapman server was not objectively reasonable.
26
27
      60
           Plaintiff    a e ion ha he Cong e ional Defendan         ai ed hi a g men , B . 22-
28 23, is addressed at 53-57, infra.

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 1            Chapman Comp e and Ne o k Polic directly undermines any purported
 2 expectation of confidentiality. That policy is clear: Users should not expect privacy in

 3 the contents of University-owned computers or e-mail messages.        Policies and
 4 Procedures: Computer and Network Acceptable Use Policy, Chapman University,
 5 https://perma.cc/7ZUA-ZALN (last visited Mar. 2, 2022) (emphasis added).
 6            The policy also expressly bans personal use on its network and computing systems.
 7 Id. (all ni e i       comp ing and ne o k           em and e ice a e a Uni e i -owned
 8 resource and business tool to be used only by authorized persons for educational

 9 purposes or to carry out the legitimate business of the University ). And through its
10 policy, Chapman e e e           he igh o e ie e he con en of Uni e i -owned
11 computers and e-mail me age fo legi ima e ea on .            Id.
12            Chapman polic i no able in ha , in response to the known risks to privilege
13 posed by university email policies, many other universities have in the past decade
14 developed policies that are more protective of user privacy.61 The      e of ba e-bones-
15 no-p i ac policie        like Chapman , in hich       e a e a ned ha he do no ha e an
16 e pec a ion of p i ac , i follo ed b onl a           mall mino i   of ni e i ie . Sisk &
17 Halbur, supra at n.61, at 1297, 1301; Policies and Procedures: Computer and Network
18
19    61
           See, e.g., UCLA Policy 410: Nonconsensual Access to Electronic Communications
20 Records (effective on Aug. 16, 2010) (requiring the consent of the user before accessing

21 electronic communications records except in exceptional circumstances),
      https://perma.cc/3CP4-QSYD; Stanford Administrative Guide, Privacy and Access to
22 Electronic Information 6.1.1 (last updated on Oct. 4, 2016) (acknowledging the
23 impo ance of     e    igh o p i ac and e i ing he con en of he e befo e
   accessing electronic communications except in exceptional circumstances),
24 https://perma.cc/E4C5-Z37P; see generally American Bar Association, Standing
25 Committee on Ethics and Professional Responsibility, Formal Opinion 11-459 (2011)
   https://perma.cc/VF5N-VFFB; State Bar of California, Standing Committee on
26 Professional Responsibility and Conduct, Formal Opinion 2010-179 §3(a)(iii) (2010),
27 https://perma.cc/6737-D8NV; G. Sisk & N. Halbur, A Ticking Time Bomb? University
   Data Privacy Policies and Attorney-Client Confidentiality in Law School Settings, 2010
28 Utah L. Rev. 1277 (2010).

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 1 Acceptable Use Policy, Chapman Uni e i            ( Ue         ho ld no e pec p i ac in he
 2 contents of University-owned computers or e-mail me age ).

 3          Plaintiff was notified of Chapman      ela i el        ingent policy and can be
 4 presumed to be aware of the it. Plaintiff served on the Chapman faculty for over twenty
 5 years and was previously the Dean of Chapman              la    chool. According to the
 6 University,     hene e Plain iff logged on o Chapman ne o k during the relevant
 7 period he ecei ed a       pla h c een me age a ing: U e of hi comp e                         em
 8 constitutes your consent that your activities on, or information you store in, any part of

 9 the system is subject to monitoring and recording by Chapman University or its agents,
10 consistent with the Computer and Acceptable Use Policy                i ho    f   he no ice. Decl.
11 of Janine DuMontelle ¶ 6, ECF No. 17-1.
12          Moreover, in reference to Plaintiff      ep e en a ion of P e iden T mp in S p eme
13 Court litigation, Chapman        President publicly emphasized he ni e i                 clea
14 policies in place regarding outside activity, explaining that acting privately, Chapman

15 fac l     and aff a e no f ee o        e Chapman Uni e i           email add e , ph ical
16 address or telephone number in connec ion          i h he       ppo of a poli ical candida e.
17 Dawn Bonker, P e de          S      a Me a e          S        e eC          Ca e, Chapman
18 University (Dec. 10, 2020), https://perma.cc/3CTG-4DBN.
19          At this Co      hea ing on Jan a      15, Chapman co n el empha i ed ha
20 P e iden T mp          a no a clinic clien , no      o ld he ha e been eligible o be a clinic
21 clien of Chapman,       ha Plain iff     ep e en a ion of he P e iden             a   imp ope   and
22      na ho i ed, and ha Plain iff         e of his Chapman account for such representation
23     a like ha ing con aband on o            em. Hea ing T . Re: Pl. App. fo TRO a 29.
24          Putting all of this together, Plaintiff certainly had no legitimate expectation of
25 confidentiality during the dates at issue here       January 4-7, 2021 nearly one month after
26    he Uni e i    P e iden     p blic a emen .
27          Plaintiff insists that this Court should di ega d Chapman polic beca e
28 Plaintiff is a professor, not a student. The information provided by the university to this

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 1 Court provides no indication that this makes any difference. To the contrary, less than a
 2 month before the period at issue here, Chapman          President admonished Plaintiff       e of
 3 the Chapman server and email address for the very purpose used here, and was crystal
 4 clea     ha he polic applied o faculty and staff. See Bonker, supra (emphasis added).
 5           Plaintiff   eliance on Convertino v. U.S. De      of Just. is misplaced. Convertino,
 6 like the cases the Cong e ional Defendan         ci e abo e, hold ha for documents sent
 7 through e-mail to be protected by the attorney-client privilege there must be a subjective
 8 expectation of confidentiality that is found to be objectively reasonable.        674 F. Supp.
 9 2d at 110.      Because his expectations were reasonable, he Di ic Co             fo he Di ic
10 of Col mbia held in ha          i a ion ha [ he official ] private e-mails will remain
11 protected by the attorney-client privilege.      Id. Here, by contrast, Plaintiff had no
12 reasonable expectation that his documents would remain protected. Not only was the
13 Uni e i          polic clea , b    an e pec a ion of confiden iali     a manife l
14 unreasonable following the admonishment by Chapman              President. See Bonker, supra.
15           For the same reason, United States v. Long, 64 M.J. 57 (C.A.A.F. 2006) is
16 inapposite. See Br. at 28 (relying on Long). Applying a clearly erroneous standard, the
17 Court of Appeals for the Armed Forces concluded there that the lower court did not err in
18 finding a      bjec i e e pec a ion of p i ac beca e he agenc [had a] practice of
19 recognizing the privacy interest of users in their e-mail.     Long, 64 M.J. at 63. By
20 contrast, here, as we have highlighted, the University President (in specific reference to

21 Plaintiff and his political work for President Trump) emphasized that Plaintiff and other
22 faculty had staff had no privacy interest. This fact is also fatal to Plaintiff     eliance on
23 hi p io p ac ice       iola ing Chapman polic . See Br. 29-30.
24           Likewise, Plaintiff      gge ion ha hi      na ho i ed     e of Chapman system is
25     i ele an beca e [ ]he p i ilege i held b          he clien , B . 30, make li le legal
26 difference. As the Ninth Circuit has ecogni ed, [ ]here are several instances in which
27 an attorney s behavior may waive the privilege, even without an explicit act by the
28 client.     In re Pac. Pictures Corp., 679 F.3d at 1130. Plaintiff    deci ion o con in e

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 1 using a server and email account in an unauthorized way after being specifically
 2 admonished by the University President against doing so is precisely such an instance

 3 where, as the attorney, Plain iff      actions defeated application of the privilege.
 4          C.    President Trump Waived Privilege By Expressly Asking for Disclosure
                  to Third Parties
 5
 6           [A] fundamental prerequisite to assertion of the privilege i       confidentiality both
 7 at the time of the communication and maintained since.            Coastal States Gas Corp. v.
 8 Dep t of Energy, 617 F.2d 854, 863 (D.C. Cir. 1980).          Voluntary disclosure of
 9 privileged communications constitutes waiver of the privilege for all other
10 communications on the same subject.          Richey, 632 F.3d at 566 (citation omitted); see
11 also United States v. Sanmina Corp., 968 F.3d 1107, 1116 (9th Cir. 2020).
12          Plaintiff ha   a ed p blicl    ha P e iden T mp a ho i ed Plain iff di c           ion
13 of advice relating to the election and the events leading up to January 6. Two
14 memoranda that Plaintiff wrote outlining how former Vice President Pence could

15 overturn the results of the Presidential election are already in the public domain and have
                                                           62
16 been provided to the media, and discussed, by Plaintiff.
17          Plaintiff discussed the advice in his legal memo at length on a podcast, noting that
18 Plaintiff himself provided the memorandum to author Bob Woodward, and saying at the
19 outset that Mr. Trump had a ho i ed him               o alk abo    he e hing . 63 Plaintiff has
20 also made extensive public remarks regarding the events of January 6 and his advice to
                                               64
21 President Trump on numerous other occasions. The e [ ]oluntary
22    READ T
      62
                    a e         e        -step plan for Pence to overturn the election, CNN
23 (Sept. 21, 2021), https://perma.cc/LP48-JRAF; Jan. 3 Memo on Jan. 6 Scenario, CNN,
   https://perma.cc/B8XQ-4T3Z (provided by John Eastman to CNN per CNN reporting,
24
   see Jeremy Herb (@jeremyherb), Twitter (Sept. 21, 2021, 5:46 PM),
25 https://perma.cc/GX4R-MK9B.
   63
      Another Way: Discussing the John Eastman Memo with Eastman, Equal Citizens
26
   (Sept. 27, 2021), https://perma.cc/A2RZ-MFWP.
27    64
     See, e.g., M. Schmidt , The Lawyer Behind the Memo on How Trump Could Stay in
28 Office, N.Y. Times (Oct. 2, 2021),https://perma.cc/9BQQ-5Y39; John McCormack, John

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 1 disclosure[s] . . . constitute[] waiver of the privilege for all other communications on the
 2 same subject of he e en             o nding he Jan a     6, 2021 join e ion of Cong e .
 3 United States v. Richey, 632 F.3d at 566.
 4            Plain iff a e    ha [ ]he statements about President Trump attributed to Dr.
 5 Eastman by the defendants make no reference to privilege, B . 24, b          no he e doe he
 6 cite authority that waiver must make explicit reference to privilege. And, undermining
 7 Plaintiff       ep e en a ion, Plain iff indeed ecogni ed he p i ileged na    e of a o ne -
 8 client relationships. On May 5, 2021, Plaintiff appeared on the Peter Boyles Show and

 9         a ed ha I o ld no mall no alk abo       a p i a e con e a ion I ha e i h a clien ,
10 but I have express authorization from my client, the President of the United States at the
11 time, to describe what occurred       to truthfully describe what occurred in that
12 con e a ion. 65
13            Plaintiff states he n ema kable p opo i ion ha [c]ourts have long recognized
14 that disclosure of privileged information on a particular subject does not necessarily

15 imply a complete waiver of the privilege.       B . 25.66 But no one here has asserted a
16     comple e ai e of he p i ilege. A i         e i fo me P e iden T mp           ai e of he
17 subject matter of issues the events of January 6 and Plaintiff     ad ice abo        he effo   o
18 interfere with the counting of the electoral votes on January 6 in violation of the Electoral
19 Count Act.
20            Plain iff in i   ha hi   a emen doe no       ai e p i ilege beca e hi       statements
21 in the very same interview that the conversation in question occurred in the presence of
22
   Eastman vs. the Eastman Memo, Na l Re . (Oc . 22, 2021), https://perma.cc/VD6N-
23 R9Q9; John C. Eastman, J     Ea a : He e        e Ad ce I Ac a Ga e V ce
   President Pence on the 2020 Election, Sacramento Bee (Oct. 7, 2021),
24
   https://www.sacbee.com/opinion/op-ed/ai1icle2548 l 2552.html.
25    65
     Peter Boyles Show: Peter Boyles May 5 8am, 710KNUS News/Talk (May 5, 2021),
26 https://perma.cc/Q6YE-KD5F.
      66
27   Plaintiff relies on Weil, 647 F.2d at 25, which is inapposite. Whereas Weil involved a
   compan inadvertent disclosure, Plaintiff disclosure was both intentional and
28 repeated.

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 1 three non-clients in addition to the President.     B . 24. Wai e , ho e e , doe no a ach
 2    o indi id al con e a ion ; in ead, i applie o all other communications on the
 3 same subject.     Richey, 632 F.3d at 566 (emphasis added and citation omitted). President
 4 Trump       presumably for strategic and political gain    approved of Plaintiff    p blic
 5 disclosures of his advice on the subject of the effort to interfere with the counting of the
 6 electoral votes on January 6 in violation of the Electoral Count Act. He cannot now
 7 come back and eclaim p i ilege o e comm nica ion              on he ame      bjec . Richey,
 8 632 F.3d at 566. Neither former President Trump nor Plaintiff can use attorney-client

 9 p i ilege both as a sword and a shield.      Chevron Corp. v. Pennzoil Co., 974 F.2d 1156,
10 1162 (9th Cir. 1992) (citation omitted); I    e Ec S a C           c    C     ., 448 F.3d 1294,
11 1301-02 (Fed. Cir. 2006).
12 II.      The Documents Sought from Chapman Are Not Protected by the Common
            Law Attorney Work-Product Doctrine
13
14           The work-product doctrine is a qualified privilege that protects from discovery
15 documents and tangible things prepared by a party or his representative in anticipation of
16 li iga ion.   Sanmina Corp., 968 F.3d at 1119 (internal quotation marks and citation
17 omitted). To qualify for work-product protection, documents must: (1) be prepared in
18 anticipation of litigation or for trial and (2) be prepared by or for another party or by or
19 for that other party     ep e en a i e. Richey, 632 F.3d at 567 (internal quotation marks
20 and citation omitted).

21           The party claiming work product immunity has the burden of proving the
22 applicability of the doctrine.   Verizon California Inc. v. Ronald A. Katz Tech. Licensing,
23 L.P., 266 F. Supp. 2d 1144, 1147 (C.D. Cal. 2003) (citations omitted). The work product
24 doctrine doe no p o ec again        di clo   e if he pa      eeking he di co e       has
25 substantial need for the materials to prepare its case and cannot, without undue hardship,
26 obtain their substantial equivalent by other means.       Fed. R. Civ. P. 26(b)(3)(ii). Plaintiff
27 fails both steps of the test. First, he fails to satisfy his burden to invoke the work product
28 doctrine because he cannot show that the disputed materials were prepared in anticipation

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 1 of litigation (as opposed to political purposes). Second, Plaintiff fails to undercut the
 2 Selec Commi ee              b an ial need fo he doc men .
 3             A.    Plaintiff Failed To Meet His Burden To Invoke The Work Product
                     Doctrine
 4
 5             Plaintiff has failed to meet his burden to establish that these materials were
 6 prepared in anticipation of litigation, as opposed to primarily for another purpose.
 7 Numerous documents make no reference to any pending litigation and or anticipated
                                                      67
 8 litigation for which these materials were prepared. Indeed, Plain iff empha i ed [ ]he

 9 main thing here is that Pence should do this without asking for permission            either from a
                                                68
10 vote of the joint session or from the Court.    (emphasis added).
11             Even if litigation was of some concern, Plaintiff does not prove that these materials
12         e e c ea ed beca e of     he p o pec of li iga ion   Plaintiff does not and cannot
13 establish that these documents          o ld no ha e been c ea ed in      b an iall    imila fo m
14 but for the prospect of . . . li iga ion.    Am. C.L. Union of N. California v. United States
15 Dep t of Just., 880 F.3d 473, 485-86 (9th Cir. 2018); United States v. Richey, 632 F.3d
16 559, 568 (9th Cir. 2011). Congressional Defendants believe that many (if not the vast
17 majority) of the communications at issue involved efforts to interfere with the counting
18 of the electoral votes on January 6 in violation of the Electoral Count Act. See 20-24,
19
20    67
     See 004494; 004496; 004547; 004553; 004707; 004708; 004713; 004720; 004721;
21 004722; 004723; 004744; 004745; 004766; 004767; 004788; 004789; 004790; 004791;
   004792; 004793; 004794; 004827; 004828; 004833; 004834; 004835; 004839; 004841;
22 004963; 004964; 004976; 004977; 004979; 004990; 004992; 005011; 005012; 005014;
23 005017; 005018; 005023; 005024; 005045; 005046; 005061; 005064; 005066; 005067;
   005068; 005091; 005094; 005096; 005097; 005101; 005113; 005114; 005130; 005131;
24 005134; 005135; 005154; 005155; 005156; 005157; 005158; 005159; 005160; 005161;
25 005248; 005249; 005251; 005252; 005261; 005268; 005283; 005299; 005300; 005329;
   005338; 005412; 005423; 005424; 005433; 005484; 005488; 005489; 005490; 005491;
26 005492; 005498; 005510; 005515; 005519; 005547; 005551; 005578; 005667; 005668;
27 005672; 005676; 005677; 005678; 005680; 005704; 005874; 005876; 006023; 006024;
   006028; 006032; 006035; 006039; 006041; 006591; 006592; 006601.
28    68
           See supra n.27.
                                                     32
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 1 supra. There is no reason to believe that such communications would not have been
 2     c ea ed in    b an iall   imila fo m ab en he po ibili          ha li iga ion o ld
 3 somehow ensue. Plaintiff          epea ed and n ppo ed assertions that the documents were
 4 p epa ed in an icipa ion of li iga ion do no make i          o.
 5            Furthermore, it would pervert the purpose of the work-product doctrine to allow
 6 Plaintiff to claim protection for his advice aimed at       to put it bluntly   overturning a
 7 democratic election. Because the purpose of the work-product doctrine i             o p o ec he
 8 integrity of the adversary process[,] ... it would be improper to allow an attorney to

 9 e ploi he p i ilege fo end          ha a e an i he ical o ha p oce . United States v.
10 Christensen, 828 F.3d 970, 1010 (9th Cir. 2015) (quoting Parrott v. Wilson, 707 F.2d
11 1262, 1271 (11th Cir. 1983)); see also 38-53, infra (discussing the crime-fraud
12 doctrine). Conduct that is me el          ne hical, a oppo ed o illegal i       enough to vitiate
13     he o k p od c doc ine he e. Id. As noted above, see n.8 supra, Plaintiff is currently
14 the subject of a California State Bar ethics investigation.

15            Second, Plaintiff fails to establish that all the documents over which he asserts
16 work-product protection         e e prepared by or for another party or by or for that other
17 party        ep e en a i e. Richey, 632 F.3d at 567. In numerous documents, Plaintiff has
18 asserted privileges over communications with like-minded la            e , p ndi , and     chola
19 ad i o         ha p po edl con ain o k p od c p epa ed on behalf of P e iden T mp.
      69
20         Plain iff o e each he e i      ofold. First, the paltry descriptions in his privilege
21 claims can scarcely support a claim that his own communications were work product for
22
    See 004494; 004496; 004547; 004707; 004722; 004723; 004744; 004745; 004766;
      69

23
   004767; 004788; 004789; 004790; 004791; 004792; 004793; 004794; 004833; 004834;
24 004835; 004839; 004841; 004963; 004964; 004976; 004977; 004979; 004990; 004992;
   005011; 005012; 005014; 005023; 005024; 005061; 005130; 005131; 005134; 005135;
25
   005248; 005249; 005251; 005252; 005261; 005268; 005283; 005299; 005300; 005329;
26 005338; 005423; 005424; 005433; 005484; 005488; 005489; 005490; 005491; 005492;
   005498; 005510; 005515; 005519; 005547; 005551; 005578; 005668; 005672; 005676;
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   005677; 005678; 005680; 005874; 005876; 006023; 006024; 006028; 006032; 006035;
28 006039; 006041; 006591; 006592; 006601.

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 1 a client, rather than mere discussions about the election with like-minded correspondents.
 2 See, e.g., 023956 (de c ibing a comm nica ion       e legal pe pec i e on he elec ion and
 3 po ible li iga ion ). Second, Plain iff    co e ponden      hem el e a e of en no
 4 lawyers, e.g., 005338; even when they are      and even when they are lawyers working on
 5 election-related matters    he has not met his burden to demonstrate that they were
 6 generating work product on behalf of President Trump. Indeed, Plaintiff has presented
 7 no evidence that he had an agent relationship with any of these people, despite this
 8 Co        o de in     c ing Plain iff o file with the Court and the Select Committee
 9 evidence of all attorney-client and agent relationships asserted in the privilege log.
10 Order, ECF No. 104. ¶ 2. In his declaration (Ex. 1 Eastman Decl. ¶ 29), he claims to
11 have comm nica ed e en i el         ih    a i ical and o he e pe , but makes no
12 attempt to show that these people    or any of the others on his logs   had agent or
13 attorney-client relationships. Plaintiff cannot retrospectively designate communications
14 with ideological or political confreres as deserving work-product protection absent

15 establishing that those people were representatives of his client.
16          Finally, Plaintiff waived any claim to work product protection when he shared
17    he e ma e ial    i h po en ial ad e a ie . Sanmina, 968 F.3d at 1121. See, e.g.,
18 004494 (journalists); 005489 ( ad i o [ ] ); 005283 ( chola ad i o         ); 024795
19 ( legi la i e allie ). Not only is Plaintiff   di clo   e inconsistent with the
20 maintenance of secrecy, id., Plaintiff acted with complete disregard of the maintenance

21 of secrecy against someone with interests that were potentially adverse to his or those of
22 his client, especially Congress. See United States v. Caldwell, 7 F.4th 191, 207 (4th Cir.
23 2021) ( [W]hen an a o ne f eel and ol n a il di clo e          he con en of o he         ie
24 protected work product to someone with interests adverse to his or those of the client,
25
26
27
28

                                                  34
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 1 . . . he may be deemed to have waived       o k p od c p o ec ion. ) (quoting In re Doe, 662
 2 F.2d 1073, 1081 (4th Cir. 1981)).70

 3          For example, in 004494-95 and 004496-538, Plain iff li      a   W/P an email
 4 exchange with                                                    . Plaintiff cannot claim
 5 work product protection over an email with a journalist, who could well have published
 6 the exchange.71 Plaintiff
 7          voluntary disclosure of his alleged work product to present or potential
            adversaries, in this instance, constituted a waiver of the work product
 8          privilege. It was [Plaintiff ] self-interested decision to disclose information
 9          to [the Vice President, his staff, and state officials] so as to [facilitate
            reversal of the election result]. Yet, [Plaintiff] now seeks work product
10          protection for those same disclosures and documents against different
11          adversaries in suits revolving around the same matters disclosed[.]

12
      Loustalet v. Refco, Inc., 154 F.R.D. 243, 248 (C.D. Cal. 1993). The work-product

13
      doctrine does not stretch that far.

14
            F    he , he he Plain iff in ended hat e l o no ,         o k-product protection

15
      should cease here because fairness requires it. Sanmina, 968 F.3d at 1122. When

16
      a e ing he fai ne      p inciple nde l ing ai e , he o e iding conce n in he o k-

17
      product context is not the confidentiality of a communication, but the protection of the

18
      70
     To the extent the work product doctrine can apply to legislative subpoenas, the term
19  po en ial ad e a ie ho ld be ead b oadl . Plaintiff cannot have it both ways: He
20 cannot apply a litigation privilege to a legislative subpoena but at the same time restrict
   waiver of that privilege to litigation adversaries.
21
      71
     See Flaherty v. Seroussi, 209 F.R.D. 300, 307 (N.D.N.Y. 2002) ( di emina ion of
22 materials prepared by plaintiff   co n el o he media i concep all incon i en i h
23 his claim that those documents provide an indication of his closely guarded trial strategy,
   and ho ld he efo e be hielded f om di clo e ); Anderson v. SeaWorld Parks & Ent.,
24 Inc., 329 F.R.D. 628, 637 (N.D. Cal. 2019) ( Wo k p od c p o ec ion doe no a ach o
25 an a o ne       o k di ec ing a p blic ela ion campaign, nor is there any expectation of
   confidentiality where [attorney] directed the consultants to share the list with a
26 jo nali . ); Montesa v. Schwartz, No. 12CIV6057, 2016 WL 3476431, at *9 (S.D.N.Y.
27 J ne 20, 2016) ( Plain iff canno a g e ha heir adversaries in this litigation were not
   substantially more likely to obtain this information by virtue of its disclosure to a
28 journalist, who very well could have published this entire e-mail exchange. )

                                                  35
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 1 ad e a           p oce . Id. at 1124. Here, Plaintiff     elec i e di clo    e of info ma ion he
 2 now contends is work product weighs heavily against applying the protection.72 Plaintiff

 3     canno be allo ed, af e di clo ing a m ch a he plea e , o i hhold he emainde .
 4 Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 24 (9th Cir. 1981).
 5              [U]nder the totality of the circumstances, [Plaintiff] acted in such a way that is
 6 inconsistent with the maintenance of secrecy against the Select Committee regarding the
 7 contested documents. Sanmina, 968 F.3d at 1124.
 8             B.     The Select Committee Has A Substantial Need For The Documents And
                      Cannot Obtain The Substantial Equivalent Of The Documents Without
 9
                      Undue Hardship
10
               Even had Plaintiff sufficiently invoked the work product doctrine, the Select
11
      Committee has a substantial need for the documents and cannot, without undue hardship,
12
      obtain their substantial equivalent by other means. See Admiral Ins. Co. v. U.S. Dist.
13
      Court for Dist. of Arizona, 881 F.2d 1486, 1494 (9th Ci . 1989) (        o k-product materials
14
      nonetheless may be ordered produced upon an ad e e pa              demon a ion of
15
           b an ial need o inabili    o ob ain he e i alen      i ho    nd e ha d hip ). The
16
      undue hardship prong examines the burden obtaining the information from an alternate
17
      source would impose on the party requesting discovery. Fletcher v. Union Pac. R.R.
18
      Co., 194 F.R.D. 666, 671 (S.D. Cal. 2000).
19
               Here, the Select Committee has already sought the materials from an alternate
20
      source: Chapman University. This case involves Plaintiff         a emp o impede he Selec
21
      Committee from obtaining the documents from that alternate source. Even if some third
22
      source were available for the requested documents, Plaintiff would likely attempt to
23
      prevent disclosure in that circumstance as well. Because the disputed documents are
24
      pi o al o he Selec Commi ee in e iga ion and i              o ld be nearly impossible to
25
      access these communications otherwise, the work product doctrine does not apply. See
26
      72
27  It also indicates that these documents were created for political or strategic
   p po e and no beca e of an icipa ed li iga ion. Am. C.L. Union of N.
28 California, 880 F.3d at 485-86.

                                                     36
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 1 U.S. v. McGraw-Hill Companies, Inc., 2014 WL 8662657, at *6-7 (C.D. Cal.) (party
 2 established entitlement to opinion work product by showing (1) it would be nearly

 3 impossible to get these communications otherwise; (2) the work product was pertinent to
 4    he pa         mo    alien defen e ; and (3) the attorney s mental impressions were a
 5 pivotal issue).
 6            Plaintiff was a central figure in the effort to encourage the former Vice President
 7 to reject the electors from several states and in the strategy to facilitate different slates of
 8 electors. He may also have played other important roles in the events under

 9 investigation. Plaintiff          a eg , men al imp e ion and opinion conce ning these
10 efforts a e di ec l a i        e in he Selec Commi ee in e iga ion. Reavis v. Metro.
11 Prop. & Liab. Ins. Co., 117 F.R.D. 160, 164 (S.D. Cal. 1987). The Select Committee,
12 therefore, has a substantial need for these materials.73
13            Plaintiff claims ha Cong e ional Defendan ha e offered no argument or
14 evidence of the Select Commi ee          need fo an of he e pa ic la doc men in p                i
15 of any valid legislative purpose, much lass [sic] a need that would qualify as substantial
16 or compelling in support of a legislative purpose.       Br. 16. Congressional Defendants
17 cannot specifically address documents they have not seen, many of which are scantly
18 described in the privilege logs. See, e.g., 004707 ( [c]omm         i h co-co n el ); 004494
19 ( [c]omm e         a i ical e idence ); 004708 ( [c]omm i h co-counsel re legal advice );
20 004720 ( comm with co-counsel re legal strategy ); 005874 ( comm e fac

21 info ma ion ); 004964 ( [a]ttachment ). B          a hi Co       ha no ed, Plain iff    actions
22 clearly fall within the bounds of an investigation into the influencing factors that
23 fomented such an attack on American representative democracy,            ECF No. 43 at 9 (Jan.
24
      73
25   Plaintiff p i ilege log doe li le o e eal he he he ma e ial he eek o ithhold
   are ordinary work product or opinion work product. The Select Committee, however,
26 mee ei he e : I ha bo h a         b an ial need and a compelling need fo he
27 materials sought. Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 577 (9th
   Ci . 1992) ( opinion o k p od c ma be di co e ed and admi ed hen men al
28 imp e ion a e a i e in a ca e and he need fo he ma e ial i compelling ).

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 1 25, 2022) (quoting H.R. Res. 503 § 3(1)) and there are numerous plausible legislative
 2 measures ha co ld ela e o D . Ea man           comm nica ion , id. at 10. The pressing
 3 need to complete a full investigation into an unprecedented attack on American
 4 democracy by reviewing documents involving a key participant is both substantial and
 5 compelling.74
 6 III.     The Court Should Review the Documents In Camera Under the Crime Fraud
            Exception
 7
 8
            Comm nica ion in hich a clien con l s an attorney for advice that will serve
 9
      him in he commi ion of a f a d o c ime a e no p i ileged f om di clo         e. In re
10
      Grand Jury Investigation, 810 F.3d 1110, 1113 (9th Cir. 2016) (internal quotations
11
      omitted). This exception to the attorney-client privilege applies where (1) he clien    a
12
      engaged in or planning a criminal or fraudulent scheme when it sought the advice of
13
      co n el o f    he he cheme, and (2) the attorney-client communications for which
14
      p od c ion i   o gh a e     fficien l   ela ed o and e e made in f      he ance of [ he]
15
      in ended, o p e en , con in ing illegali . Id. at 381-83 (internal quotation marks
16
      omitted).
17
            It bears emphasizing that thi i     e e en if he a o ne i     na a e ha hi
18
      advice may further an illegal p po e. United States v. Laurins, 857 F.2d 529, 540 (9th
19
      Cir. 1988), cert. denied, 492 U.S. 906 (1989). And it is likewise true where the crime or
20

21    74
      Congress has consistently taken the view that its investigative committees are not
22 bound by judicial common law privileges such as the attorney-client privilege or the
   work product doctrine. See generally, Congressional Research Service, Congressional
23
   Oversight Manual 61-62 (March 21, 2021). Thi a pec of Cong e              in e iga i e
24 autho i i oo ed in he epa a ion of po e inhe en in he Con i ion
   structure. Id. Congress and its committees make decisions regarding such common law
25
   privileges by balancing the important institutional, constitutional, and individual interests
26 at stake on a case-by-case basis. Here, Congressional Defendants have determined,
   consistent with their prerogatives, not to submit an argument on this point. This is not,
27
   however, intended to indicate, in any way, that Congress or its investigative committees
28 will decline to assert this institutional authority in other proceedings.

                                                  38
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 1 fraud is ultimately unsuccessful. In re Grand Jury Proceedings (Corporation), 87 F.3d
 2 377, 382 (9th Cir. 1996).

 3            Critically for this case, an in camera review of the documents is warranted when
 4    he pa        eeking p od c ion ha p o ided a fac al ba i ade a e o       ppo a good
 5 faith belief by a reasonable person that in camera review of the materials may reveal
 6 evidence to establish the claim that the crime-f a d e cep ion applie .     United States v.
 7 Zolin, 491 U.S. 554, 572 (1989) (citation omitted). That standard has plainly been met
 8 here. As discussed in the Background section above, evidence and information available

 9 to the Committee establishes a good-faith belief that Mr. Trump and others may have
10 engaged in c iminal and/o f a d len ac , and ha Plain iff          legal a i ance a      ed
11 in furtherance of those activities. Accordingly, this Court should conduct an in camera
12 review of the documents to determine whether the crime-fraud exception applies.
13
              A.     Obstruction of an Official Proceeding
14
              The evidence detailed above provides, at minimum, a good-faith basis for
15
      concluding that President Trump has violated section 18 U.S.C. § 1512(c)(2). The
16
      elements of the offense under 1512(c)(2) are: (1) the defendant obstructed, influenced or
17
      impeded, or attempted to obstruct, influence or impede, (2) an official proceeding of the
18
      United States, and (3) that the defendant did so corruptly. Id. (emphasis added). To date,
19
      six judges from the United States District Court for the District of Columbia have
20
      addressed the applicability of section 1512(c) to defendants criminally charged in
21
      connection with the January 6th attack on the Capitol. Each has concluded that
22
      Cong e       s proceeding to count the electoral votes on January 6th a an official
23
      p oceeding fo p poses of this section, and each has refused to dismiss charges against
24
      defendants under that section.75
25
26  United States v. DeCarlo, No. 21-73, (D.D.C.) Minute Entry (Jan. 21, 2022) (rejecting
      75

   mo ion o di mi fo he ea on a ed on he eco d, af e deciding o le o ally
27  a he han adding a i h i en opinion o ho e al ead e cellen opinion            i en b
28 m colleag e ); United States v. Nordean, No. 21-175, (D.D.C.) Mem. Op., at 9-12

                                                   39
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 1            Section 1512(c) requires a nexus between the obst c i e cond c and a              pecific
 2 official p oceeding      ha       a ei he    pending o         a ea onably fo e eeable[.] United
 3 States v. Lonich, 2022 U.S. App. LEXIS 623*, at *49-*50 (9th Cir. 2022). The statutory
 4 defini ion of official p oceeding incl de p oceedings of various kinds, one of which
 5 (a no ed abo e) i       a p oceeding befo e he Cong e [.] 18 U.S.C. § 1515(a)(1)(B).
 6 Al ho gh he Nin h Ci c i ha no defined co                      pl , a     ed in Sec ion 1512(c), i ha
 7 held that the mens rea component of Section 1512(c) is, if anything, more than satisfied
 8     impl b p o ing ha a pe on ac ed i h con cio ne                       of   ongdoing. Lonich,
 9 2022 U.S. App. LEXIS 623*, at *52-*53; see also United States v. Watters 717 F.3d 733,
10 735 (9 h Ci . 2013) ( pholding di           ic co         j    in   c ion ). Sec ion 1512(c) doe
11 no     e i e p oof ha he acc ed ac ed               i h an e il o       icked p po e. Id. at 735-36
12 (distinguishing Arthur Andersen LLP v. United States, 544 U.S. 696 (2005)).
13            Congressional proceedings to count electoral votes are governed by the Twelfth
14 Amendment to the U.S. Constitution and by the Electoral Count Act. The Twelfth

15 Amendment requires presidential electors to meet in their respective States and certify
16    hei S a e votes for President and Vice President. U.S. Const., amend. XII. The
17 T elf h Amendmen              e    ega ding he co n ing of votes is clear and unequivocal in
18    hi con e : The P e iden of he Sena e hall, in he p e ence of he Sena e and Ho e
19 of Representatives, open all the certificates and the votes shall then be counted; The
20 pe on ha ing he g ea e            N mbe of o e fo P e iden , hall be he P e iden . Id.
21 Although some have theorized that there may be ambiguity about which slate to count if
22 a     ae     bmi      o la e officiall ce ified b             he a e Go e no , no      ch ambig i
23 was present on January 6, 2021. Each state submitted only one officially-certified
24
25 (Dec. 28, 2021) (ECF No. 263); United States v. Montgomery, No. 21-46 (D.D.C.), Mem.
26 Op. and Order, at 8-21 (Dec. 28, 2021) (ECF No. 87); United States v. Mostofsky, No.
      21-138 (D.D.C.), Mem. Op., at 21-24 (Dec. 21, 2021) (ECF No. 88); United States v.
27 Caldwell, No. 21-28 (D.D.C.) Mem. Op. and Order, at 8-16 (Dec. 20, 2021) (ECF No.
28 558); United States v. Sandlin, No. 21-88, (D.D.C.) Mem. Op., at 5-9 (Dec. 10, 2021)
      (ECF No. 63).)
                                                        40
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 1 electoral slate. Also, the specific text of the Twelfth Amendment makes clear that the
 2 presiding officer cannot delay the count in this context, by instructing that the presiding

 3 office     hall open all he ce ifica e and he o e       hall hen be co n ed . . . I i no
 4 permissible to wait 10 days or any other extended period before counting certified
 5 electoral votes.
 6          The Electoral Count Act of 1887 provides for objections by House and Senate
 7 members, and a process to resolve such objections through votes in each separate
 8 chamber. 3 U.S.C. §§ 5, 6, 15. Nothing in the Twelfth Amendment or the Electoral

 9 Count Act provides a basis for the presiding officer of the Senate to unilaterally refuse to
10 count electoral votes    for any reason. Any such effort by the presiding officer would
11 violate the law. This is exactly what the Vice P e iden       co n el e plained a leng h o
12 Plaintiff and President Trump before January 6.76 Plaintiff acknowledged that the
13 Supreme Court would reject such an effort 9-0.77 And the Vice President made this
14 crystal clear in writing on January 6: any attempt by the Vice President to take the course

15 of action the President insisted he take would have been illegal.78
16          Ne e hele , p      an o Plain iff plan, he P e iden epeatedly asked the Vice
17 President to exercise unilateral authority illegally, as presiding officer of the Joint
18 Session of Congress, to refuse to count electoral votes. See supra at 11-13. In service of
19 this effort, he and Plaintiff met with the Vice President and his staff several times to
20 advocate that he unilaterally reject and refuse to count or prevent the counting of certified

21
22
    See, e.g., Ex. F, Jacob Tr. 82, 96-97, 107-10 ( [Plaintiff] had acknowledged that he
      76

23 would lose 9-0 at the S p eme Co      . ); Ex. N, Email Exchange Between John Eastman
24 and Gregory Jacob ( Respectfully, it was gravely, gravely irresponsible for you to entice
   the President with an academic theory that had no legal viability, and that you well know
25 we would lose befo e an j dge ho hea d and decided he ca e. ).
   77
26 78 Ex. N, Email Exchange Between John Eastman and Gregory Jacob.
      Public Letter from Michael R. Pence to Congress (Jan. 6, 2021),
27 https://int.nyt.com/data/documenttools/pence-letter-on-vp-and-counting-electoral-
28 votes/9d6f117b6b98d66f/full.pdf. See also Ex. N. Ex. N, Email Exchange Between John
   Eastman and Gregory Jacob.
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 1 electoral votes, and both also engaged in a public campaign to pressure the Vice
 2 President. See supra at 3-17.

 3          The President and Plaintiff also took steps to alter the certification of electors from
 4 various States. See supra at 18. For example, the President called and met with state
 5 officials, met numerous times with officials in the Department of Justice, tweeted and
 6 spoke about these issues publicly, and engaged in a personal campaign to persuade the
 7 public that the election had been tainted by widespread fraud.
 8          As indicated, there can be no legitimate question that the Joint Session of Congress
 9 held on January 6th pursuant to the Twelfth Amendment and the Electoral Count Act
10 con i      e an official p oceeding      nde Sec ion 1512(c).79
11          The evidence supports an inference that President Trump and members of his
12 campaign knew he had not won enough legitimate state electoral votes to be declared the
13 winner of the 2020 Presidential election during the January 6 Joint Session of Congress,
14 but the President nevertheless sought to use the Vice President to manipulate the results

15 in his favor. By December 14, 2020, the Electoral College had voted to send 306
16 certified electoral votes for Biden and 232 certified electoral votes for Trump.80 No state
17 legislature had certified an alternate slate between that time and January 6, 2021.
18 Moreover, no court had endorsed the Trump campaign            n me o     a emp     o challenge
19 state election results in the wake of the election.81 Thus, even if the Vice President had
20 authority to reject certified electoral certificates (and he did not), there was no valid

21 lawful basis to do so. See supra at 3-17.
22
      79
23    See supra at 40 n.75 (citing cases).
      80
24    M. Sherman, Electoral College makes it official: Biden won, Trump lost, Associated
   Press (Dec. 14, 2020), https://apnews.com/article/joe-biden-270-electoral-college-vote-
25 d429ef97af2bf574d16463384dc7cc1e.
   81
26    See supra at 3-5. In the single case the President won, his campaign challenged a state-
   ordered deadline extension in Pennsylvania for the submission of personal identification
27 for mailed ballots, affecting a small number of votes. See Order, Trump v. Boockvar, No.
28 602 M.D. 2020 (Pa. Commonwealth Ct. Nov. 12, 2020),
   https://www.pacourts.us/Storage/media/pdfs/20210604/020642-file-10440.pdf.
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 1             Nevertheless, as shown above (see supra at 11-13), the President and Plaintiff
 2 engaged in an extensive public and private campaign to convince the Vice President to

 3 reject certain Biden electors or delay the proceedings, without basis, so that the President
 4 and his associates would have additional time to manipulate the results. Had this effort
 5 succeeded, the electoral count would have been obstructed, impeded, influenced, and (at
 6 the very least) delayed, all without any genuine legal justification and based on the false
 7 pretense that the election had been stolen. There is no genuine question that the President
 8 and Plaintiff attempted to accomplish this specific illegal result.

 9             The evidence is also more than sufficient to establish a good faith belief that
10 Plain iff        ad ice a       ed o f   he he e ends. Plaintiff was the architect of the
11 strategies proposed to the Vice President both directly and through his staff. His memos
12 provided the basis for arguments made to the Vice President by both the President and
13 Plaintiff himself. Plaintiff was likewise personally involved in persuading state
14 legislators that they had authority to reject the election results and submit alternate slates

15 of electors to Congress.82 And he was even involved in the effort to spread false
16 allegations of election fraud to the public.83
17
               B.    Conspiracy to Defraud the United States
18
               The Select Committee also has a good-faith basis for concluding that the President
19
      and members of his Campaign engaged in a criminal conspiracy to defraud the United
20
      States in violation of 18 U.S.C. § 371.
21
               An indi id al def a d        he go e nmen fo p po e of Sec ion 371 if he
22
       in e fe e[ ] i h o ob         c [ ] one of i la f l go e nmental functions by deceit, craft
23
      o     icke , o a lea b mean ha a e di hone . Hammerschmidt v. United States,
24
      265 U.S. 182, 188 (1924). The conspiracy need not aim to deprive the government of
25
      property. See Haas v. Henkel, 216 U.S. 462, 479 (1910). It need not involve any
26
      detrimental reliance by the government. See Dennis v. United States, 384 U.S. 855, 861-
27
      82
28         See supra at 8, 11.
      83
           See supra at 13 n.40.
                                                      43
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 1 62 (1966). And [n]ei he he con pi ac             goal no he mean        ed o achie e i need o
 2 be independen l illegal.       United States v. Boone, 951 F.2d 1526, 1559 (9th Cir.1991).
 3            To e abli h a iola ion Sec ion 371      def a d cla e, he go e nmen need onl
 4     ho      ha (1) the defendant entered into an agreement (2) to obstruct a lawful function
 5 of the government (3) by deceitful or dishonest means, and (4) that a member of the
 6 conspiracy engaged in at least one overt act in furtherance of the conspiracy. United
 7 States v. Meredith, 685 F.3d 814, 822 (9th Cir. 2012) (citation omitted). The
 8     ag eemen need no be e p e          and can be infe ed f om he con pi a o        cond c in
 9 furtherance of their common objectives. Ianelli v. United States, 420 U.S. 770, 777 &
10 n.10 (1975); see also United States v. Renzi, 769 F.3d 731 (9th Cir. 2014).
11             This is a very broad provision, which subjects a wide range of activity to
12 po en ial c iminal penal ie .       United States v. Caldwell, 989 F.2d 1056, 1059 (9th Cir.
13 1993), partially overruled on unrelated grounds as recognized by United States v. Conti,
14 804 F.3d 977, 980 (9th Cir. 2015).

15            The evidence supports an inference that President Trump, Plaintiff, and several
16 others entered into an agreement to defraud the United States by interfering with the
17 election certification process, disseminating false information about election fraud, and
18 pressuring state officials to alter state election results and federal officials to assist in that
19 effort. As noted above, in particular, the President and Plaintiff worked jointly to attempt
20 to persuade the Vice President to use his position on January 6, 2021, to reject certified

21 electoral slates submitted by certain States and/or to delay the proceedings by sending the
22 count back to the States. See supra at 11-13. Plain iff fi       c af ed a plan o j       if   hi
23 course of action.84 Plaintiff and the President then met and spoke with the Vice President
24    84
           READ Trump lawyer       e           -step plan for Pence to overturn the election, CNN
25 (Sept. 21, 2021),https://www.cnn.com/2021/09/21/politics/read-eastman-
26 memo/index.html; Jan. 3 Memo on Jan. 6 Scenario, CNN,
      http://cdn.cnn.com/cnn/2021/images/09/21/privileged.and.confidential.--
27 .jan.3.memo.on.jan.6.scenario.pdf (provided by John Eastman to CNN per CNN
28 reporting, see Tweet by @jeremyherb, Sept. 21, 2021 at 5:46PM,
      https://twitter.com/jeremyherb/status/1440432387263922185).
                                                    44
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 1 and members of his staff on several occasions on January 4-6 in an attempt to execute
 2 Plaintiff       plan.85 Plaintiff continued these efforts to persuade the Vice President via
 3 ongoing conversations with the Vice P e iden               aff, and he P e iden emplo ed
 4 numerous public statements to exert additional pressure on Pence.86 The evidence
 5 developed to date indicates that these actions were all part of a concerted effort to
 6 achieve a common goal: to prevent or delay the certification of the 2020 presidential
 7 election results.
 8             In addition to the legal effort to delay the certification, there is also evidence that
 9 the conspiracy extended to the rioters engaged in acts of violence at the Capitol. In a
10 civil case filed against the President and others by several members of Congress, Judge
11 Amit Mehta in the District of Columbia specifically found that it was plausible to believe
12    ha he P e iden en e ed in o a con pi ac            i h he io e on Jan a       6, 2021, o
13 disrupt the Certification of the Electoral College vote through force, intimidation, or
14    h ea . Thompson v. Trump, No. 21-cv-00400 (APM), --- F.3d ---, 2022 WL 503384, at
15 *33. (D.D.C. Feb. 18, 2022). J dge Meh a             opinion demon a e he b ead h of
16 conspiratorial conduct and further supports the existence of common law fraud.
17             As part of the effort described above, the conspirators also obstructed a lawful
18 governmental function by pressuring the Vice President to violate his duty to count the
19 electoral certificates presented from certain States. As an alternative, they urged the Vice
20 President to delay the count to allow state legislatures to convene and select alternate

21 electors. The apparent objective of these efforts was to overturn the results of the 2020
22 presidential election and declare Donald Trump the winner. In this way, the conspiracy
23 aimed to obstruct and interfere with the proper functioning of the United States
24 government.
25             As summarized supra at 11-13, the President and Plaintiff engaged in an extensive
26 campaign to persuade the public, state officials, members of Congress, and Vice
27
      85
28         See supra at 11.
      86
           See supra at 11-13.
                                                       45
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 1 P e iden Pence ha he 2020 elec ion had been nla f ll             olen b Jo eph Biden.
 2 The President continued this effort despite repeated assurances from countless sources

 3 that there was no evidence of widespread election fraud. See supra at 6. On November
 4 12, 2020, CISA i        ed a join   a emen of elec ion ec i    agencie    a ing: The e i no
 5 evidence that any voting system deleted or lost votes, changed votes, or was in any way
                     87
 6 comp omi ed.           At around the same time, researchers working for the P e iden
 7 campaign concluded that several the claims of fraud relating to Dominion voting
 8 machines were false.88

 9          In December, Attorney General Barr publicly announced that there was no
10 widespread election fraud.89 By January 6, more than 60 court cases had rejected legal
11 claims alleging election fraud.90 The Ne      Yo k co     ha     pended Gi liani la
12 license said that certain of hi allega ion lacked a     cin illa of e idence. 91 On multiple
13 occasions, acting Attorney General Rosen and acting Deputy Attorney General
14 Donoghue told the President personally that the Department of Justice and Federal

15
      87
      Department of Homeland Security Cybersecurity and Infrastructure Security Agency,
16
   Joint Statement from Elections Infrastructure Government Coordinating Council & The
17 Election Infrastructure Sector Coordinating Executive Committees (November 12, 2020),
   https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-
18
   government-coordinating-council-election; see also Christopher Krebs, Opinion: Trump
19    ed e       a         ,b I      a   a a : T e e ec       a        ed, WASHINGTON
20
   POST (Dec. 1, 2020), https://www.washingtonpost.com/opinions/christopher-krebs-
   trump-election-wasnt-hacked/2020/12/01/88da94a0-340f-11eb-8d38-
21 6aea1adb3839_story.html.
   88
22
      Read e T        ca a            e a e , N.Y. Times (Sept. 21, 2021),
   https://www.nytimes.com/interactive/2021/09/21/us/trump-campaign-memo.html.
23 89 Michael Balsamo, Disputing Trump, Barr says no widespread election fraud,
24 ASSOCIATED PRESS (December 1, 2020); AG Barr says he won't appoint a special
   counsel to investigate voter fraud, YAHOO NEWS (December 21, 2020).
25 90 William Cummings, Joey Garrison and Jim Sergent, By the numbers: President
26 Donald Trump's failed efforts to overturn the election, USA Today (Jan. 6, 2021),
   https://www.usatoday.com/in-depth/news/politics/elections/2021/01/06/trumps-failed-
27 efforts-overturn-election-numbers/4130307001/.
   91
28    In re Rudolph W. Giuliani, 2021 Slip Op. 04086 (N.Y. 1st Dept. June 24, 2021); see
   also In re Rudolph W. Giuliani, Order, App. D.C., No. 21-BG-423 (July 7, 2021).
                                                  46
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 1 Bureau of Investigations had found no evidence to substantiate claims being raised by the
 2 President.92 Georgia Secretary of State Brad Raffensperger likewise rebutted many of the

 3 P e iden      allega ion of f a d in Geo gia.93 Despite these refutations and the absence of
 4 any evidence to support the allegations he was making, the President and his associates
 5 continued to publicly advance the narrative that the election had been tainted by
 6 widespread fraud.94
 7          As noted above, the President called and met with state officials regarding the
 8 election results, met numerous times with officials in the Department of Justice, tweeted

 9 and spoke about these issues publicly, and engaged in a personal campaign to persuade
10 the Vice President to alter the certification results. See supra at 11-13. For his part,
11 Plaintiff drafted legal memoranda outlining several possible ways to ensure that Donald
12 Trump would be named the winner of the 2020 election, met with the Vice President and
13 his staff to press this plan, and spoke publicly on these issues in advance of the attack on
14 the Capitol. See supra at 12.

15          A review of the documents at issue is likely to reveal that the President engaged
16 Plain iff    co n el in f    he ance of he e con pi a o ial ends.
17
      92
      Senate Judiciary Committee Staff Report, Subverting Justice, How the Former
18
   President and His Allies Pressured DOJ to Overturn the 2020 Election, at 5, 14-16, 19,
19 27-28,
20
   https://www.judiciary.senate.gov/imo/media/doc/Interim%20Staff%20Report%20FINAL
   .pdf; see also Interview of Richard Donoghue (Aug. 6, 2021), United States Senate
21 Committee on the Judiciary, at 59, 156, https://www.judiciary.senate.gov/richard-
22
   donoghue-transcript; Interview of Jeffrey Rosen (Aug. 7, 2021), United States Senate
   Committee on the Judiciary, at 30, https://www.judiciary.senate.gov/rosen-transcript-
23 final;
   93
24    Amy Gardner & Paulina Firozi, Here              e        a c      a da d        e ca be ee
   Trump and Raffensperger, Washington Post (Jan. 5, 2021),
25 https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-
26 vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html.
   94
      See, e.g., Donald Trump Rally Speech Transcript Dalton, Georgia: Senate Runoff
27 Election, The Rev (Jan. 4, 2021), https://www.rev.com/blog/transcripts/donald-trump-rally-
28 speech-transcript-dalton-georgia-senate-runoff-election (reiterating numerous allegations of
   election fraud before crowd in Dalton, Georgia on January 4th).
                                                  47
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 1                C.       Common Law Fraud
 2                There is also evidence to support a good-faith, reasonable belief that in camera
 3 review of the materials may reveal that the President and members of his Campaign
 4 engaged in common law fraud in connection with their efforts to overturn the 2020
 5 election results.
 6                The District of Columbia, where these events occurred, defines common law fraud
 7 as: (1) a false representation; (2) in reference to material fact; (3) made with knowledge
 8 of its falsity; (4) with the intent to deceive; and (5) action is taken in reliance upon the

 9 representation. Atraqchi v. GUMC Unified Billing Servs., 788 A.2d 559, 560 (D.C.
10 2002).95
11                As described above, the evidence shows that the President made numerous false
12 statements regarding election fraud, both personally and through his associates, to the
13 public at-large and to various state and federal officials. See supra at 6-7. These
14 statements referred to material facts regarding the validity of state and federal election

15 results. See supra at 7-8. And the evidence supports a good-faith inference that the
16 President did so with knowledge of the falsity of these statements and an intent to
17 deceive his listeners in hopes they would take steps in reliance thereon.
18                In addition to the numerous refutations of fraud mentioned above, see supra at 7-8,
19 a specific example helps illustrate the point: On December 3, 2020, T mp              Yo T be
20 channel posted an edited video clip, purporting to show Georgia officials pulling

21 suitcases of ballots from under a table after poll workers had left for the day.96 The next
22 morning, a Georgia official responded to the allegation on Twitter, indicating that the
23         ideo        a   a ched in i en i e   (ho   ) b @GaSecofS a e in e iga o      and
24
      95
           The definition of fraudulent deceit under California law largely tracks these elements.
25 See Small v. Fritz Cos., Inc., 65 P.3d 1255, 1258 (Cal. 2003) (requiring 1) a
26 misrepresentation; 2) knowledge of falsity (or scienter); 3) intent to defraud, i.e., to
   induce reliance; 4) justifiable reliance; and 5) resulting damage).
27 96
      Donald J. Trump, Video from GA shows suitcases filled with ballots pulled from under
28 a table AFTER poll workers left, YOUTUBE,
   https://www.youtube.com/watch?v=nVP_60Hm4P8.
                                                        48
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 1     [ ]ho [ed] no mal ballo p oce ing.97 That same day, a local news outlet ran a fact-
 2 checking egmen deb nking he P e iden              claim .98 After the broadcast, the Georgia
 3 official     ee ed: Yo can a ch he @         b        epo    o ho       ha he P e iden       eam i
 4 intentionally misleading the public about what happened at State Farm Arena on election
 5 night. They had the whole video too and ignored the truth. 99
 6           The ne   da , he Geo gia Sec e a   of S a e office elea ed he f ll ideo o
 7 local news outlets, which thoroughly debunked the President              claim .100 On December
 8 6, 2020, the Chief In e iga o in he Geo gia Sec e a               of S a e Office i   ed a     on
 9 decla a ion affi ming ha      he e e e no m           e   ballo    ha    e e b o gh in f om an
10     nkno n loca ion and hidden nde able a ha been epo ed b                   ome and e plaining
11 the context of the video clip.101 The following day, Georgia election officials addressed
12    he i    e e again in a p blic p e   confe ence, a ing ha             ha   o   a , he ec e
13 suitcases with magic ballots, were actually ballots that had been packed into those
14 absentee ballot carriers by the workers in plain view of the monitors and the press. 102

15           Nevertheless, on December 11, 2020, and December 23, 2020, the Trump
16 campaign ran two advertisements on Facebook with the same selectively edited footage
17
      97
      Gabriel Sterling, Twitter (6:41 A.M., Dec. 4, 2020),
18
   https://twitter.com/gabrielsterling/status/1334825233610633217.
19 98 Stephen Fowler, Fac C ec         R d G a         G a d e Ge        a E ec     Fa d
20
   Claim, GPB (Dec. 4, 2020), https://www.gpb.org/news/2020/12/04/fact-checking-rudy-
   giulianis-grandiose-georgia-election-fraud-claim.
21 99 Gabriel Sterling, Twitter (2:58 P.M., Dec. 4, 2020),
   https://twitter.com/gabrielsterling/status/1334950232526884873.
22 100
       Georgia election officials shows frame-by-frame of State Farm Arenda Election Night
23 ideo, WSB-TV (Dec. 5, 2020), available at: https://www.youtube.com/watch?v=h-
24 9jFuieH_U.
   101
       C ec Ja Qa Pearson, et al. v. Brian Kemp, et al., 1:20-cv-4809 (N.D. Ga.) (Docket
25 No. 72-1), available at: https://www.documentcloud.org/documents/20420664-frances-
26 watson-affidavit.
   102
       Transcript, Press Conference: Georgia Election Officials Briefing Transcript
27 December 7: Will Recertify Election Results Today (Dec. 7, 2020), available at:
28 https://www.rev.com/blog/transcripts/georgia-election-officials-briefing-transcript-
   december-7-will-recertify-election-results-today.
                                                    49
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 1 and the ame claim ha he ideo ho ed              i ca e of ballo added in ec e in
 2 Georgia. 103 On December 27 and 31, 2020, Acting Deputy Attorney General Donoghue

 3 again debunked this claim directly to the President.104
 4          Undeterred, the Trump campaign continued to run the ads on Facebook. And the
 5 President continued to rely on this allegation in his efforts to overturn the results of the
 6 election. During a January 2, 2021, telephone conversation with Georgia Secretary of
 7 State Brad Raffensperger, the President suggested that suitcases of illicit ballots
 8 e plained a minim m of 18,000 votes for President Biden, ultimately asking

 9 Raffen pe ge o find 11,780 o e          fo him in Geo gia.105 During this call,
10 Raffensperger explained to the President that the video in question had been selectively
11 edi ed, and ha Raffen pe ge       office had e ie ed he f ll ape and fo nd no e idence
12 of fraud.106 Raffensperger also offered to provide the President a link to the full video, to
13 which the Pre iden e ponded: I don         ca e abo    he link. I don need i . 107 The
14 follo ing da , he P e iden       ee ed: I poke o Sec e a       of S a e B ad Raffen pe ge
15 yesterday about Fulton County and voter fraud in Georgia. He was unwilling, or unable,
16 to an     e    e ion    ch a he ballo       nde able cam, ballo de         c ion, o   of a e
17
18
19
      103
20
        Donald J. Trump, The evidence is overwhelming FRAUD!, FACEBOOK,
   https://www.facebook.com/DonaldTrump/videos/1803802073100806/; Donald J. Trump,
21 Stop the Steal, FACEBOOK,
22
   https://www.facebook.com/officialteamtrump/videos/711114792881749/.
   104
       [Cite Donoghue TI at 43] (informing P e iden T mp ha he allega ion abo
23 ballots being smuggled in a suitcase and run through the machines several times, it was
24 not true, that we had looked at it, we looked at the video, we interviewed the witnesses,
   and i a no        e ).
25 105 Amy Gardner & Paulina Firozi, He e        e       a c      a da d         e ca
26 between Trump and Raffensperger, Washington Post (Jan. 5, 2021),
   https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-
27 vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html.
   106
28 107 Id.
        Id.
                                                 50
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 1      oe    , dead o e , and mo e. He ha no cl e! 108 On January 6th, Trump once again
 2 reiterated the claim that Georgia elec ion official [had] p ll[ed] bo e . . . and suitcases

 3 of ballo     o   f om nde a able in hi       peech j    befo e io e attacked the Capitol.109
 4           The evidence also shows that many members of the public acted in reliance on the
 5 P e iden         a ements. See infra at 52-53. Several defendants in pending criminal cases
 6 iden ified he P e iden      allega ion abo     he      olen elec ion a a mo i a ion fo hei
 7 ac i i ie a he Capi ol. And a n mbe          pecificall ci ed he P e iden      ee a king
 8 his supporters to come to Washington, D.C. on January 6. For example, one defendant

 9 who later pled guilty to threatening Nancy Pelosi texted a family member on January 6 to
10     a : [T mp] an head and I m going o deli e . 110 Another defendant released a
11      a emen h o gh hi a o ne , a ing: I as in Washington, D.C. on January 6, 2021,
12 because I believed I was following the instructions of former President Trump and he
13 was my president and the commander-in-chief. His statements also had me believing the
14

15
      108
       Jason Braverman, T        a Ge        a e ec         ca          d     e d       ca
16
   with Sec. of State, 11Alive,
17 https://www.11alive.com/article/news/politics/elections/trump-tweets-about-fulton-
   county-brad-raffensperger-brian-kemp/85-a503efec-df8a-42ee-a92f-70271eac840f
18
   (original tweet link broken
19 https://twitter.com/realDonaldTrump/status/1345731043861659650).
   109
20
       Brian Naylor, Read Trump's Jan. 6 Speech, A Key Part Of Impeachment Trial, NPR
   (Feb. 10, 2021) ( Then elec ion official p ll bo e , Democ a , and i ca e of ballo
21 out from under a table. You all saw it on television, totally fraudulent. And illegally
22
   scanned them for nearly two hours, totally unsupervised. Tens of thousands of votes. This
   act coincided with a mysterious vote dump of up to 100,000 votes for Joe Biden, almost
23 none for Tr mp. Oh, ha o nd fai . Tha a a 1:34 a.m. ),
24 https://www.npr.org/2021/02/10/966396848/read-trumps-jan-6-speech-a-key-part-of-
   impeachment-trial.
25 110 Jordan Fischer et al., Ge   a a           a ed        e     e    ec a
26 January 6 sentenced to more than 2 years in prison, WUSA9 (Dec. 14, 2021),
   https://www.wusa9.com/article/news/national/capitol-riots/georgia-man-cleveland-
27 meredith-jr-who-wanted-to-remove-some-craniums-on-january-6-sentenced-to-more-
28 than-2-years-in-prison-trump-noggin-pelosi-bowser/65-e3e4de7e-cf5e-4c62-af1f-
   53fb214576f0.
                                                  51
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 1 elec ion      a   olen f om him. 111 There are many other examples of this kind.112 Indeed,
 2 e en oda , polling        gge   ha [m]o e han 40% of Ame ican        ill do no belie e ha
 3 Joe Biden legitimately won the 2020 presidential election despite no evidence of
 4 widesp ead o e f a d. 113
 5            A e plained a leng h abo e, i appea      ha P e iden T mp fal e a emen       o
 6 hi         ppo e and go e nmen official     e e info med b D . Ea man e en i e
 7 advice that the election was stolen and that Congress or the Vice President could change
 8 the outcome of the election on January 6.114

 9
10
11
12
13
14
      111
            Dan Mangan, Ca         e Ga e M e          a   e a           T          de ,
15 apologizes to AOC for threat, CNBC (Jan. 25, 2021).
      112
16     See, e.g., United States v. Sandlin,
   https://www.justice.gov/opa/page/file/1362396/do nload ( I m going o be he e o ho
17 support for our president and to do my part to stop the steal and stand behind Trump
18    hen he decide o c o he bicon. ); United States v. Neefe et al.,
   https://www.justice.gov/usao-dc/case-multi-defendant/file/1432686/do nload ( T mp i
19 li e all calling people o DC in a ho of fo ce. Mili ia        ill be he e and if he e
20 eno gh people he ma f cking o m he b ilding and ake o                he a h igh he e. );
   United States v. Caldwell et al., https://www.justice.gov/usao-dc/case-multi-
21 defendan /file/1369071/do nload ( T mp aid I gonna be ild!!!!!!! I gonna be
22 wild!!!!!!! He wants us to make it WILD that's what he's saying. He called us all to the
   Capitol and wants us to make it wild!! ! Sir Yes Sir!!! Gentlemen we are heading to DC
23
   pack o hi !! ).
   113
24     Maya Yang, More than 40% in US do not believe Biden legitimately won election
   poll, GUARDIAN (Jan. 5, 2022), https://www.theguardian.com/us-
25
   news/2022/jan/05/america-biden-election-2020-poll-victory.
26 114 This does not represent the entirety of the evidence obtained by the Select Committee
   with respect to these issues. In addition, the Select Committee is receiving new evidence
27
   on a regular basis as part of its ongoing investigation. The Select Committee can make
28 additional evidence available to the Court as requested.

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 1 IV.      The Select Committee Has Not Waived Its Arguments That Plaintiff Is Not
            Entitled To Attorney-client Or Work-Product Protections Over The
 2          Documents At Issue
 3
            Plain iff con end ha he Selec Commi ee ha            ai ed its right to object to
 4
      privilege based on Plaintiff    p blic a emen , he pa ic la        of he Chapman
 5
      Uni e i      email   em, o     an o he gene ali ed      ai e a g men . B . a 22. Tha
 6
      contention is obviously wrong.
 7
            Plaintiff reasons that the Selec Commi ee nece a il conceded he po ibili
 8
      ha a lea      ome p i ileged con en e i     in he Chapman ma e ial       beca e i
 9
       conced[ed] ha a p i ilege log i app op ia e. B . a 22. The Select Committee made
10
      no such concessions. As reflected in the statement quoted in Plaintiff    b ief, counsel for
11
      the Select Committee stated at the hearing, if this [a privilege review] is considered
12
       ome hing ha i impo an o do no , e o ld ce ainl en e ain i . Id. That is, if
13
      this Court believed that an initial privilege review and log were appropriate, the Select
14
      Committee would not object to such a process. In no way did co n el statement
15
      concede that any of the documents at issue may ultimately be withheld because of
16
      privilege.
17
            Indeed, as Plaintiff recognizes, Br. at 22, the Select Committee argued in its brief
18
      in opposition to a temporary restraining order that Plaintiff could not claim attorney-
19
      client privilege or work product protection over any of the documents at issue (see ECF
20
      No. 23-1 at 17-23), and the Select Committee never abandoned that argument. To the
21
      contrary, in each of the notices the Select Committee has filed with its privilege log
22
      objec ion , i ha e plici l     p e e e[d] i abili   o a g e in    b e en b iefing on
23
      Plain iff p i ilege claim ha , a a gene al ma e , none of he doc men con ained in
24
      the Chapman University production set can be withheld on the basis of attorney-client or
25
       o k p od c p i ilege. See, e.g., ECF No. 71 at 2. Plaintiff cites no case law
26
      supporting his view of waiver, and the Select Committee is aware of none.
27
28

                                                   53
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 1 V.       Thi Co   Sho ld No Re i i I R ling Rejec ing Plain iff Fi                  and
            Fourth Amendment Claims
 2
            Plaintiff a k hi Co       o   e i i i holding den ing a p elimina        inj nc ion
 3
      ba ed on Plain iff Fi     and Fo    h Amendmen claim . B . a 31-37. That request is
 4
      procedurally imp ope . Thi Co        di ec ed Plain iff o file b iefing      ppo ing hi
 5
      assertions of privilege for each document between January 4 and January 7, 2021. ECF
 6
      No. 104. Inserting into such b iefing a e e fo econ ide a ion of he Co                  ling
 7
      on Plain iff Fi    and Fo    h Amendmen claim         which are not relevant to the
 8
      privilege claims   is entirely inappropriate.
 9
            Local Rule 7-18 describes he p ope p oced e fo eeking he Co
10
      reconsideration of a previous ruling, and the grounds on which such a request may be
11
      made. Barring a showing of good cause, the rule requires that a motion be made no later
12
      than 14 days after the Order at issue was entered. In this case, the relevant Order was
13
      entered on January 25, almost one month before Plaintiff filed this brief. See ECF No.
14
      43. Thus, Plaintiff both failed to submit his request in the proper format of a motion for
15
      reconsideration and failed to file it in a timely manner.
16
            Moreover, under Local Rule 7-18, a motion for reconsideration may only be made
17
      on the following grounds:
18
19          (a) a material difference in fact or law from that presented to the Court that,
            in the exercise of reasonable diligence, could not have been known to the
20          party moving for reconsideration at the time the Order was entered, or (b)
21          the emergence of new material facts or a change of law occurring after the
            Order was entered, or (c) a manifest showing of a failure to consider
22          material facts presented to the Court before the Order was entered.
23          Con i en      i h hi    le, he Fede al R le of Ci il P oced e p o ide ha a
24 mo ion fo      econ ide a ion ho ld not be granted, absent highly unusual circumstances,
25 unless the district court is presented with newly discovered evidence, committed clear
26 e o , o if he e i an in e ening change in he con olling la .            Zhur v. Neufeld, No.
27 17-9203, 2018 WL 4191325, *1 (C.D. Cal. Aug. 29, 2018) (citing Fed. R. Civ. P. 59(e));
28

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                              DEFENDANTS MEMORANDUM OF LAW
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 1 see also Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th
 2 Cir. 1993).

 3            Con a     o Plain iff a e ion ha hi Fi             and Fo    h Amendmen claim         ee
 4 not f ll b iefed (B . a 31), he claim          e e fi       ai ed in Plain iff Complain , he
 5 Select Committee responded to these claims in their opposition, ECF No. 23-1 at 24-25,
 6 and Plaintiff addressed the First and Fourth Amendments claims in his reply, ECF No. 27
 7 a 23). Follo ing b iefing and o al a g men , hi Co                 denied Plain iff     e e fo a
 8 temporary restraining order or preliminary injunction, specifically rejecting his First and

 9 Fourth Amendment claims. See ECF No. 43 at 12-14. For the reasons stated in the
10 Selec Commi ee            oppo i ion and hi Co            O de , ha     ling a co ec .
11            Instead of relying on new evidence or intervening case law, Plaintiff simply
12 reargues the merits, relying on precedents add e ed in bo h he Selec Commi ee
13 oppo i ion and he Co             O de . Wi h e pec o he Fi             Amendmen claim, Plain iff
14 di c       e   a ome leng h he S p eme Co                  deci ion in Watkins v. United States, 354
15 U.S. 178 (1957), a decision that this Court correctly applied in its Order. See Br. at 32;
16 ECF No. 43, at 12. Similarly, in reraising his Fourth Amendment claim, Plaintiff
17     npe     a i el a emp       o di ing i h    o hi o ic S p eme Co             deci ion (ci ed in
18 his Complaint), on which this Court correctly relied in denying a preliminary injunction.
19 See Compl. ¶¶ 95, 98; ECF No. 43, at 13; Br. at 36 (citing Oklahoma Press Pub. Co. v.
20 Walling, 327 U.S. 186, 209 (1946); McPhaul v. United States, 364 U.S. 372, 382 (1960)).

21 Plain iff offe      no e plana ion a o ho hi a g men ai e                a material difference in fact
22 o la       f om ha p e en ed o he Co          p e io l o          he eme gence of ne ma e ial
23 fac       o a change of la . Local R le 7-18. It does not.
24            In addition, Plaintiff has not shown that this Court committed clear error. The
25 Co        app op ia el anal ed he in e e        a        ake in ejec ing Plain iff Fi
26 Amendment claim. To determine whether the First Amendment bars the Select
27 Commi ee           acce    o info ma ion i eek h o gh a d l -authorized subpoena depends
28 on a balancing of         he compe ing p i a e and p blic in e e        a   ake in he pa ic la

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                               DEFENDANTS MEMORANDUM OF LAW
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 1 ci c m ance         ho n. Barenblatt v. United States, 360 U.S. 109, 126 (1959). The
 2 Co       con ide ed he compe ing in e e       a     ake and fo nd ha [ ]he p blic in e e
 3 here is weigh       and     gen , ECF No. 43, a 12, and ha Plain iff iden ified no        pecific
 4 a ocia ional in e e         h ea ened b   o   an pa ic la ha m likel      o e l f om
 5 production of the materials sought by the Select Committee. Id. at 12-13.
 6          Plain iff brief fails to address the substantial public interest in the Select
 7 Commi ee        in e iga ion, in ead a g ing ha           he Selec Commi ee     e ol ion po e
 8 the same First Amendment risks of unrestrained congressional power that the Supreme

 9 Court identified in Watkins.       B . a 34. B , again, Plain iff has not identified any
10 specific associational interest threatened by production of his Chapman communications
11 or any particular harm likely to result from their production. See ECF No. 43, at 12-13.
12 His ag e efe ence o comm nica ion             ha        e eal m ch abo   hi d-pa ie
13     iden i ie , a ocia ional choice , poli ical belief and o he p o ec ed Fi     Amendmen
14 in e e         and he no ion ha ha ing di fa o ed ie            on he 2020 elec ion can be
15     pe onall damaging          is insufficient. Br. at 35-36. The Co      ejec ion of Plain iff
16 First Amendment claim was thus unquestionably correct, and Plaintiff provides no
17 persuasive reason for the Court to reconsider it now.
18          The Co      al o app op ia el    ejec ed Plain iff Fo     h Amendmen claim, finding
19    ha he     bpoena i no o e b oad o indefini e gi en i con e . ECF No. 43, a 14.
20 A subpoena is not impermissibly overbroad so as to violate the Fourth Amendment as

21 long as its call for documents or testimony are within the scope of the Congressional
22 inquiry at issue. See McPhaul, 364 U.S. at 382. The requests at issue are well within the
23     cope of he Selec Commi ee in i . See ECF No. 23-1 at 25. And Plaintiff
24 belated attempt to distinguish McPhaul and Oklahoma Press is unavailing. Relying on
25 recent Supreme Court decisions in distinct Fourth Amendment contexts, the most
26 Plain iff can a i         ha if McPhaul and Oklahoma Press were to be decided today they
27     o ld be likel    o come o       i e diffe en l . B . 36-37. Even if that doubtful
28

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 1 proposition were correct, Plaintiff does not (and cannot) argue that this Court is free to
 2 disregard those Supreme Court rulings.

 3                                         CONCLUSION
 4          For the reasons set forth above, Plaintiff   claim of p i ilege ho ld be rejected,
 5 leaving Chapman University free to comply with the House subpoena at issue here as it
 6 has stated it wishes to do.
 7
 8                                               Respectfully submitted,

 9                                               /s/ Douglas N. Letter
10                                               DOUGLAS N. LETTER
                                                   General Counsel
11                                               TODD B. TATELMAN
12                                                 Principal Deputy General Counsel
                                                 ERIC R. COLUMBUS
13                                                 Special Litigation Counsel
14                                               MICHELLE S. KALLEN
                                                   Special Litigation Counsel
15                                               STACIE M. FAHSEL
16                                                 Associate General Counsel
17                                               OFFICE OF GENERAL COUNSEL
18                                               U.S. HOUSE OF
                                                 REPRESENTATIVES
19                                               5140 O Neill Ho e Office B ilding
20                                               Washington, D.C. 20515
                                                 (202) 225-9700
21                                               Douglas.Letter@mail.house.gov
22
                                                 -and-
23
24                                               SHER TREMONTE LLP
                                                 Justin M. Sher
25
                                                 Michael Tremonte
26                                               Noam Biale
                                                 Maya Brodziak
27
                                                 Kathryn E. Ghotbi
28                                               90 Broad Street, 23rd Floor

                                                   57
                            DEFENDANTS MEMORANDUM OF LAW
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 1                                             New York, New York 10004
                                               (212) 202-2600
 2                                             JSher@shertremonte.com
 3                                             MTremonte@shertremonte.com
                                               NBiale@shertremonte.com
 4                                             MBrodziak@shertremonte.com
 5                                             KGhotbi@shertremonte.com

 6                                             -and-
 7
 8                                             ARNOLD & PORTER
 9                                             John A. Freedman
                                               Paul Fishman
10                                             Amy Jeffress
11                                             601 Massachusetts Ave, NW
                                               Washington, D.C. 20001
12                                             (202) 942-5000
13                                             John.Freedman@arnoldporter.com
                                               Paul.Fishman@arnoldporter.com
14                                             Amy.Jeffress@arnoldporter.com
15
16
      Dated: March 2, 2022
17
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20

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                                                58
                           DEFENDANTS MEMORANDUM OF LAW
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                                       #:1992

 1                                CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

 5          OFFICE OF GENERAL COUNSEL
            U.S. HOUSE OF REPRESENTATIVES
 6          5140 O Neill Ho e Office B ilding
 7
            Washington, D.C. 20515

 8        On March 2, 2022, I served the CONGRESSIONAL DEFENDANTS BRIEF
   IN OPPOSITION TO PLAINTIFF S PRIVILEGE ASSERTIONS on the interested
 9 parties in this action:
10
            Anthony T. Caso
11          Constitutional Counsel Group
12          174 W Lincoln Ave #620
            Anaheim, CA 92805-2901
13          atcaso@ccg1776.com
14
            Charles Burnham
15          Burnham & Gorokhov PLLC
16          1424 K Street NW, Suite 500
            Washington, DC 20005
17          charles@burnhamgorokhov.com
18
            Attorneys for Plaintiff John C. Eastman
19
20         (BY E-MAIL OR ELECTRONIC TRANSMISSION)
21
             The document was served on the following via The United States District Court
             Cen al Di ic CM/ECF elec onic an fe                 em hich gene a e a No ice
22           of Electronic Filing upon the parties, the assigned judge, and any registered user
             in the case:
23
24         (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                     correct, and that I am employed at the office of a member of
25                   the bar of this Court at whose direction the service was made.
26
            Executed on March 2, 2022 here, at Bethesda, Maryland.
27
28
                                                       /s/ Douglas N. Letter


                                     CERTIFICATE OF SERVICE
     Case 8:22-cv-00099-DOC-DFM
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                                    CERTIFICATE OF SERVICE
     Case 8:22-cv-00099-DOC-DFM
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 1   OFFICE OF GENERAL COUNSEL
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 6
     ARNOLD & PORTER
 7   601 Massachusetts Ave, NW
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 8
 9
     Counsel for the Congressional Defendants
10
11                           UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
        JOHN C. EASTMAN                         Case No. 8:22-cv-00099-DOC-DFM
15

16                  Plaintiff,                  DECLARATION OF DOUGLAS N.
                                                LETTER IN SUPPORT OF
17      vs.                                     CONGRESSIONAL DEFENDANTS’
                                                OPPOSITION TO PLAINTIFF’S
18      BENNIE G. THOMPSON, et al.,             PRIVILEGE ASSERTIONS
19
                    Defendants.                 Date:     March 8, 2022
20                                              Time:     9:00 a.m.
                                                Location: Courtroom 9D
21

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                         DECLARATION OF DOUGLAS N. LETTER
     Case 8:22-cv-00099-DOC-DFM
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                                                                     2 of
                                                                       of 2135Page ID
                                       #:1995


 1 I, Douglas N. Letter, declare as follows:
 2         1.    I am the General Counsel, of the U.S. House of Representatives and counsel
 3 for the Congressional Defendants in this action.

 4         2.    I make this declaration in support of the Congressional Defendants’
 5 Opposition to Plaintiff’s Privilege Assertions.
 6         3.    Attached hereto as Exhibit 1 are true and accurate copies of email messages
 7 between myself and Plaintiff’s counsel, Charles Burnham, that occurred on Monday,
 8 January 31, 2022 at 4:06p EST, Thursday, February 3, 2022 at 7:13p EST, and Tuesday,
 9 February 8, 2022 at 3:05p EST.

10         I declare under penalty of perjury that the foregoing is true and correct, to the best
11 of my knowledge.
12
13 Executed on March 2, 2022, in Bethesda, Maryland.
14
15
                                                          /s/ Douglas N. Letter
                                                          Douglas N. Letter
16
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                         DECLARATION OF DOUGLAS N. LETTER
     Case 8:22-cv-00099-DOC-DFM
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 7   601 Massachusetts Ave, NW
     Washington, D.C. 20001
 8
 9
     Counsel for the Congressional Defendants
10
11                           UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
        JOHN C. EASTMAN                         Case No. 8:22-cv-00099-DOC-DFM
15

16                  Plaintiff,                  DECLARATION OF JOHN WOOD IN
                                                SUPPORT OF CONGRESSIONAL
17      vs.                                     DEFENDANTS’ OPPOSITION TO
                                                PLAINTIFF’S PRIVILEGE
18      BENNIE G. THOMPSON, et al.,             ASSERTIONS
19
                    Defendants.                 Date:     March 8, 2022
20                                              Time:     9:00 a.m.
                                                Location: Courtroom 9D
21

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                             DECLARATION OF JOHN F. WOOD
     Case 8:22-cv-00099-DOC-DFM
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 1 I, John Wood declare as follows:
 2         1.    I am Senior Investigative Counsel and Of Counsel to the Vice Chair, Select
 3 Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of

 4 Representatives.
 5         2.    I make this declaration in support of Congressional Defendants’ Brief in
 6 Opposition to Plaintiff’s Privilege Assertions.
 7         3.    Attached hereto as Exhibit A is a true and accurate copy of the transcript of
 8 the deposition of John Eastman by the Select Committee to Investigate the January 6th
 9 Attack on the U.S. Capitol on December 9, 2021.

10         4.    Attached hereto as Exhibit B is a true and accurate copy of certain pages
11 from the interview of Richard Peter Donoghue by the Select Committee to Investigate the
12 January 6th Attack on the U.S. Capitol on October 1, 2021.
13         5.    Attached hereto as Exhibit C is a true and accurate copy of certain pages
14 from the interview of Jeffrey A. Rosen by the Select Committee to Investigate the
15 January 6th Attack on the U.S. Capitol on October 13, 2021.

16         6.    Attached hereto as Exhibit D is a true and accurate copy of certain pages
17 from the deposition of Jason Miller by the Select Committee to Investigate the January
18 6th Attack on the U.S. Capitol on February 3, 2022.
19         7.    Attached hereto as Exhibit E are true and accurate copies of certain
20 documents produced by the National Archives and Records Administration (“NARA”) to
21 the Select Committee to Investigate the January 6th Attack on the U.S. Capitol.

22         8.    Attached hereto as Exhibit F is a true and accurate copy of certain pages
23 from the deposition of Greg Jacob by the Select Committee to Investigate the January 6th
24 Attack on the U.S. Capitol on February 1, 2022.
25         9.    Attached hereto as Exhibit G is a true and accurate copy of certain pages
26 from the deposition of Keith Kellogg, Jr. by the Select Committee to Investigate the
27 January 6th Attack on the U.S. Capitol on December 14, 2021.

28
                            DECLARATION OF JOHN F. WOOD
                                                 1
     Case 8:22-cv-00099-DOC-DFM
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 1         10.   Attached hereto as Exhibit H is a true and accurate copy of a document
 2 produced by NARA to the Select Committee to Investigate the January 6th Attack on the
 3 U.S. Capitol.

 4         11.   Attached hereto as Exhibit I is a true and accurate copy of certain pages
 5 from the deposition of Marc Short by the Select Committee to Investigate the January 6th
 6 Attack on the U.S. Capitol on January 26, 2022.
 7         12.   Attached hereto as Exhibit J is a true and accurate copy of certain pages
 8 from the deposition of Benjamin Williamson by the Select Committee to Investigate the
 9 January 6th Attack on the U.S. Capitol on January 25, 2022.

10         13.   Attached hereto as Exhibit K is a true and accurate copy of an email from
11 John Eastman (via his Chapman University email account) to Gregory Jacob on January
12 5, 2021, 7:29 PM MST, along with the attachment thereto, produced to the Select
13 Committee to Investigate the January 6th Attack on the U.S. Capitol as Chapman005235
14 and Chapman005236.
15         14.   Attached hereto as Exhibit L is a true and accurate copy of an email from
16 John Eastman (via his Chapman University email account) to Gregory Jacob on January
17 6, 2021, 12:25 PM MST, produced to the Select Committee to Investigate the January 6th
18 Attack on the U.S. Capitol as Chapman005379.
19         15.   Attached hereto as Exhibit M is a true and accurate copy of an email from
20 John Eastman (via his Chapman University email account) to Gregory Jacob on January
21 6, 2021, 4:45 PM MST, produced to the Select Committee to Investigate the January 6th

22 Attack on the U.S. Capitol as Chapman005442.
23         16.   Attached hereto as Exhibit N is a true and accurate copy of an email from
24 John Eastman (via his Chapman University email account) to Gregory Jacob on January
25 6, 2021, 9:44 PM MST, produced to the Select Committee to Investigate the January 6th
26 Attack on the U.S. Capitol as Chapman005479.
27         I declare under penalty of perjury that the foregoing is true and correct, to the best
28 of my knowledge.
                             DECLARATION OF JOHN F. WOOD
                                                  2
     Case 8:22-cv-00099-DOC-DFM
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                                       #:2003


 1         Executed on March 2, 2022, in Washington, DC.
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 3
                                                /s/ John F. Wood
                                                John F. Wood
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28
                            DECLARATION OF JOHN F. WOOD
                                               3
     Case 8:22-cv-00099-DOC-DFM
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                                        #:2004

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 4 90 Broad Street, 23rd Floor
 5 New York, New York 10004
 6 ARNOLD & PORTER
      601 Massachusetts Ave, NW
 7 Washington, D.C. 20001
 8
 9 Counsel for the Congressional Defendants

10
                             UNITED STATES DISTRICT COURT
11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                  SOUTHERN DIVISION
14      JOHN C. EASTMAN                        Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21

22
23
24
25
26                                      Exhibit A
27

28
Case 8:22-cv-00099-DOC-DFM
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      5     SELECT COMMITTEE TO INVESTIGATE THE

      6     JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

      7     U.S. HOUSE OF REPRESENTATIVES,

      8     WASHINGTON, D.C.

      9

     10

     11

     12     DEPOSITION OF:    JOHN EASTMAN

     13

     14

     15

     16                                  Thursday, December 9, 2021

     17

     18                                       Washington, D.C.

     19

     20

     21            The interview in the above matter was held in Room 1309, Longworth House

     22     Office Building, commencing at 12:57 p.m.

     23            Present:   Representatives Lofgren, Raskin, Cheney, and Kinzinger.
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                                                                       135Page ID
                                   #:2006                                           2




      1

      2     Appearances:

      3

      4

      5     For the SELECT COMMITTEE TO INVESTIGATE

      6     THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

      7

      8     JOHN WOOD, SENIOR INVESTIGATIVE COUNSEL

      9     AND OF CHAIR TO THE VICE CHAIR

     10     CASEY LUCIER, INVESTIGATIVE COUNSEL

     11     JOE MAHER, DETAILEE

     12     DAN GEORGE, SENIOR INVESTIGATIVE COUNSEL

     13     JENNA HOPKINS, PROFESSIONAL STAFF

     14     EVAN MAULDIN, CHIEF CLERK

     15

     16

     17     For JOHN EASTMAN:

     18

     19     CHARLES BURNHAM
Case 8:22-cv-00099-DOC-DFM
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                                                                91 of
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                                    #:2019                                                                15




       1    Amendment grounds.

       2            Mr. Raskin.    Well, then, if he's going to assert it, would he assert it so I can hear

       3    that?

       4            Mr. Burnham.     Certainly.

       5            The Witness.    Yes.   On advice of counsel, I'm asserting the Fifth.

       6            Mr. Raskin.    Okay.   So to be clear, you're asserting the Fifth Amendment as to

       7    whether or not you were answering -- you're asserting the Fifth as to whether or not

       8    you're refusing to answer questions just about all of your actions or also about the ideas

       9    that you have about the electoral college. Is that right?

      10            The Witness.    And on advice of counsel, yes, I'm asserting the Fifth.

      11            Mr. Raskin.    Thank you.     I yield back.

      12            Mr. Wood.      Do any other members have questions?

      13                   BY MR. WOOD:

      14            Q    Dr. Eastman, if you could turn your attention to exhibit 10 in your binder,

      15    which has a -- the first page is an email from Jeffrey Clark at the Department of Justice

      16    dated December 28th, 2020, and then the next several pages are a draft of a letter to

      17    Governor Brian Kemp, Speaker of the House David Ralston, President Pro Tem of the

      18    Senate Butch Miller, all of the State of Georgia.

      19            Have you seen this letter before?

      20            A    Fifth.

      21            Q    Dr. Eastman, did you have any role in drafting this letter?

      22            A    Fifth.

      23            Q    Dr. Eastman, did you speak to Jeffrey Clark about this letter?

      24            A    Fifth.

      25            Q    Dr. Eastman, did you speak with anyone else at the Department of Justice
Case 8:22-cv-00099-DOC-DFM
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       1    regarding efforts to overturn the results of the 2020 Presidential election?

       2           A       Fifth.

       3           Q       Dr. Eastman, regarding the 2020 election, did you speak with Representative

       4    Scott Perry?

       5           A       Fifth.

       6           Q       Dr. Eastman, with regard to the 2020 election and any efforts to change the

       7    outcome of the election, did you speak with Senator Josh Hawley?

       8           A       Fifth.

       9           Q       And just so I understand, Dr. Eastman, with regard to whether you had any

      10    conversations with Senator Josh Hawley about efforts to overturn the results of the 2020

      11    election, you're taking the Fifth Amendment on the grounds that your answer could tend

      12    to incriminate you?

      13           A       Fifth.

      14           Q       Is that a yes?

      15           Mr. Burnham.       That was an invocation of the Fifth in response to your question

      16    about his basis for taking the Fifth, but I think it could be taken as a yes.

      17           Mr. Wood.        Okay.   Just to be clear, I wasn't trying to ask about the basis for

      18    taking the Fifth, I just wanted to clarify that he was taking the Fifth on the grounds that it

      19    could incriminate him, not anything about the factual basis or legal basis underlying that.

      20                     BY MR. WOOD:

      21           Q       Dr. Eastman, did you clerk with now Senator Ted Cruz.

      22           A       Yes.

      23           Q       Dr. Eastman, did you have any communications with Senator Ted Cruz

      24    regarding efforts to change the outcome of the 2020 election?

      25           A       Fifth.
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11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                  SOUTHERN DIVISION
14      JOHN C. EASTMAN                        Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21

22
23
24
25
26                                      Exhibit %
27

28
Case 8:22-cv-00099-DOC-DFM
       Case 1:22-mc-00096-RC Document
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      3

      4     SELECT COMMITTEE TO INVESTIGATE THE

      5     JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

      6     U.S. HOUSE OF REPRESENTATIVES,

      7     WASHINGTON, D.C.

      8

      9

     10

     11

     12     INTERVIEW OF:   RICHARD PETER DONOGHUE

     13

     14

     15                                  Friday, October 1, 2021

     16

     17                                      Washington, D.C.

     18

     19

     20           The interview in the above matter was held via Webex, commencing at 10:02 a.m.

     21           Present: Representatives Schiff, Lofgren, Murphy, Raskin, and Cheney.
Case 8:22-cv-00099-DOC-DFM
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      1     Appearances:

      2

      3

      4

      5     For the SELECT COMMITTEE TO INVESTIGATE

      6     THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

      7

      8     TIM HEAPHY, CHIEF INVESTIGATIVE COUNSEL

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     14     JENNA HOPKINS, PROFESSIONAL STAFF

     15     EVAN MAULDIN, CHIEF CLERK

     16     KRISTIN AMERLING, DEPUTY STAFF DIRECTOR

     17     SAMANTHA STILES, CHIEF ADMINISTRATIVE OFFICER

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     19     For the DEPARTMENT OF JUSTICE:

     20

     21     KIRA ANTELL, OFFICE OF LEGISLATIVE AFFAIRS

     22     BRAD WEINSHEIMER, OFFICE OF THE DEPUTY ATTORNEY GENERAL
Case 8:22-cv-00099-DOC-DFM
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      1

      2     For RICHARD PETER DONOGHUE:

      3

      4     GREG ANDRES

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Case 8:22-cv-00099-DOC-DFM
       Case 1:22-mc-00096-RC Document
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      1     false and/or just not supported by the evidence. We look at the allegations but they

      2     don't pan out."

      3              The President was getting very frustrated. He said, "This is electioneering fraud."

      4              And then, again, I have a quote from him:     "We have an obligation to tell people

      5     that this was an illegal, corrupt election."

      6              Then he said, "People tell me Jeff Clark is great" and that "I should put him in.

      7     People want me to replace DOJ leadership."

      8              At which point I responded, sir, that's fine, you should have the leadership you

      9     want, but understand, changing the leadership in the Department won't change anything.

     10     The --

     11              Q    All right.   Let me stop you there.

     12              A    -- Department operates --

     13              Q    Let me stop you there, Mr. Donoghue. Just two things.

     14              So, going back to, "We have an obligation to tell people that this was an illegal,

     15     corrupt election," is it fair to say that what he was asking you to do, primarily, was tell

     16     people, in some form, a press conference or otherwise, that there was corruption so that

     17     some other political strategy could unfold?     Was it your impression that the precise ask

     18     from the President was more about a public statement than actually the day-to-day

     19     investigative work?

     20              A    I think he probably cared about both of them, but -- I don't want to

     21     speculate about what was in his mind, but this is what he said.      And I think what you

     22     take away from that, logically, is that he wanted the Department to say something

     23     publicly.

     24              Q    Right.   So there's pressure on you and Mr. Rosen, to which you push back,

     25     to say something publicly, to say something publicly without basis, that there is an illegal,
Case 8:22-cv-00099-DOC-DFM
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       1            But we weren't reporting back to the White House simply because the President

       2    mentioned some allegations.

       3            Q     I see.   It wouldn't be consistent with protocol for you to go back to the

       4    President every time something that comes up in a discussion is investigated or resolved?

       5            A     He didn't instruct us to do that, and we weren't going to do it.       So.

       6            Q     Yeah.    All right.   I want to turn your attention, if you can now to

       7    exhibit 10, which we get back into Mr. Clark.      The next day, December 28th, you and Mr.

       8    Rosen get an email from Mr. Clark, and he is asking for two urgent action items.           Tell us

       9    about this email, the two actions that he requested, and what your response was.

      10            A     Right.   So DAG Rosen and I spoke, I think, probably several times on the

      11    27th and certainly the 28th because that was a Monday. DAG Rosen and Jeff Clark had

      12    a long personal and professional relationship.      They had known each other for decades.

      13    They had worked at the same law firm together. He knew Jeff Clark much better than I

      14    did.    And, you know, we discussed why Jeff Clark's name was coming up, why it was

      15    coming from the President, why it was coming from this Congressman. And Jeff Rosen

      16    said:   Well, look, I am going to talk to Jeff Clark to find out what's going on here. We

      17    got to get to the bottom of this.

      18            So I think he had conversations with Jeff Clark earlier on the 28th.       They

      19    preceded this email, which came fairly late in the day.       I did not talk to Jeff Clark before

      20    this.

      21            So, at 4:40, I received this email from Jeff Clark.    I read it.   I read the

      22    attachment.     I had to read it more than once to make sure I really understood what he

      23    was proposing. And then I drafted a response. I don't know where Jeff Rosen was at

      24    this point, but I went to his office, and he wasn't there.     So I didn't get to discuss my

      25    response with him before I sent it.     But I sent it out.    And then I saw him shortly
Case 8:22-cv-00099-DOC-DFM
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       1    afterward, and he was very upset by Jeff Clark's request.       And he said that he had

       2    instructed one of his administrative support personnel to get Jeff Clark in his conference

       3    room.    He was -- he was a little angry.     And he said:   I want him down here. We

       4    need to talk to this guy and find out what's going on.

       5            So I think there's some emails that show up.

       6            Q    Yeah.    And I don't want to jump ahead too much, Mr. Donoghue, because I

       7    want to get to that conversation. But let's go back to Mr. Clark's email. The first thing

       8    he asks of you is:   I would like to have your authorization -- "you" meaning you and Mr.

       9    Rosen -- to get a classified briefing tomorrow from ODNI led by DNI Ratcliffe on foreign

      10    election interference issues. And he mentions activating the IEEPA and 2018 EO powers

      11    about the Dominion machine access to the internet through a smart thermostat with a

      12    net connection trail leading back to China.      He is essentially asking if you can get a

      13    briefing about this allegation of Chinese control of Dominion machines through a

      14    thermostat. Did that strike you as odd, and what was your reaction to that specific

      15    request?

      16            A    Yes, it struck me as odd.      I won't go into details, but we received briefing

      17    about what the IC, the intelligence community, knew about the election in advance.

      18    This was inconsistent with what we had been told.        And I had not heard anything about

      19    smart thermostats and internet connections leading back to China and things like that.

      20    So the whole thing struck me as very odd.

      21            Q    Yeah, and that Mr. Clark, the head -- acting head of the Civil Division is asking

      22    for a classified briefing with the Director of National Intelligence about this allegation.

      23    That also procedurally was odd?

      24            A    Yes.

      25            Q    Okay.    He also then -- the second ask is this draft letter, which I believe is
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       1    attached to the email that he sends you and Mr. Rosen. And that letter is a draft letter

       2    that you and Mr. Rosen and he, Mr. Clark, would sign to the Governor, the Speaker of the

       3    House, and the president pro tempore of the Georgia legislature, essentially asking them

       4    to stand down and not certify the results of their election. How did that request strike

       5    you, and what did you do about it?

       6            A     It struck me as very strange and somewhat alarming.        And, as I said, I had

       7    to read it more than once to make sure I understood what he was proposing here.            It

       8    was completely inconsistent with the Department's role, generally. And it was

       9    inconsistent with what our investigations, to date, had revealed. And so I think I made

      10    my views known in the email response I sent to him.

      11            Q     Yeah, which we'll get to.    To be clear, he asks that -- a version of this letter

      12    be sent to each relevant State.     So was his request to send this letter, drafted for

      13    Georgia, not just to Georgia officials but to officials in other States where there had been

      14    allegations of election fraud?

      15            A     Yes.    That was my understanding of his proposal.

      16            Q     All right. He writes that he put it together quickly -- "it" being the

      17    letter -- but other messages suggest that it may have been drafted by Ken Klukowski.

      18    Do you know Ken Klukowski and what his role may have been within the Department's

      19    Civil Division at that time?

      20            A     No.     I don't.

      21            Q     Okay.     Did you know whether or not Mr. Clark was talking to anyone else in

      22    the Department about this letter or other election issues?

      23            A     No.     I had no reason to think that.

      24            Q     All right.   So you respond, Mr. Donoghue.       We get to your response, which

      25    is tab 11.   You drafted a pretty comprehensive, specific response reflecting your
Case 8:22-cv-00099-DOC-DFM
       Case 1:22-mc-00096-RC Document
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       1    frustration on the 28th, just about a little over an hour later, at 5:50.   I won't ask you to

       2    read it to us, but just summarize for us your overall reaction and what's reflected in the

       3    email.

       4             A    I tried to make it clear to him that this is not the Department's role.   Again,

       5    we don't do quality control for State elections. The States run the elections.       We

       6    investigate crimes, and we look at civil rights matters.    So I tried to make it clear to him

       7    that this is simply not our role, to recommend to the States what they do and, secondly,

       8    that we have conducted investigations and that the factual claim he was making here was

       9    simply not accurate. And so I reminded him that AG Barr had made public statements

      10    on this point, less than a week prior, or, I guess, exactly a week prior was the last time he

      11    had made some public statements, and that this was just completely unacceptable and

      12    not anything that I would ever sign.     And I know Jeff Clark -- or Jeff Rosen, rather, had

      13    the same response.

      14             Q    You say in the first paragraph: There's no chance that I would sign this

      15    letter or anything remotely like this.    You sort of lead with the conclusion. You then, in

      16    the first paragraph, challenge his factual assumptions.     You said:   The investigations

      17    that I am aware of relate to suspicions of misconduct that are of such a small scale that it

      18    would simply not impact the outcome of the election.        AG Barr made that clear to the

      19    public only last week, and I am not aware of intervening developments that would change

      20    that conclusion.

      21             So, setting aside whether it would be appropriate for the Department to tell a

      22    State what to do, you're challenging -- is it fair to say you're challenging the factual basis

      23    included in his letter to the State official?

      24             A    That's right. And he himself, Jeff Clark, would have no way of knowing

      25    what investigations we had conducted or not because he was not involved in election
Case 8:22-cv-00099-DOC-DFM
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       1    matters.

       2             Q    Right.    You then, in the second paragraph, Mr. Donoghue, you say:         I

       3    cannot imagine a scenario in which the Department would recommend that a State

       4    would assemble its legislature to determine whether already certified election results

       5    should somehow be overridden by legislative action.          This would be a grave step for the

       6    Department to take and could have tremendous constitutional, political, and social

       7    ramifications for the country.

       8             Is that your sort of procedural response here that this is just not the Department's

       9    role to be quality control for State elections and tell a State legislature what to do?

      10             A    Yes.     That's the point I was making. Yes.

      11             Q    All right. So, when you and Mr. Rosen get this letter, you compose the

      12    response. You indicated previously that Mr. Rosen essentially summons Mr. Clark up to

      13    the 5th floor for a face-to-face meeting.        Does that meeting then occur?

      14             A    Yes.     He is on the 4th floor.    But, yes, in the DAG conference on the 4th

      15    floor.

      16             Q    Okay.     So you are personally present, Mr. Donoghue, for that meeting

      17    between Clark and Rosen?

      18             A    Yes.     It was the three of us.

      19             Q    Tell us about the conversation there with Mr. Clark.

      20             A    Mr. Clark explained that he had been looking at some of these allegations on

      21    his own, that he had information, that he had concerns about the reliability of the

      22    outcome of the election. He mentioned this smart thermostat thing.            It was clear that

      23    he had been reading some affidavits that were attached to some of the civil filings in

      24    some of the cases that were pending or already dismissed around the country.          He had

      25    various theories that seemed to be derived from the internet about why the outcome of
Case 8:22-cv-00099-DOC-DFM
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       1    so when you joined at the President's invitation?

       2           A     That's right.

       3           Q     All right. And who was inside the meeting when you got there?

       4           A     When I entered the Oval Office, the President was behind the desk, and it

       5    was Pat Cipollone, Pat Philbin, a White House lawyer named Eric Herschmann, Jeff Clark,

       6    Jeff Rosen, Steve Engel, and then me.

       7           Q     Are you sure Mr. Herschmann was a White House lawyer?

       8           A     He was a lawyer who worked at the White House.         I'm not -- initially I

       9    thought he worked in the White House Counsel's Office, but I think later someone told

      10    me that wasn't the case.     I don't remember.   His role was never clear to me.       I know

      11    he was a lawyer from New York.      I know he had been a prosecutor at some point.           But I

      12    don't know what his title exactly was.   I'd seen him in some meetings previously, but I

      13    didn't know exactly what his role was.

      14           Q     Okay.

      15           All right.   And, again, no notes of this meeting.   Is that right?   You don't take

      16    notes -- you were inside the Oval Office and, you indicated before, didn't take notes when

      17    you were in discussions inside that office.

      18           A     No.

      19           Q     All right.   Well, tell us what you remember, then, about the conversation.

      20    What was the topic when you arrived, and how did it evolve from there?

      21           A     The meeting took about another 2-1/2 hours from the time I entered. It

      22    was entirely focused on whether there should be a DOJ leadership change.          So the

      23    election allegations played into this, but they were more background than anything else.

      24           And the President was basically trying to make a decision and letting everyone

      25    speak their minds.    And it was a very blunt, intense conversation that took several
Case 8:22-cv-00099-DOC-DFM
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       1    hours.       And Jeff Clark certainly was advocating for change in leadership that would put

       2    him at the top of the Department, and everyone else in the room was advocating against

       3    that and talking about what a disaster this would be.

       4             Q       What were Clark's purported bases for why it was in the President's interest

       5    for him to step in?      What would he do, how would things change, according to Mr. Clark

       6    in the meeting?

       7             A       He repeatedly said to the President that, if he was put in the seat, he would

       8    conduct real investigations that would, in his view, uncover widespread fraud; he would

       9    send out the letter that he had drafted; and that this was a last opportunity to sort of set

      10    things straight with this defective election, and that he could do it, and he had the

      11    intelligence and the will and the desire to pursue these matters in the way that the

      12    President thought most appropriate.

      13             Q       You said everyone else in the room was against this.     That's Mr. Cipollone,

      14    Mr. Philbin, Mr. Herschmann, you, and Mr. Rosen. What were the arguments that you

      15    put forth as to why it would be a bad idea for him to replace Rosen with Clark?

      16             A       So, at one point early on, the President said something to the effect of,

      17    "What do I have to lose?       If I do this, what do I have to lose?"   And I said,

      18    "Mr. President, you have a great deal to lose.       Is this really how you want your

      19    administration to end?       You're going hurt the country, you're going to hurt the

      20    Department, you're going to hurt yourself, with people grasping at straws on these

      21    desperate theories about election fraud, and is this really in anyone's best interest?"

      22             And then other people began chiming in, and that's kind of the way the

      23    conversation went. People would talk about the downsides of doing this.

      24             And then -- and I said something to the effect of, "You're going to have a huge

      25    personnel blowout within hours, because you're going to have all kinds of problems with
Case 8:22-cv-00099-DOC-DFM
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       1    resignations and other issues, and that's not going to be in anyone's interest."

       2            And so the President said, "Well, suppose I do this" -- I was sitting directly in front

       3    of the President. Jeff Rosen was to my right; Jeff Clark was to my left.      The President

       4    said, "Suppose I do this, suppose I replace him," Jeff Rosen, "with him," Jeff Clark, "what

       5    do you do?"     And I said, "Sir, I would resign immediately.   There is no way I'm serving

       6    1 minute under this guy," Jeff Clark.

       7            And then the President turned to Steve Engel, and he said, "Steve, you wouldn't

       8    resign, would you?"     And Steve said, "Absolutely I would, Mr. President.     You'd leave

       9    me no choice."

      10            And I said, "And we're not the only ones.     You should understand that your

      11    entire Department leadership will resign.     Every AAG will resign."    I didn't tell him

      12    about the call or anything, but I made it clear that I knew what they were going to do.

      13            And I said, "Mr. President, these aren't bureaucratic leftovers from another

      14    administration.    You picked them.     This is your leadership team.    You sent every one

      15    of them to the Senate; you got them confirmed. What is that going to say about you,

      16    when we all walk out at the same time?       And I don't even know what that's going to do

      17    to the U.S. attorney community.      You could have mass resignations amongst your

      18    U.S. attorneys. And then it will trickle down from there; you could have resignations

      19    across the Department. And what happens if, within 48 hours, we have hundreds of

      20    resignations from your Justice Department because of your actions?         What does that say

      21    about your leadership?"

      22            So we had that part of the conversation. Steve Engel, I remember, made the

      23    point that Jeff Clark would be leading what he called a graveyard; there would be no one

      24    left.   How is he going to do anything if there's no leadership really left to carry out any of

      25    these ideas?
Case 8:22-cv-00099-DOC-DFM
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       1             I made the point that Jeff Clark is not even competent to serve as the Attorney

       2    General.     He's never been a criminal attorney.     He's never conducted a criminal

       3    investigation in his life.   He's never been in front of a grand jury, much less a trial jury.

       4             And he kind of retorted by saying, "Well, I've done a lot of very complicated

       5    appeals and civil litigation, environmental litigation, and things like that."   And I said,

       6    "That's right.     You're an environmental lawyer.     How about you go back to your office,

       7    and we'll call you when there's an oil spill."

       8             And so it got very confrontational at points.

       9             And Pat Cipollone weighed in at one point, I remember, saying, you know, "That

      10    letter that this guy wants to send, that letter is a murder-suicide pact.     It's going to

      11    damage everyone who touches it.         And we should have nothing to do with that letter.

      12    I don't ever want to see that letter again."     And so we went along those lines.

      13             I remember Eric Herschmann chimed in several times, saying that, whatever Jeff

      14    Clark wanted to do or thought he could do, there was no reason to think he could really

      15    do it.

      16             I remember saying at some point that, you know, Jeff wouldn't even know how to

      17    find his way to Chris Wray's office, much less march in there and direct the FBI what to

      18    do, and that, if you walked into Chris Wray's office, he wouldn't even know who you are.

      19             So we had these conversations that went around and around and were very blunt

      20    and direct. And that went on for 2-1/2 hours.

      21             Q       At one point, did the President disparage Mr. Rosen or talk about

      22    Mr. Rosen's inaction or unwillingness to do anything about the election?

      23             A       He did say several times, "You two," pointing at Mr. Rosen and me, "You two

      24    haven't done anything. You two don't care.          You haven't taken appropriate actions.

      25    Everyone tells me I should fire you," and things of that nature.
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       1             He came back to that at the very end when he decided against a leadership

       2    change. And he announced that, and then he came back to that point and he said, "And

       3    I know that these two here, they're not going to do anything.       They're not going to fix

       4    this.   But that's the way it is, and I'm going to let it go anyway."

       5             Q    Did Mr. Cipollone say anything about what he would do with respect to a

       6    potential resignation if the President made this change?

       7             A    He did at some point.     I guess that was on the heels of us talking about how

       8    there would be resignations in the Department.        And I think Pat Cipollone said, "Well,

       9    I'm not going to stand for this, I'm not going to be here if this happens either."

      10             Q    So he said he would resign or not stand for it, would not be here, if the

      11    President made this change.

      12             A    Right.

      13             Q    Who, Mr. Donoghue, was, sort of, the primary advocate or voice against the

      14    leadership change?      Was it you personally, or was it sort of a consensus and everyone

      15    was sort of equally chiming in?     Or just give me a better sense as to, sort of, who was

      16    doing most of the talking and was the most strenuous advocate.

      17             A    It was definitely a consensus. We were all on the same page except for Jeff

      18    Clark. But we played different roles.

      19             For one thing, Jeff Rosen was in a bad position because he was defending his own

      20    job.    So anything he said, obviously, was very self-interested. And so he wasn't in the

      21    best position to make some of these arguments. And by demeanor, he just has a

      22    different demeanor, as does Pat Cipollone, as does Steve Engel.         So everyone played

      23    their own role.    My demeanor is more aggressive and more blunt, and so I played that

      24    role.

      25             And so everyone was on the same page, advocating for the same thing in very
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                                      #:2072

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11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                 SOUTHERN DIVISION
14      JOHN C. EASTMAN                       Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
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21

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Case 8:22-cv-00099-DOC-DFM          160-6 Filed
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           SELECT COMMITTEE TO INVESTIGATE THE

           JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

           U.S. HOUSE OF REPRESENTATIVES,

           WASHINGTON, D.C.




           INTERVIEW OF:     JEFFREY A. ROSEN




                                       Wednesday, October 13, 2021



                                             Washington, D.C.




                  The interview in the above matter was held in Room 4480, O'Neill House Office

           Building, commencing at 10:00 a.m.

                  Present:   Representatives Murphy, Luria, and Cheney.
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           Appearances:




           For the SELECT COMMITTEE TO INVESTIGATE

           THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

           TIM HEAPHY, CHIEF INVESTIGATIVE COUNSEL

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           EVAN MAULDIN, CHIEF CLERK

           SAMANTHA STILES, CHIEF ADMINISTRATIVE OFFICER

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           MARC HARRIS, SENIOR INVESTIGATIVE COUNSEL

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           BRAD WEINSHEIMER

           EMILY LOEB
Case 8:22-cv-00099-DOC-DFM          160-6 Filed
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           For JEFFREY A. ROSEN:



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Case 8:22-cv-00099-DOC-DFM          160-6 Filed
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                   He also defended his own credentials against some of the attacks that were being

           made.       He argued that the rest of the room were being self-defeating, you know, that, if

           you don't try it, you don't know what's going to happen, I think was the nature of that.

                   Let me think.     This was a very, very long meeting.

                   Q       Yeah.

                   A       And everybody spoke at one time or another.     Some people spoke

           repeatedly.      The President interjected some places.   There were a few places he spoke

           at greater length, but a lot of the meeting, he let other people talk.

                   Q       Uh-huh.

                   A       And so I'm trying to remember the different places that Jeff Clark spoke.

           Because he spoke more than once.         And I have more the image, that he would get in a

           debate, you know, that Rich Donoghue and he would have back-and-forth, and

           Steve Engel and he would have back-and-forth, and Eric Herschmann and he would have

           back-and-forth --

                   Q       Yeah.

                   A       -- that that occurred numerous times.

                   But the overall substance was, different people in the room were saying, this is

           not legally well-founded, this is not the Department's role, this letter is inappropriate.

           They challenged Jeff Clark's qualifications to even be making these arguments. They

           challenged both whether he was qualified to be Attorney General but also is he even

           qualified to address election fraud, you know, even from his current position, let's say.

                   Q       Uh-huh.

                   A       And so there's this range of issues.

                   Now, at more than one juncture, a number of people do raise that, if this goes

           ahead, there are going to be resignations. And I think lots of people raised that.     I let
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           other people speak to that, for obvious reasons, that they were speaking in support of

           me, so it wasn't my place to speak to.   Jeff Clark didn't speak to that, but I think almost

           everybody else did.     I remember Pat Cipollone spoke to it, Rich Donoghue.

                  There was one moment where I remember Steve Engel, and Steve was explaining

           why he thought it was inappropriate for the Department of Justice to be sending a letter

           to Georgia and that he had multiple reasons for that.    And he commented that, if it

           went, that there would be resignations. And, again, this is in substance. I don't

           remember the exact words.

                  And then Steve Engel, when he was saying that, the President said to him, "Well,

           Steve, you've been at Justice the whole time.    You wouldn't resign." And Steve -- I

           remember this because it was very vivid -- said, "No, Mr. President. If you replace Jeff

           Rosen with Jeff Clark and send this letter, I would have no choice. I would have to

           resign."

                  And the President looked to me, startled, and said, "Steve, you wouldn't resign."

           And Engel repeated it.    He said, "Mr. President, I would have no choice. I would have

           to resign."

                  So that was highly corroborative of what had been said by other folks.

                  Q      Uh-huh.

                  So the only substantive election-related action that was discussed was the sending

           of the letter?   Was there also a discussion of the special counsel or the press conference

           or the Supreme Court brief, the litany of possible things that had been considered that

           you mentioned in your opening statement?

                  A      I don't remember them being discussed in individual -- you know, what

           about the Supreme Court brief --

                  Q      Yeah.
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           Mr. Flynn, but Sidney Powell, Mike Lindell -- there were media accounts of these going

           on.

                  I wasn't present at them, and I didn't have anybody reporting to me what

           happened at them, but I had a just general awareness from media accounts that that has

           happened.

                  Ms. Cheney.     And did Pat Cipollone ever tell you what he thought about the

           President's claims about election fraud?

                  Mr. Rosen.    So the way you've stated that, I'm not sure. Because the way the

           conversations with him went more was that he was supportive of the Department's

           position, you know, that "the Department should do what you think is right," "I agree the

           Department should proceed the way you think best."

                  I would be surprised if he didn't agree on the Department's posture that there had

           not been widespread fraud, but I don't know if I can specifically remember that or not.

           But I have more of this big-picture recollection that he was very supportive of the

           Department and me.      And I maybe -- I'm not sure if I assumed he agreed or he said he

           agreed.

                  Ms. Cheney.     And then my last question: In the meeting on the 3rd, did he

           speak out and say, I also will resign?

                  Mr. Rosen.    Yes.

                  Ms. Cheney.     And did Pat Philbin as well?

                  Mr. Rosen.    He may have.        I think Pat Cipollone recited that lots of people were

           going to resign and that it would include him.      And while I don't have a specific, you

           know, again, word-for-word kind of recollection, if he did that the way I remember it, I'm

           sure he would've included Pat Philbin, because they were very closely aligned.

                  So Pat Cipollone was one of the people who said that there would be lots of
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Subject: Jeﬀrey Clark
From: Heaphy, Tim - To: hmacdougald@ccedlaw.com, Charles Burnham - Cc: Wood, John, George, Dan - Date: March 10, 2022
at 2:10 PM


Harry/Charles,

Can we schedule a call to talk about your client Jeffrey Clark? The Select Committee is evaluating a
potential grant of use immunity to him, which would resolve his Fifth Amendment privilege objection. We’d
like to talk with you about what impact such immunity would have on Mr. Clark’s other objections and
potential cooperation with the Select Committee. Let us know if there’s a time in tomorrow or early next
week when we could schedule a call?

Thanks,

Tim Heaphy

Dan George, John Wood

Timothy J. Heaphy
Chief Investigative Counsel
Select Committee to Investigate the January 6th Attack
on the United States Capitol
U.S. House of Representatives
202-309-5396 (cell)




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&RXQVHO¶V5HSO\WR5HVSRQGHQW¶V2SSRVLWLRQWR0RWLRQWR&RPSHODQG&URVV0RWLRQWR4XDVK
6XESRHQD ([KLELW) 5HVSRQGHQW¶V5HSO\LQ6XSSRUWRI&URVV0RWLRQWR4XDVK ([KLELW* 
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      Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 119 of 135




         UHYHUVLQJJUDQWRIQHZWULDOZKHUHORVLQJSDUW\KDGDOUHDG\QRWHGDQDSSHDO Potts
       v. Catterton$G '&  DIILUPLQJWULDOFRXUW¶VGHQLDORIPRWLRQ
       IRUUHOLHIIURPMXGJPHQWPDGHGXULQJSHQGHQF\RIDSSHDORQWKHJURXQGWKDWWKH
       WULDOFRXUWKDGQRMXULVGLFWLRQWRJUDQWWKHPRWLRQ Maltby v. Thompson$G
       ± '&  KROGLQJWKDWJUDQWRIQHZWULDOE\WULDOFRXUWDIWHUDSSHDOKDG
       EHHQQRWHGZDVLQHIIHFWLYH Lasier v. Lasier$SS'&   UHYHUVLQJ
       WULDOFRXUW¶VRUGHUFRUUHFWLQJFOHULFDOPLVWDNHLQGHFUHHZKHUHDSSHDOKDGSUHYLRXVO\
       EHHQ SHUIHFWHG  see also Pyramid Nat’l Van Lines v. Goetze $G  
         '&  ³:KHQWKHPDQGDWHRIDQDSSHOODWHFRXUWLVILOHGLQWKHORZHUFRXUW
       WKDWFRXUWUHDFTXLUHVWKHMXULVGLFWLRQZKLFKLWORVWE\WKHWDNLQJRIWKHDSSHDO´ 
       Smith v. Pollin86$SS'&)G   ³,WLVFOHDU
       WKDWWKH'LVWULFW&RXUWFRXOGQRWJUDQWDPRWLRQIRUDQHZWULDOLQDFDVHZKLFKLV
       SHQGLQJLQWKLVFRXUWXSRQDSSHDO-XULVGLFWLRQRIWKHFDVHLVLQWKLVFRXUWZKLOHWKH
       DSSHDOLVSHQGLQJ´ 
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$SSOLFDWLRQRIWKLVDXWKRULW\KHUHLVVWUDLJKWIRUZDUG2'&RSWHGWRSXWWKLVPDWWHUEHIRUH'&&$¶V

VSKHUHRIDSSHOODWHDXWKRULW\E\ILOLQJWRHQIRUFHWKHVXESRHQDWKHUH7KDWZDV2'&¶VRZQFKRLFH

$VDUHVXOWWKHYDULRXVFRPSRQHQWVRIWKH%RDUGRI3URIHVVLRQDO5HVSRQVLELOLW\LQFOXGLQJDQ\

DVVLJQHG+HDULQJ&RPPLWWHHORVHMXULVGLFWLRQXQWLOLWPLJKWEHDEOHLQDSSURSULDWHFLUFXPVWDQFHV

WRUHDFTXLUHLWDIWHUWKHPDQGDWHRIWKH'&&$LVLVVXHGLQ&DVH1R%6

        $QWLFLSDWLQJDQDUJXPHQWE\2'&ZHDUHZHOODZDUHWKDWWKH'&&$GRHVQRWDSSO\WKLV

GLYHVWLWXUHRIMXULVGLFWLRQUXOHLQIOH[LEO\5DWKHUWKH&RXUWORRNVWRZKHWKHULWZRXOGEHLQHIILFLHQW

IRUDORZHUWULEXQDODQGWKH'&&$WREHVLPXOWDQHRXVO\DGGUHVVLQJWKHVDPHRUVLPLODULVVXHV

³:KLOHWKHOLQHWKDWPDUNVWKHGLYLVLRQEHWZHHQZKDWWKHWULDOFRXUWPD\DQGPD\QRWGRLVXVXDOO\

FDVWLQWHUPVRIµODFNRIMXULVGLFWLRQ¶WKHGRFWULQHLVMXGJHPDGHGHVLJQHGWRDYRLGWKHFRQIXVLRQ

DQGZDVWHRIWLPHWKDWPLJKWIORZIURPKDYLQJWZRFRXUWVGHDOZLWKDVLQJOHFDVHDWWKHVDPHWLPH

+HQFHLWLVVXEMHFWWRDFRPPRQVHQVHIOH[LELOLW\LQDSSOLFDWLRQ´Id. TXRWLQJCarter v. Cathedral

Ave. Coop.$GQ '& 

        :H DUH DZDUH WKDW LQ Stebbins LWVHOI WKH '&&$ KHOG WKDW WKH UHTXHVW IRU PDQGDPXV WR

UHTXLUHWKHWULDOFRXUWWRKROGDMXU\WULDOGLGQRWGHSULYHWKHWULDOFRXUWRIMXULVGLFWLRQWRSURFHHG

ZLWKWKHFDVHSHQGLQJUHVROXWLRQRIWKHPDQGDPXVSHWLWLRQ³%HFDXVHWKHGHFLVLRQZKHWKHUWRLVVXH

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       Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 120 of 135




DQH[WUDRUGLQDU\ZULWLVGLVFUHWLRQDU\DQGWXUQVRQWKHSDUWLFXODUIDFWVRIDJLYHQFDVHLWZRXOGEH

LQH[SHGLHQW WR FUHDWH D EODQNHW UXOH WKDW WKH PHUH ILOLQJ RI DQ\ VXFK SHWLWLRQ KDV WKH HIIHFW RI

IUHH]LQJSURFHHGLQJVLQWKHWULDOFRXUW´Stebbins$GDW

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QRWDVLWXDWLRQZKHUHDPDWWHUDVKLJKO\GLVFUHWLRQDU\DVDPDQGDPXVSHWLWLRQLVSHQGLQJLQWKH

&RXUWRI$SSHDOV,QVWHDGD&URVV0RWLRQWR4XDVKLVSHQGLQJLQWKDW&RXUWDQGQRZD3URWHFWLYH

0RWLRQWR4XDVKKDVEHHQORGJHGEHIRUHWKLV+HDULQJ&RPPLWWHH7KHPDWWHUVRYHUODSDQGWKHUH

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KHUHSee id.DW ³>7@KHLVVXHLVZKHWKHULWLVMXGLFLDOO\HIILFLHQWIRUWKHWULDOFRXUWWRWDNHD

SDUWLFXODUDFWLRQLQWKHIDFHRIWKHSDUWLFXODUPDWWHUSHQGLQJEHIRUHWKHDSSHOODWHFRXUW´ 7KH

PDWWHUV SHQGLQJ LQ HDFK IRUXP DUH HVVHQWLDOO\ WKH VDPH DQG VR FRPPRQ VHQVH GLFWDWHV WKDW DOO

PDWWHUVUHODWHGWRWKHWZRVXESRHQDVUHPDLQWKHSXUYLHZRIWKH'&&$DORQH³7KHUXOHDJDLQVW

WULDOFRXUWDFWLRQDIIHFWLQJPDWWHUVRQDSSHDOLVJURXQGHGQRWLQPHWDSK\VLFDOQRWLRQVUHJDUGLQJ

WUDQVIHURISRZHUEXWRQSUDFWLFDOFRQVLGHUDWLRQVFRQFHUQLQJHIILFLHQWMXGLFLDODGPLQLVWUDWLRQ´Id.

DW

           $VDUHVXOWWKHUHLVQRMXULVGLFWLRQLQWKH+HDULQJ&RPPLWWHHDQGQRHIILFLHQF\LQLWQRZ

DGGUHVVLQJDQ\LVVXHUHODWHGWRWKH)LUVWDQG6HFRQG6XESRHQDV,WZRXOGPDNHQRVHQVHDQGEH

ZDVWHIXOIRUWKH+HDULQJ&RPPLWWHHDQGWKH'&&$WRVLPXOWDQHRXVO\DGMXGLFDWHWKHVDPHRUDW

WKHYHU\OHDVWKLJKO\VLPLODULVVXHVDOOJRLQJWRWKHYDOLGLW\RIRQHRUERWKVXESRHQDV+HQFHLQ

OLJKW RI WKLV ODFN RI MXULVGLFWLRQ LQ WKH +HDULQJ &RPPLWWHH WKLV 3URWHFWLYH 0RWLRQ WR 4XDVK LV

ORGJHGKHUHRQO\SURSK\ODFWLFDOO\DQGRXWRIDQDEXQGDQFHRIFDXWLRQWRSUHVHUYH5HVSRQGHQW¶V

ULJKWV



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        III.   7 + (  , 1 7 ( 5 3 / $ <  2 )  % 2 $ 5 '  5 8 / (    '&  % $ 5  5 8 / (  ;, 
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        7KHUXOHVJRYHUQLQJVHUYLQJREMHFWLQJWRHQIRUFLQJDQGTXDVKLQJVXESRHQDVLVVXHGE\

'LVFLSOLQDU\&RXQVHOVWUDGGOH  '&%DU5XOH;,6HFWLRQ ³%DU5XOH;,6HFWLRQ´   

'& %RDUG RI 3URIHVVLRQDO 5HVSRQVLELOLW\ 5XOH  ³%RDUG 5XOH ´  and '& 6XSHULRU

&RXUW 5XOH RI 3URFHGXUH  ³5XOH ´  7KH FROOLVLRQ RI WKRVH WKUHH VHSDUDWH UXOHV FUHDWHV D

PRUDVVRIDPELJXLW\$VDUHVXOWQR5HVSRQGHQWFDQKDYHIDLUQRWLFHXQGHUWKH'XH3URFHVV&ODXVH

DVWRKRZSUHFLVHO\WKRVHWKUHHUXOHVILWWRJHWKHU+HQFHD5HVSRQGHQWFDQQRWNQRZZLWKFHUWDLQW\

KRZWRDVVHUWKLVRUKHUULJKWVDQGSURWHFWWKHLUSRVLWLRQVLQVLWXDWLRQVOLNHWKLVRQH1HYHUWKHOHVV

WKHLQVXIILFLHQF\RIVHUYLFHRIWKH)LUVW6XESRHQDPHDQVLQWKLVSDUWLFXODUFDVHWKDWWKLV3URWHFWLYH

0RWLRQ WR 4XDVK FDQ EH ORGJHG LQ UHVSRQVH WR WKH 6HFRQG 6XESRHQD WR SUHFOXGH DQ\ ZDLYHU

DUJXPHQW E\ 2'&  2'& FRQWDFWHG XV WR DUUDQJH IRU DQRWKHU DWWHPSW DW VHUYLFH RI LWV 6HFRQG

6XESRHQDDVDYROXQWDU\OLWLJDWLYHFKRLFH

        7KH DXWKRULW\ WR LVVXH VXESRHQDV LV FRQIHUUHG E\ %DU 5XOH ;, 6HFWLRQ  ZKLFK

VSHFLILFDOO\SURYLGHVWKDWVXESRHQDVDUHLVVXHGVXEMHFWWR5XOH³ D Issuance of Subpoenas,Q

FDUU\LQJ RXW WKLV UXOH « 'LVFLSOLQDU\ &RXQVHO LQ PDWWHUV XQGHU LQYHVWLJDWLRQ PD\ subject to

Superior Court Rule 45FRPSHOE\VXESRHQDWKHDWWHQGDQFHRIZLWQHVVHVDQGWKHSURGXFWLRQRI

«GRFXPHQWV´ HPSKDVLVDGGHG 

        $QG 5XOH  E\ LWV RZQ WHUPV LQFOXGHV SURYLVLRQV IRU WKH UHVSRQGLQJ SDUW\ WR VHUYH

REMHFWLRQVDQGRUPRYHWRTXDVKSee5XOH F  %  REMHFWLRQV DQG5XOH F   TXDVKLQJ

RUPRGLI\LQJDVXESRHQD See also([KLELW$DW H[FHUSWLQJDVDQDWWDFKPHQW5XOH F  G 

HVWRSSLQJ2'&IURPDUJXLQJWKDW5XOH¶VSURYLVLRQVRQREMHFWLQJWRDQGTXDVKLQJVXESRHQDVGR

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5XOH F  % L 

          7KHFRQIXVLRQDULVHVEHFDXVH%DU5XOH;,6HFWLRQOD\HUVRQWRSRI5XOHDQRWKHUVHW

RIUXOHVIRUREMHFWLQJWRTXDVKLQJDQGHQIRUFLQJVXESRHQDVFirst%DU5XOH;,6HFWLRQVD\V

QRWKLQJDERXWWKHUHVSRQGLQJSDUW\VHUYLQJREMHFWLRQVRUZKDWSURFHGXUHVDUHWREHIROORZHGE\

WKHUHTXHVWLQJSDUW\LQWKHHYHQWRIDQREMHFWLRQRULQYRFDWLRQRIRQHRUPRUHSULYLOHJHV,QVWHDG

%DU 5XOH ;, 6HFWLRQ  G  ZLWKRXW 5XOH ¶V UHIHUHQFH WR XQGHUO\LQJ REMHFWLRQV SHUPLWV WKH

UHTXHVWLQJSDUW\WRLPPHGLDWHO\ILOHDPRWLRQWRHQIRUFHWKHVXESRHQDLQWKH'&&RXUWRI$SSHDOV

Second %DU 5XOH ;, 6HFWLRQ  F  UHJDUGLQJ ³4XDVKLQJ 6XESRHQDV´ SURYLGHV WKDW ³>D@Q\

FKDOOHQJHWRWKHYDOLGLW\RIDVXESRHQDLVVXHGLQDFFRUGDQFHZLWKWKLVVHFWLRQVKDOOEHKHDUGDQG

GHWHUPLQHGE\D+HDULQJ&RPPLWWHHGHVLJQDWHGE\WKH([HFXWLYH$WWRUQH\´

          7KH DPELJXLW\ OLHV LQ GHWHUPLQLQJ ZKHWKHU WKHVH SURYLVLRQV RI 5XOH ;, 6HFWLRQ 

VRPHKRZ GLVSODFH WKH FRUUHVSRQGLQJ SURYLVLRQV RI 5XOH  LQ ZKROH RU LQ SDUW 7KLV LQ WXUQ

GHSHQGVLQSDUWRQWKHVFRSHRIWKHSKUDVH³DQ\FKDOOHQJHWRWKHvalidityRIDVXESRHQD´LQ5XOH

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        ,V 5XOH  ZLWK LWV SURYLVLRQV DERXW TXDVKLQJ VXESRHQDV RYHUULGGHQ E\ WKH RWKHU WZR

          UXOHV"7KHLPSOLFDWLRQRIWKDWZRXOGEHWKDWWKH'&&$ZRXOGEHVWULSSHGRISRZHUWR

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           D IRUVXESRHQDHQIRUFHPHQWZKLFKLVYHU\RGGWRVD\WKHOHDVW

        &DQ¶W5XOHRQWKHRQHKDQGDQG%DU5XOH;,6HFWLRQDQG%RDUG5XOHRQWKH

          RWKHUEHKDUPRQL]HGE\KROGLQJWKDWWKH'&&$SRVVHVVHVDOORILWV5XOH F  SRZHUV

          WRTXDVKLIDPRWLRQWRTXDVKLVILOHGWKHUHDVDGHIHQVLYHPDWWHUDIWHU2'&SURFHHGVWR

          WKH'&&$ XVLQJLWV%RDUG5XOHRSWLRQ ZKHUHDVLQDVLWXDWLRQZKHUHDUHVSRQGHQW

          RSWVWRILUVWILOHDPRWLRQWRTXDVKZLWKD+HDULQJ&RPPLWWHH%DU5XOH;,6HFWLRQ F 



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         Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 123 of 135




          DQG%RDUG5XOHJRYHUQ"

        $UHDOOREMHFWLRQVWRDVXESRHQDFKDOOHQJHVWRLWVYDOLGLW\"

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           F  $ L LVRYHUEURDGLVXQGXO\EXUGHQVRPH 5XOH F  $ LY RUFDOOVIRUWKH

          SURGXFWLRQ RI SULYLOHJHG LQIRUPDWLRQ 5XOH  F  $ LLL  RU WUDGH VHFUHWV RU RWKHU

          FRQILGHQWLDOLQIRUPDWLRQ VHH5XOH F  % L FKDOOHQJHVWRWKHVXESRHQD¶VYDOLGLW\RU

          PHUHO\WRLWVVFRSH"

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          WKXVIDOORXWVLGHWKHMXULVGLFWLRQRIWKH+HDULQJ&RPPLWWHH"

          7KHPRVWHUXGLWHRIPRQNVLQWKHVFKRODVWLFWUDGLWLRQFRXOGGHEDWHIRUDQHRQKRZWRGUDZ

DWOHDVWVRPHRIWKHVHOLQHV:KDWLVUHDOO\QHHGHGLVDUHYLVHGVHWRIUXOHVWKDWEHWWHUILWWRJHWKHU

E\H[SOLFLWO\UHVROYLQJDOORIWKHIRUHJRLQJTXHVWLRQVRUDMXGLFLDOGHFLVLRQWKDWGRHVLWVEHVWWRGUDZ

WKHUHOHYDQWOLQHVSURYLVLRQDOO\SHQGLQJDFODULILFDWLRQRIWKHLQWHUDFWLRQVEHWZHHQWKHWKUHHVHWV

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RQH<HWWKHFRQVHTXHQFHVRIGUDZLQJDQHUURQHRXVFRQFOXVLRQDQGILOLQJDPRWLRQWRTXDVKLQWKH

ZURQJIRUXPFRXOGEHVHYHUH7KLVDPELJXLW\FRXOGSURYHH[WUHPHO\XQIDLUWRDQ\UHVSRQGHQWDQG

HVSHFLDOO\WRWKLV5HVSRQGHQWZKRKDVDGYDQFHGVXEVWDQWLDOFRQVWLWXWLRQDODQGRWKHUREMHFWLRQVWR

WKH)LUVWDQG6HFRQG6XESRHQDKHZDVKRSLQJWRDPLFDEO\ZRUNRXWZLWK2'&

          ,QOLJKWRIWKHVHDPELJXLWLHVDQGZLWKRXWFRQFHGLQJWKDWKLVRQO\UHPHG\LVEHIRUHWKLV

+HDULQJ&RPPLWWHHHVSHFLDOO\JLYHQWKDW2'&PDGHWKHYROXQWDU\FKRLFHWRRSHQWKHSURFHHGLQJ

LQ WKH &RXUW RI $SSHDOV 5HVSRQGHQW LV ORGJLQJ WKLV 3URWHFWLYH 0RWLRQ WR 4XDVK RXW RI DQ



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DEXQGDQFHRIFDXWLRQLQRUGHUWRSUHYHQWDQ\LPSOLFDWLRQRIZDLYHURIDQ\RIKLVULJKWVRUUHPHGLHV

ZLWKUHVSHFWWRWKH6HFRQG6XESRHQD5HVSRQGHQW¶VSULPDU\SRVLWLRQLVWKDWWKH'&&$UHWDLQVDOO

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        IV.    7+( 6(&21' 68%32(1$ 6+28/' %( 48$6+(' )25 '()(&7,9(
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        ([KLELW $ LV D WUXH DQG FRUUHFW FRS\ RI WKH 6HFRQG 6XESRHQD DQG UHODWHG PDWHULDOV

5HVSRQGHQWUHFHLYHGRQ)HEUXDU\ZLWKDUHWXUQGDWHRIWRGD\ 0DU 7KH6HFRQG

6XESRHQD FRQVLVWV RI   WKH FDUG RI WKH 2'& DWWRUQH\ ZKR SHUVRQDOO\ DWWHPSWHG VHUYLFH 0V

$]DGHK0DWLQSRXUZKRLWLVLPSRUWDQWWRQRWHLVHPSOR\HGE\2'&   DFKHFNWRUHLPEXUVH

IRUH[SHQVHVLI2'&KDGLQVLVWHGRQDSHUVRQDODSSHDUDQFH  WKHVXESRHQDLWVHOISOXVDFRS\

RI6XSHULRU&RXUW5XOH F  G  LQFOXGHGE\UHTXLUHPHQWRI5XOH D  $ LY DQG  DWZR

SDJH$WWDFKPHQWWR6XESRHQD

        7KH6HFRQG6XESRHQDLVsimilar toWKH)LUVW6XESRHQDGDWHG1RYHPEHU WKRXJK

QRWUHFHLYHGLQIXOOXQWLO-DQXDU\DQGRQO\YLDHPDLOLQFKXQNV %XWLWLVQRWLGHQWLFDO7KH

RQHSDJH VXESRHQD LQ LWV QDUURZHVW WHUPV DORQJ ZLWK WKH 5XOH  H[FHUSWV DQG WKH WZRSDJH

$WWDFKPHQWWR6XESRHQDDUHWKHVDPH%XWWKH)LUVW6XESRHQDKDGDOVRLQFOXGHG  DWKUHHSDJH

FRYHU OHWWHU VLJQHG E\ 0U )R[ WDNLQJ SRVLWLRQV UHOHYDQW WR 2'&¶V 0RWLRQ WR &RPSHO   D

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GLVUHJDUGHGDVKDYLQJQRVXEVWDQWLYHVLJQLILFDQFH   DFRYHUHPDLOIURP6DUDK=GHEDODZ\HU

ZRUNLQJIRU6HQDWRU'XUELQ  DFRYHUOHWWHUIURP6HQDWRU'XUELQDQG  WKH6HQDWH-XGLFLDU\


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'HVSLWHWKHIDFWWKDWWKHER[RQWKH6HFRQG6XESRHQDIRUP ³3URGXFWLRQ GHOLYHU\RIWKHVH
GRFXPHQWV ZLOO HOLPLQDWH WKH QHHG IRU D SHUVRQDO DSSHDUDQFH´  ZDV FKHFNHG D SKRQH FDOO WR
'LVFLSOLQDU\ &RXQVHO FODULILHG WKDW KH ZDV QRW UHTXLULQJ 5HVSRQGHQW WR SHUVRQDOO\ WUDYHO WR KLV
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KDVGHVWUR\HGWKHFKHFNZLWKRXWFDVKLQJLW*LYHQWKLVGRQRWNQRZZK\2'&FKHFNHGWKDWER[
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         Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 125 of 135




&RPPLWWHH0DMRULW\UHSRUWRQZKLFK6HQDWRU'XUELQZDVEDVLQJKLVFRPSODLQWWRWKH%DU7KH

)LUVW6XESRHQDGRHVQRWLQFOXGH0V0DWLQSRXU¶VFDUG XQVXUSULVLQJDVWKH)LUVW6XESRHQDZDV

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WKH)LUVW6XESRHQDDQGWKH6HFRQG6XESRHQDDUHEODQNLQWKHVXESRHQDIRUP¶VUHVSHFWLYHER[HV

ODEHOHG³6LJQDWXUHDQG7LWOHRI6HUYHU´

          7KHGRFXPHQWVRPLWWHGIURPWKH2'&FRYHUOHWWHU'XUELQFRYHUOHWWHU=GHEFRYHUHPDLO

DQG WKH 6HQDWH -XGLFLDU\ &RPPLWWHH UHSRUW IURP WKH 6HFRQG 6XESRHQD DUH UHOHYDQW WR WKLV

3URWHFWLYH 0RWLRQ DQG WKHLU RPLVVLRQ VKRXOG QRW SUHFOXGH WKH +HDULQJ &RPPLWWHH IURP

FRQVLGHULQJWKHP

          1H[W5XOH E   HPSKDVLVDGGHG OLPLWVZKRFDQSURSHUO\DFWDVDSURFHVVVHUYHU,W

PXVWEH³>D@Q\SHUVRQZKRLVDWOHDVW\HDUVROGand not a party´0V0DWLQSRXULVDSDUW\

EHFDXVHKHUVXSHULRUWKH'LVFLSOLQDU\&RXQVHOLVWKHPRYLQJSDUW\KHUHDQGDVDMXULGLFDOHQWLW\

WKH2IILFHRIWKH'LVFLSOLQDU\&RXQVHOFDQRQO\DFWWKURXJKLWVHPSOR\HHVVXFKDV0U)R[DQG0V

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Adult Parole Auth.&DVH1RFY:/  6'2KLR6HSW  ³7KH

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KLPVHOIDQGWKDWIDFWLVFRUURERUDWHGE\KLVSURGXFWLRQRIWKHUHFHLSWVIRUFHUWLILHGPDLO%XW+REEV

LVDSDUW\DQGPD\QRWVHUYHDVXESRHQDKLPVHOI´ :ULJKWDQG0LOOHUH[SODLQWKDW5XOH E  

    ODUJHO\PLUURUHGLQ6XSHULRU&RXUW5XOH LQLWVSUHVHQWIRUPUHSUHVHQWVDOLEHUDOL]DWLRQRIWKH

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$QGQRWHWKDWXQGHU'&%DU5XOH;,6HFWLRQ D 6XSHULRU&RXUW5XOHJRYHUQVVXESRHQDV
DWDOOVWDJHVRIWKHSURFHVV
7KHFRPPHQWWR6XSHULRU&RXUW5XOHSURYLGHVDVIROORZV

          ,GHQWLFDOWRFederal Rule of Civil Procedure 45DVDPHQGHGLQH[FHSWIRU
            UHIHUHQFHVWRPLOHOLPLWVLQWKHIHGHUDOUXOHKDYHEHHQFKDQJHGWRPLOHV
          ZKLFKSUHVHUYHVWKHJHRJUDSKLFSURSRUWLRQDOLW\RULJLQDOO\H[SUHVVHGE\&RQJUHVV
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UHTXLUHPHQWLQDSULRUYHUVLRQRI5XOHWKDWSURFHVVEHVHUYHGRQO\E\D860DUVKDORU'HSXW\

0DUVKDOSee:ULJKW 0LOOHU$)(' 35$&              352& &,9 GHG$SUXSGDWH 

    ³3ULRUWRWKHDPHQGPHQWVWR5XOHRQO\D8QLWHG6WDWHVPDUVKDORUWKHPDUVKDO¶VGHSXW\

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          %XW5XOH E  ZDVQRWOLEHUDOL]HGVRIDUDVWRDOORZanyoneWRVHUYHSURFHVV7KHUHLV

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     &'&DO-XQH  ³)HGHUDO5XOHRI&LYLO3URFHGXUH E  SURYLGHVLQSDUWWKDWRQO\

D³SHUVRQZKRLVDWOHDVW\HDUVROGand not a partyPD\VHUYHDVXESRHQD´>HPSKDVLVDGGHG

E\WKH0DJLVWUDWH-XGJH@7KHPRYLQJSDUW\YLRODWHGWKLVUXOHE\VHUYLQJWKHVXESRHQDKLPVHOI




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          WKHDGGLWLRQRIODQJXDJHLQVXEVHFWLRQ D  $ LLL SURYLGLQJWKDWWKHGHSRVLWLRQ
          SURGXFWLRQRULQVSHFWLRQRIGRFXPHQWVPXVWEHLQWKH'LVWULFWRI&ROXPELDXQOHVV
          RWKHUZLVHDJUHHGRURUGHUHGE\WKHFRXUWDQG  WKHVXEVWLWXWLRQRIVSHFLILFORFDO
          ODQJXDJHIRULQDSSOLFDEOHIHGHUDOODQJXDJHLQVXEVHFWLRQV D  $ L ± LL  D  
            E  DQG F  $ LL 
          
          7KLVUXOHSURYLGHVDPHDQVIRULVVXLQJGHSRVLWLRQVXESRHQDVIRUQRQUHVLGHQWVRIWKH
          'LVWULFWRI&ROXPELDLQFDVHVZKLFKTXDOLI\EXWGRHVQRWSUHFOXGHWKHDOWHUQDWLYHV
          RIILOLQJZLWKWKHFRXUWDPRWLRQIRUDSSRLQWPHQWRIDQH[DPLQHUXQGHU5XOH,
          RUUHVRUWLQJGLUHFWO\WRWKHFRXUWVRIDQRWKHUMXULVGLFWLRQXQGHULWVUXOHVDQGVWDWXWHV
          
          6XESRHQDVLVVXHGE\DWWRUQH\VXQGHUVXEVHFWLRQ D  PXVWEHVXEVWDQWLDOO\LQWKH
          IRUPDWRI&LYLO$FWLRQ)RUP
 See Disciplinary Counsel’s 0RWLRQ WR (QIRUFH 6XESRHQD Duces Tecum ILOHG )HE   
 HPSKDVLVDGGHG 

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The motion [for subpoena enforcement] merits denial for this reason alone.´  HPSKDVLV

DGGHG 

        7KHUH LV \HW DQRWKHU UHDVRQ ZK\ WKLV 0RWLRQ WR &RPSHO PXVW EH GHQLHG WKH 6HFRQG

6XESRHQDIRUPZDVQRWVLJQHGE\0V0DWLQSRXUEXWRQO\EHDUV0U)R[¶VQDPH UHQGHUHGLQD

VLJQDWXUHOLNHIRQW +HUHLVDSLFWXUHRIWKHUHOHYDQWSDUWRI([KLELWWRXQGHUVFRUHWKHSRLQW




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        7KLVLV\HWDQRWKHUZD\LQZKLFKWKH6HFRQG6XESRHQDLVVHOIHYLGHQWO\ GHIHFWLYHSee

Wyatt v. Anderson1R$&$66:/  :'7H[)HE  ³7KH\

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PDLOER[ORFDWHGRQWKH(DVWKDPXQLWLQ/RYHODG\7H[DV¶«7KHRQO\VLJQDWXUHRQWKHSDJHLV

:\DWW¶V DQG WKH µVHUYHU¶V VLJQDWXUH¶ LV EODQN :\DWW DV D SDUW\ LQ WKH FDVH FDQQRW VHUYH WKH

VXESRHQDV « $V VXFK:\DWW¶V VXESRHQDV DUH IDFLDOO\ GHILFLHQW´  7KLV LV H[DFWO\ WKH VDPH

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VWULFWFRPSOLDQFHZLWKLWVWHUPVDQGRQWKDWEDVLVUHMHFWLQJVXESRHQDVVHUYHGE\SDUWLHVSee, e.g.,
Haber v. ASN 50th St., LLC)5'Q 6'1<  ³3ODLQWLIILVDGYLVHGWKDWKH
PD\ QRW VHUYH WKH 6HOOHUV 6XESRHQD KLPVHOI´  Smith v. Benson 1R &96U :/
  :'1<0DU  ³3ODLQWLIIFDQQRWDWWHPSWWRVHUYHWKLUGSDUW\VXESRHQDVE\
UHJXODUPDLOEHFDXVHDSDUW\PD\QRWHIIHFWVHUYLFHKLPVHOIXQGHU5XOH´ Gaudin v. Remis
&LY 1R  63./(.  :/   ' +DZ -DQ    UHDVRQLQJ WKDW
EHFDXVHVXESRHQDVFDQEHVHUYHGRQ³DQ\SHUVRQ´WKDWLQFOXGHVQRQSDUWLHVEHFDXVHWKHVHUYHUV
RI VXESRHQDV H[SOLFLWO\ PXVW ³QRW >EH@ D SDUW\´ DQG ³>W@KH GUDIWHUV FRXOG KDYH XVHG WKH VDPH
ODQJXDJH>DVLQ5XOH E  @WROLPLWZKRPD\EHVHUYHGZLWKDVXESRHQDEXWWKH\FKRVHQRWWR
GRVR´ see also United States v. 2121 Celeste Rd., S.W., Albuquerque, N.M.)5'
 '10  GHSOR\LQJVDPHUHDVRQLQJDVLQGaudin 
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VLWXDWLRQKHUH7KHRQO\VLJQDWXUHRQWKHSDJHLVWKDWRI0U)R[ZKRLVDSDUW\WRWKLVDFWLRQ

$QGDVWKLVVHFRQGSLFWXUHKLJKOLJKWVLQ\HOORZEHORZWKHVHUYHU¶VVLJQDWXUHisalso blank there




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5XOH¶VUHTXLUHPHQWVIRUVHUYLFH5HVSRQGHQWUHVWULFWHGKLVPRYHPHQWVRQ)HEUXDU\SUHFLVHO\

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FRPSO\ZLWKWKHJRYHUQLQJUXOHVIRUVHUYLFH7KLVLVHVSHFLDOO\WUXHZKHUHWKLVHQIRUFHPHQWDFWLRQ

ZDVLQLWLDWHGE\2'& L ZLWKRXWHQJDJLQJLQDSULRUPHHWDQGFRQIHUDQG LL only three daysDIWHU

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MXULVGLFWLRQFDQDWWDFKHLWKHUWRWKLVDFWLRQRUWRDQ\QHZDFWLRQ2'&PLJKWILOHDIWHUDWWHPSWLQJ

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:HWKXVZRUU\WKDWVXFKWKUHDWVPD\LQFUHDVHQRZWKDWWZRDWWHPSWVDWSURSHUVHUYLFHRIDVXESRHQD

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         Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 129 of 135




KDYHIDLOHGDQGZHKDYHQRWDJUHHGWRZDLYHVHUYLFH)RUWKLVUHDVRQ5HVSRQGHQWUHTXHVWVLIWKH

6HFRQG 6XESRHQD LV QRW TXDVKHG RQ JURXQGV RI QRQFRPSOLDQFH ZLWK 5XOH  WKDW 2'& EH

H[SOLFLWO\LQVWUXFWHGDVSDUWRIDQ\RUGHUWKDWLWZRXOGEHLPSURSHUIRU2'&WRVHHNUDWFKHWHGXS

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          V.      3527(&7,9(027,217248$6+$1'6833257,1*2%-(&7,216

          6XEMHFWWRDQGLQDGGLWLRQWRWKHIRUHJRLQJ5HVSRQGHQWVXEPLWVKHUHZLWKWKHIROORZLQJ

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          )LUVW/HWWHURI-DQXDU\IURPFRXQVHOIRU5HVSRQGHQWWR'LVFLSOLQDU\&RXQVHO

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5HVSRQGHQWZDVJXLOW\RIDFULPH,QGHHG&KDLU7KRPSVRQKLPVHOIRIWKH+RXVH-DQXDU\6HOHFW

&RPPLWWHH PDGH VXFK DQ DVVHUWLRQ RQ WKH Rachel Maddow Show 5HVSRQGHQW DOVR FLWHG WR

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      Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 130 of 135




SURVHFXWHG'HVSLWHWKLV'LVFLSOLQDU\&RXQVHOKDVVXUSULVLQJO\FRQWHQGHGWKDWWKLVLQYRFDWLRQLV

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DERYHZDVILOHGRQ)HEUXDU\

         $%DUEDUD0F4XDGHUnited States v. Donald Trump: A “Model Prosecution Memo” on

the Conspiracy to Pressure Vice President Trump-867 6(&85,7< )HE available at

KWWSVZZZMXVWVHFXULW\RUJXQLWHGVWDWHVYGRQDOGWUXPSPRGHOSURVHFXWLRQPHPR ODVW

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         % *OHQQ .LUVFKQHU Trump’s Loss in Civil Court Case Provides Roadmap for DOJ to

Follow     in    Criminal     Prosecution     of    Trump    -867,&(    0$77(56     available     at

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See also 0LFKDHO66FKPLGW      /XNH%URDGZDWHUIn Scrutinizing Trump and His Allies, Jan. 6
Panel Adopts Prosecution Tactics: The House committee investigating the assault on the Capitol
and what led to it is employing techniques more common in criminal cases than in congressional
inquiries, 1(:<25.7,0(6 )HE  ³>0@HPEHUVKDYHRSHQO\GLVFXVVHGZKDWFULPLQDOODZV
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      Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 131 of 135




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Second Interim Investigative Report on the Apparatus & Procedures of the Wisconsin Elections

System GHOLYHUHGWRWKH:LVFRQVLQ6WDWH$VVHPEO\RQ0DU  ILQGLQJDKRVWRILUUHJXODULWLHV

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SULYDWHPRQH\WRUXQEDOORWKDUYHVWLQJDQGDEXVHRIQXUVLQJKRPHUHVLGHQWVYRWLQJHYHQDIWHUWKH\

KDGEHHQDGMXGJHGLQFRPSHWHQWWRYRWHE\D:LVFRQVLQFRXUWDQGLQOLJKWRIWKRVHVHULRXVGHIHFWV

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          ,,9RWHU*$3UHVV&RQIHUHQFHHow Georgia 2020 Election Results Were Electronically

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ZKRPLJKWKDYHEHHQVXVSLFLRXVRIWKHHOHFWLRQVKHOGLQ:LVFRQVLQDQG*HRUJLDZDVQRWDFWLQJ

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                                          &21&/86,21

          ,QWKHRQJRLQJPRUDOSDQLFRYHUWKHODVWSUHVLGHQWLDOHOHFWLRQDSHUVRQLQ5HVSRQGHQW¶V

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         Case 1:22-mc-00096-RC Document 1-71 Filed 10/17/22 Page 133 of 135




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    /s/ Charles Burnham                              5REHUW$'HVWUR 
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